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Troy M. Wright                                                                          ,r,_ C.   f'.:   J <...~




From:                              Tricia S. Borelli
Sent:                              Thursday, February 11, 2021 4:55 PM
To:                                Troy M. Wright
Subject:                           FW: checking in



Here is the only exchan !?:"' I had with Rachael. Unfortunately, I never met her in person.

Please let me know if you need anything else.

Tricia


From: Tricia S. Borelli
Sent: Wednesday, September 16, 2020 9:04 AM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: RE: checking in

Okay. Thanks for checking back in. We are always available if you 11°0d more support. P


From: Rachael N. Swift
Sent: Tuesday, September 15, 2020 9:45 PM
To: Tricia S. Borelli <Tricia.Borelli@loras.edu>
Subject: RE: checking in

Good evening Tricia,

I want to apologize for the late response. I haven't been on campus since Friday. I am already have someone who I am
talking to about what hzprened. If I need any more help I will contact you.

Thank you,

Rachael

From: Tricia S. Borelli <Jri~ia.Borelli@loras.edu>
Sent: Friday, September 11, 2020 11:01 AM
To: Rachael N. Swift <Rachael.?J!'lift@loras.edu>
Subject: checking in

Hi Rachael,

I just got off of the phone with President Collins who shared with me your unfortunate experience in BO earlier this
week. I'm so sorry. That must have been really scary. I wanted to reach out and offer support and see if you wanted to
talk either via telehealth while you are home, or in person when you get back. We are meeting with students both here
in the Counseling Center which is right next to the Health Center in the ACC and online through a program called doxy.

Please take care of yourself and let me know if you need me to talk with any professors regarding you're not being 100%
right now. Please also just let me know how you are doing and if you would like to chat.


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           Case 2:22-cv-01019-LTS-KEM Document
                                        APP 08718-5 Filed 09/15/23 Page 1 of 175
 Peace,
· Tricia




 LORAS COLLEGE
           72:)       -·      '"'
 Tricia Sullivan Borelli, MA, LMHC (She/Hers)
 Director of Counseling S.ervic.es
 LORJ\S COJJ.fJiE
 1450 Alta Vista St
 Dubuque, IA 5200
 563.588.7085-I 800.245.6727
 tricia. bcirelli@loras.edu
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Questions for Nancy Fett

   •   Rachael contacted you on September 17th wanting to meet. You replied that the following
       day, the 18th , was very busy but offered some times on the following Monday the 2ist.
       Did you follow-up with Rachael between your response on the 17th and her next
       correspondence to you on the 24th ? If not, is this normal protocol not to follow-up?
           o Actually, she called for the first time sometime before Sept 15 which is when I
               responded to her first. I chose email so there was some trail.
           o I have no idea what protocol is with regards to this. I don't remember what she
               said exactly on the phone but surmised she was a little in between things-I think
               she talked about possibly going home. I didn't know this student at all so had no
               idea what to expect with regards to her response time. I tend to assume anyone
               who gets back to me quickly is really committed/invested.

   •   Were you aware on the 17th that Rachael was staying at a hotel? If not, when did you
       learn about this? Honestly, I don't think I paid attention after she said she was off
       campus. She did say she was in a hotel but I had no recollection of that. I offered some
       times but didn't hear back.

   •   Rachael reached out to you again on the 24 th indicating that she had moved back home
       but still wanted to talk. It appears that you did not respond to her until the 29th • What is
       normal protocol for length of time to respond to a student wanting to talk regarding a
       Title IX claim?

           o   Sadly I think covid has really impacted all of this. I didn't feel comfortable
               meeting in person but felt like I kept offering times and then she wouldn't respond
               to anything I offered.
           o   She contacted me I think late on a Thursday and it just so happened, that was a
               really busy weekend for my family-Friday I was at Marquette with Ben, vb
               tournament all day Sat, Sunday was a day retreat for Addie's confirmation.
               Normally I am VERY responsive to students but again, I think covid has impacted
               my willingness to check/respond to email during weekend-esp quickly-even I
               had seen it, I knew it wasn't going to be a quick email and needed to be thought
               out with calendar in hand so waited until I had time on Monday.

   •   Were you aware on the 24th that Rachael had moved back home? If not, when did you
       learn about this? I think she mentioned it in her email. I knew she was home, safe and
       she mentioned that she was trying to settle into a routine.

   •   Did you have any contact with Rachael after your response on the 29th until Rachael
       contacted you on December 9th to amend her claim? Is this normal protocol to not follow-
       up with the student?




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           o   I waited for a response. She never ever responded to anytime I offered. I didn't
               know ifshe was serious about really following up on this or ifshe Was losing
               interest. I felt like !responded, offered different times and she nevertook me up
               on anything! offered or suggested time1>Jhat wotked for her. From my
               perspective, I wasn't goingto chase her. I alsociidr1't know ifshe had connected
               with artyone else; Molly, Art or others. She is th,e first student who ever really
               keptpursuing me to discuss I case. Usually they are more content talking with
               Molly, Mattor so-meone else.

   •   I also believe the end of'Sept-Oct-Novis when the big Thornberg case startedu:p so I got
       pretty busy with that and honestly I probablyjust assumed she wasn't pursuing it ot
       talked to -someone else lJecause she never tQ,ok me up on my offerings. I think that is also
       when I first talked to Rich Whitty abolitthis andJ cert!}inly always wanted to make sure
       there was a chain to follow to show process. I have saved everything from this case @d
       am happy to _send_ everything to anyone who wants to see it.

   •   Please provide-all otherin:formation thatyoufeel is.relevantto this investigation,

       Again, .my thought was after offering options each time I connected with her, my
       assumption is we Were ju$ton different wavelengths and so thatshe connected with
       someone else in the Title IX process or that she followed up whenever she felt like it and
       l never felt it to be urg~nt on her end since she never accepted arty of my offerings ot
       asked for altemative times.




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Troy M. Wright

From:                             Nancy Z. Fett
Sent:                             Wednesday, February 10, 2021 7:16 AM
To:                               Troy M. Wright
Subject:                          add another thing



Of course I am still thinking about this.
I think when I first heard about the student, somehow I deduced she was young, maybe in her first year and so when I
heard she was leaving campus, I might have thought or got the impression she was withdrawing. I just recently learned
she was a senior completing her student teaching this spring. NZF



Nancy Zachar Fett, LMSW
Assoc. Professor of Social Work
Field Director
1450 Alta Vista, MS #221
Dubuque, IA 52001
563-588-7029, Fax. 563-588- 7005

Pronouns: She/Her




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Molly A. Burrow§ Schumac~er {starff}
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From:                                Troy M. Wright
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                                                                           rett"'-1~
Sent                                 Tuesday, February 9, 2021 3:42 PM ~ ·
To:                                  Molly A. Burrows Schumacher (staff)
Subject:                             Information Needed Regarding Rachael Swift's Discrimination Claim
Attachmeraits:                       Molly.docx

                                     High



Molly,

I'm conducting an independent investigation into the discrimination claim that Rachael Swift filed with the College on
September 14, 2020. Attached are a list of questions for you to answer. In addition, the document contains a specific list
of requests for information that you may have in your possession. It would be greatly appreciated if you could answer
these questions, gather the requested information and send everything to me at your earliest convenience.

Thanks,

Troy

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Troy M. Wright SHRM-SCP, MBA 15
Director of Human Resources

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563.588.7101 - F
troy.wright@loras.edu
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Confidential

Questions for Molly Burrows-Schumacher related to the discrimination claim filed against Loras College
by student, Rachael Swift, on September 14, 2020.

   e    After the incident on September 6, 2020, did Rachael ever let Security know that she wanted
        extra rounds to her building and surrounding area due to her or her roommates being afraid or
        her being alone?
    0   Do you have a statement on file from Matt Pucci regarding his interaction with Rachael and her
        mother related to the incident on September 6? If so, please provide.
    0   Do you have statements on file from Rachael's roommates related to the incident on September
        6? If so, please provide.
    ©   Has the incident from September 6 happened on campus in the past? If so, did you
        process/investigate/communicate/support the victim similarly to this incident with Rachael? If
        not, what was different?
    ®   Please provide all Security and RA logs that show increased rounds on the interior and exterior
        of the building Rachael resided in after the September 6 incident.
    s   Rachael states that she reported the September 6 incident to President Collins. Do you have a
        copy of that correspondence?
    0   Rachael's mother had asked you to join the meeting on September 7 at 1:30; however, you
        declined due to a student health meeting. Is this normal practice to decline meetings with
        students and their parents to attend other meetings?
    0   On September 7, you sent an email to Rachael regarding changing locks, etc. Is it protocol to
        communicate only with students on these matters and not include her mother in the
        communication?
    @   Is it normal practice for Nancy Fett, Title IX Coordinator, to ask you to contact the victim to see if
        they want to talk to a Title IX investigator? Even when Nancy has not yet had an initial
        conversation with the victim?
    @   According to Rachael, on September 16 she moved to a hotel. When were you aware of this
        move?
    ®   Are you aware of any contact or follow-up to Rachael by anyone from the College after
        September 17 until December 8? Are you aware of any contact/follow-up from Rachael to
        anyone at the College during this same timeframe?
    0   On December 8, you notified Rachael that a suspect was caught on camera. Was that camera
        property of the College? If not, whose camera was it and who set it up?
    e   You informed Rachael on December 8 that a suspect had been caught on camera. On December
        9, Rachael contacted Nancy to amend her claim to include Kyle Hall. Do you know how Rachael
        found out his name?




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Please provide documentation of the full correspondences that relate to the following :

   @     On September 7 at 4 pm when Donna Heald reached out to Rachael.
   0     On September 7 at 8:34 pm when Rachael replied regarding her interest in the additional safety
         devices.
   s     Your email to Art Sunleaf on September 8 at 5:30 pm regarding the locks not changed.
   @     Donna Hea!d's email to Rachael on September 10.
   0     Katie l<eleher-Gan<oot and John McDermott's correspondence on September 11 regarding a
         deadbolt.
   a     Katie Keleher-Garfoot's email correspondence with Rachael on September 15.
   s     Your email correspondence with Art Sunleaf on September 15 at 12:25 pm and your emails with
         Rachael on the same day.
   •     Your email to John McDermott on September 15 at 7:09 pm regarding a deadbolt. 'My
         communication with John McDermott on this date was 3:52 p.m. A subsequent timeline entry
         involving Nancy Fett occurred at 7:09 p.m. MBS
   •     Your email correspondence with John McDermott on September 17.
    •    Your email correspondence with Rachael on September 17.
    0    Rachael's response to Katie l(eleher-Garfoot on September 17 at 2:38 pm.
    E>   Nancy Fett's email to you on September 20 at 10:45 am regarding no reply from Rachael.
    e    Your complete correspondence with l<yle Hall.
    @    All email correspondence between Art and Matt Saylor regarding Kyle Hal! and Rachael in the
         Education Program.                 1..v1 H,,._ l, ---1 1 . . ,_1, , , ,.,;1 ... .1. • 1., , 1; ,..:11 lu :.vi 11111, 1 L;i;., "11v.;i.; 110., c. 1 LcJJ

                     ... 1 - ; 11..l   •~    en Art Sunleaf and Matt Pucci regarding this matter. MBS
    ei   All email correspondence between you and Rebecca Fabricius on December 16 regarding l<yle
         Hall and Rachael.
    @    Email correspondence between you, Matt Saylor and Art Sunleaf on December 17 regarding the
         Dubuque PD and the Telegraph Herald.
    e    Art Sunleaf's email correspondence with Bobbi Earles, Robert Waterbury and Jim Collins on
         December 17 regarding the Telegraph Herald.
    e    Email received by Nancy Fett on December 17 from Rachael's attorney and all email
         correspondence with you and Art Sunleaf regarding this.
    0    Your email correspondence with Rachael on December 17.
    0    Copy of the email you sent Rich Whitty on December 18.
    ®    All email correspondence between you, David Salyer and Rebecca Fabricius on December 22.
    @    All email correspondence between you, Art Sunleaf, Rebecca Fabricius and Donna Heald on
         Januarv 4, 2021.
    @    Your correspondence with Rachael on January 5, 2021 and your correspondence with Carrie
         Jones and Art Sunleaf regarding this matter.
    0    Please provide all other documentation that has not already been provided that you consider
         relevant to this claim.




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Conflclent1al

Questions for Molly Burrows-Schumacher related to the discrimination claim filed against Loras College by student,
Rachael Swift, on September 14, 2020.

    0   After the incident on September 6, 2020, did Rachael ever let Security know that she wanted extra rounds to her
        building and surrounding area due to her or her roommates being afraid or her being alone?

        To my knowledge, when responding to the incident, Bob Rosenow did rounds of the building and indicated that
        should Rachael ever be uncomfortable staying alone to please let Safety know, and they would do additional
        rounds of the building. To my knowledge, Rachael's request for extra rounds was made to Art Sunleaf during their
        meeting on September 7, 2020. I'm not aware of a request made directly to Campus Safety by Rachael or her
        roommates following the incident.


    e   Do you have a statement on file from Matt Pucci regarding his interaction with Rachael and her mother related to
        the incident on September 6? If so, please provide.

         1uo nut 11uve ..i ~ldleml:!nl trom iv1<.1tt 1' ucL1 - our c.onversation occurred via phone. I do have a copy of my follow
         up email to Art Sunleaf regarding Matt Pucci's phone call indicating that Matt had shared that Rachael had filed a
        report about someone walking into her doorway, and that she had gone home, her mother was bringing her back
        on September 7, 2020, and that Rachael's mother wanted to talk with someone in person when she was on
        campus. At this time, following my COVID hospitalization, I had just been permitted to return to full days, remote
        work only, as of August 31, 2020, and knew I would be unable to meet in person with the family as requested. I
        asked Matt Pucci to refer the situation to Katie Keleher-Garfoot, the Assistant Director of Residence Life, who
        would be able to meet with the family in person, discuss what had occurred, and answer questions about how we
        can help because I could not be there in person. See rl0r:11M0nt A.

    @    Do you have statements on file from Rachael's roommates related to the incident on September 6? If so, please
         provide.

         Rachael's roommates were not present at the incident on September 6 (Rachael and her roommates indicate they
         were away for the weekend), so incident statements were not taken from roommates at that time. I have taken
         a statement from Abigail Eriksen and Olivia Devriese as a part of the investigation into Kyle Hall's potential
         involvement in their case. I will attach the investigation notes as Document B. Eriksen and Devriese indicated
         that their other roommates (Jaylen Cangas, Caitlin Farrell, and Caitlin Scopa) shared their concerns but did not
         attend the Zoom conversation.

         Cangas, Farrell, Scopa, Eriksen, Devriese, and Swift were all contacted on January 26, 2021, regarding the
         September 6, 2020, incident investigation with an email reviewed by Rich Whitty prior to sending. As mentioned
         above, Eriksen and Devriese were willing to meet to discuss any additional information they felt might be relevant
         regarding the incident once a potential suspect was identified, and follow up communications were sent on
         February 2, 2021, to those we had not yet received a response from. I'm attaching the communications with the
         other students as Documents C, D, E, and F. I remain in communication with Caitlin Scopa about setting up a time
         to discuss any information she would like to share. I have not yet had a reply to these emails from Cangas or
         Farrell. Rachael Swift replied on February 10, 2021, that she would like to participate in the hearing process. For
         both the communications on January 26 and February 2, 2021, I was asked for forward a copy of what I sent to
         the students to Rich Whitty, which I did.


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     The only other communication I have received from Rachael's roommates about this incident was in their recent
     requests to live off campus in 2021-22. The women cite this incident as one of the reasons for their requests to
     live off campus. Cangas indicates in her request that the fact the incident has occurred has prompted high anxiety
     that has impacted her life inside the classroom.      Cangas notes "I understand there has been more security
     measures put into place which I am grateful for, but the thin walls and ceilings allow me to hear every noise and
     they keep me up at night." This request, and my responses are Document G.


     Olivia Devriese also requested an exemption from the residency requirement indicating "I personally do not feel
     safe anymore living in Byrne Oaks" and "Covid is also a huge factor for me living off campus." Devriese concludes
     her request with the comments "I know you are working hard to stop what happened in September and I thank
     you for that!" This request, and my responses are Document H.


     Caitlin Scopa also requested an exemption, indicating "As you may already know, we were a part of multiple break
     ins that happened during the first semester and since then, I have had a difficult time sleeping and focusing
     throughout the day and night." Scopa also notes COVID and noise from others in the community/ADHD as central
     reasons for her request. This request, and my responses are Document I.


     A similar request came from roommate Caitlin Farrell, who noted that the incident in apartment has caused her
     concern. She explains, "I have trust In each one of my roommates to lock the doors and not let anyone in the
     building we do not know. That being said, I do not necessarily know everyone in the building, and do not know if
     they are letting strangers in." Farrell also cites distracting noises from upstairs and the hallways and an anticipated
     summer job in Dubuque as reasons for her request. This request, and my responses are Document J.


     The final request in this group involved Abigail Eriksen. Eriksen's request notes difficulty sleeping because of this
     incident and not feeling safe. Eriksen notes "I'm not concerned by our campus safety and their services they
     provide for us, I am more concerned of the other students in our building because I cannot control what they do."
     Eriksen cites anxiety and concerns about COVID as additional reasons for her request. This request, and my
     responses are Document K.


     I believe Art Sunleaf also spoke via phone fairly recently with the mother of Abigail Eriksen about the issue that
     occurred at the Byrne Oaks apartment in the fall. If I recall what was shared with me, it was that Abigail's mother
     wanted to ensure we were still doing what we could to address the issue that had occurred on September 6.
     Sunleaf may be able to recall additional information about this conversation.


©    Has   the    incident   from    September     6   happened     on    campus     in   the   past?   If   so,   did   you
     process/investigate/communicate/support the victim similarly to this incident with Rachael? If not, what was
     different?


     Yes - though not frequently. Byrne Oaks looks very similar when you move from tower to tower and depending
     on where you enter, and it can be very easy to get turned around approach the wrong apartment door. We have
     had incidents where someone attempted to enter a wrong apartment through an unlocked door. As a student
     living in Byrne Oaks in 1996-97, a similar incident occurred in my apartment, 202 Byrne Oaks. We left our entry
     door unlocked for my roommate's boyfriend that would be stopping by after work. I was in my room when I heard
     yelling, and walked out to see a man we did not know run out of our apartment. Per my roommate, she was
     expecting her fiance, but had fallen asleep. When someone entered her room, she assumed it was her boyfriend.
     When she realized it was not, she yelled-which caused the male to yell and then flee our apartment. This incident
     was not reported to Campus Safety at that time because we had left the door unlocked, the individual was gone,

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                                  APP 096
 and 1996 was a very different time than 2021. A short time later, we learned that t he individual who entered our
 room thought he was entering his girlfriend across the hall's apartment (she lived first door on the right from the
 stairwell - we were first door on the left).

 While that's always possible, we don't assume that is what happened in these types of situations. Campus Safety
 was dispatched, Bob Rosenow responded, checked the interior and exterior of the building and rooms within the
 apartment for anything unusual, took Rachael's statement, and asked if she was comfortable remaining in the
 room or would like to stay with a friend. Campus Safety then investigated the incident as they typically would.
 There were no surveillance cameras In Byrne Oaks at the time of the Incident on September 6, 2020, but available
 fob access records were reviewed at that time, and it was noted that there was one student who lived in the
 building near the location of the incident and also was returning to the building slightly before the incident. That
 individual was Kyle Hall. Hall has a vision impairment, so upon learning of his access, we (Matt Saylor and I)
 questioned If perhaps he mistook their door for his own. Regardless, we reached out to Hall to discuss what he
 may have seen in the hallway when he returned to the building. He indicated that he returned, went straight to
 his room, and unfortunately did not see anything unusual. Incidentally, we'd later learn Kyle was the student
 responsible for accessing Byrne Oaks apartment 301 on December 5, 2020.

 To my knowledge via my remote work status, everything proceeded with Rachael Swift's process as it typically
 would. It would not be unusual for Katie or Art if available and I'm not to take the student/parent meeting and
 collect information needed to create an action plan about a case. Investigating the incident proved very difficult,
 as we had no physical description of a suspect other than "male" at that time, no items appeared to have been
 taken, there were no signs of forced entry, no surveillance programs, and Rachael was unfortunately the only
 witness. In terms of my involvement, I followed up with Rachael Swift as requested by Art on September 7,
 updating Rachael on the request to have the locks changed, plan to increase rounds, and offered additional safety
 devices that might add comfort (a window lock that blocks the window from opening past a certain point, stick on
 screamer alarms for doors and windows, etc.). Katie Keleher-Garfoot stayed involved on campus with the
 situation through this time.

 On September 14, 2020, Rachael Swift filed a second report in the Advocate system. In that report, Swift indicated
 who she had met with on campus, and that she had requested additional safety measures including a deadbolt,
 indicating "yet nothing has been done to protect my safety". Swift noted that she has asked for additional
 information about the investigation into who broke into her apartment, but have received limited updates. The
 report notes "I believe Loras is discriminating against me because I am a female that has been subject to sexual
 assault." This report was surprising and confusing to me-in all that had been communicated to me, I had heard
 no mention of there being a sexual assault as part of the incident at Byrne oaks. We searched all information
 available to determine when a sexual assault was reported as a part of this incident, but found no further
 information. It was around this same time, Swift had reached out to Nancy Fett via phone, and Fett let Swift know
 she would be contacted by Matt Saylor or I to conduct an investigation. Fett shared that her role in the process
 was to make sure the process is followed, monitor the report, ask questions, and suggest alternative
 approaches/questions/theories and assure the matter is handled professionally, according to our policy, and with
 utter fairness. Nancy further indicates that if Swift believes she is not being heard, she should contact her. See
 Document L.

 The requested safety devices for the apartment arrived from Amazon to Katie Keleher-Garfoot on September 15,
 2020, also right after Rachael's second report. Katie Keleher-Garfoot reached out via email to Swift on Septmeber
 15 to discuss information about safety devices, share the physical plant's response regarding the apartment lock,
 provide information on how to request a copy of her report, and provide information about a request from the
 family to have blue light poles installed. At this same time, at the request of the students, I had been working to
 move the one campus surveillance camera Campus Safety has to the entrance to P,.,m,e Oaks i'lt the request of the
                                                                                                                   3

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                              APP 097
     student to add cameras. On that same day (September 15, 2020), I reached out to Swift as I would to other
     individuals reporting sexual assault (as that was what was indicated in her second report), apologizing that she
     was not feeling heard, asking who she talked with so I could address that concern, and providing an update at that
     time. In that update, I indicated that rounds had been increased, we had been in touch with the student who had
     fobbed in and would have been at an area near that apartment, but that unfortunately, no new information was
     available. The student and her parent had already contacted local police, and I offered to - if she would like to
     provide a police report number- reach out to local law enforcement to see how we could partner. I also Indicated
     I would resubmit her request for a deadbolt that had been declined by the physical plant (which I did}, and would
     review information about a blue light pole program on campus, requesting that if she had any specific ideas about
     what she felt would best benefit students, I would be happy to include that feedback in the proposal. With no
     further response from the student, and the costs being $3900 $5600 per blue light pole not including wiring,
     installing concrete pad, installation of unit, and service to the unit, this project did not move forward last
     semester. I shared that we had requested the camera install at the main access entrance at Byrne Oaks, and
     ultimately let Rachael know that I'm so very sorry to hear about a sexual assault and want to provide any support
     I can to be of help. See Document M. Note: We have revived the project this spring and in addition to the poles
     requested by Rachael Swift, we are looking into alternative "blue light" programs, such as a program where smaller
     blue light call boxes might be able to be installed into existing locations on building exteriors. These units would
     be closer to $2400 - 4000 per unit, plus installation and service.

     I again followed up with Swift on September 16, 2020, indicating that Nancy Fett had asked me to reach out, and
     offered support of a Title IX investigator. Please understand at this point, when Rachael had reached out to Nancy
     Fett, and indicated that she was subject to a sexual assault, we understood her complaint to be the sexual assault
     she indicated in the second report. I also referenced the college's sexual misconduct resources and reporting
     information guide for Rachael at that time, and again offered to assist. See Document N.

     On September 17, 2020, Swift responded to my messages indicating that she had received my emails and wanted
     to keep me in the loop. She shared that she was trying to set up an in-person with Nancy Fett for some time
     tomorrow (which would have been September 18). See Document 0. This document also includes my reply,
     indicating I'm glad she was meeting with Nancy, I remain happy to help in any way possible, and provided an
     update on cameras, blue lights, and the deadbolt. I believe this communication was my last communication with
     Rachael Swift until December 8. Rachael notified Nancy Fett on September 17 that she had been off campus since
     the previous day and then had to move to a hotel yesterday afternoon, but wanted to meet in person to talk about
     the details of her Title IX claim. Fett replied indicating she could meet the coming Monday. Rachael also reached
     out to Katie Keleher-Garfoot on September 17, indicating that she had been at home since Friday, and had come
     back on Wednesday to stay at a hotel because she didn't feel comfortable in the apartment. In that email, Swift
     notified Keleher-Garfoot she was returning home for the unforeseen future because she couldn't and didn't feel
     safe in the apartment without the safety measures that were asked for. Swift responded to Nancy Fett's
     September 17 email on September 24, indicating that she was sorry about the late reply and had moved home
     indefinitely - asking if they could still meet over the phone. Fett responded on September 29 to this email, and
     offered several times to meet. Per Fett, she did not ultimately meet with Swift as she did not reply to her message.

     I cannot think of any way the process differed from previous processes. The fact that we had so very little
     information about the intruder did make progress in this case and holding the perpetrator accountable quite
     difficult compared to other cases.

®    Please provide all Security and RA logs that show increased rounds on the interior and exterior of the building
     Rachael resided in after the September 6 incident.


                                                                                                                        4


                                                                                            LORAS 0588

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                                  APP 098
     After reading your question, I recognize we may need to document "additional rounds" differently in the future -
     our practice for Safety at this time is let them know to spend more time in these areas but dates and times of that
     extra time aren't tracked. I do have email communications (Documents P) that document the request that extra
     rounds be completed. On September 7, we would have communicated the concern in person to officers on duty
     to do extra rounds in this area. Officers received an additional specific email from me on September 8 and
     September 15, and again on November 24 addressing the concerns that occurred as break began that included
     notices to complete additional rounds in these areas. I asked Aidan Wojciehowski to communicate with the hall
     staff about what had happened and to complete rounds/be alert in the building. Alternative Housing student staff
     (Byrne Oaks, LMAC, Smyth Hall, and Campus Houses) don't typically provide regular rounds as part of their
     community building responsibilities.

®    Rachael states that she reported the September 6 incident to President Collins. Do you have a copy of that
     correspondence?


                                                                              I also have an email from Art Sunleaf on
     January 27, 2021, providing at my request a copy of a letter President Collins received on January 11, 2021, for
     the case file. Please see Documents Q.

0    Rachael's mother had asked you to join the meeting on September 7 at 1:30; however, you declined due to a
     student health meeting. Is this normal practice to decline meetings with students and their parents to attend
     other meetings?

     As I mentioned previously, I was just returning to full day remote work following my COVI D hospitalization. At that
     time, I continued to experience debilitating headaches and was experiencing vision disturbances. On September
     3, 2021, I was seen in the Finley ER for what was believed to possibly be post-covid blood clots but was ultimately
     diagnosed as bilateral cellulitis infection in my legs. I was working, but certainly not yet well at this time. I do
     have a record of my ER visit with diagnosis along with my August 31, 2020, return to remote work release from
     my doctor that I can provide if needed. It was made very clear by Matt Pucci that the family wanted an in person
     meeting when they arrived on campus, and in my state of health at that time, I was not able to provide this
     meeting.

     Document R shows the email communication exchange between myself and the f amity (the message from the
     family was also sent to Art Sunleaf). I replied and explained that I too wanted Rachael to feel safe on campus, but
     was restricted to remote work and could not meet in person so recommended Katie Keleher-Garfoot if they were
     looking to meet in person - or if they wanted to meet via phone, I would be free at 1:00 p.m. (knowing that I had
     a scheduled 1:30 p.m. meeting I will describe below). I also indicated that I knew that they had reached out to
     Dean Sunleaf, and noted that if they would prefer to meet in person with him, I understood.

     Rachael's mother responded to my September 6 email on September 7, at 10:17 a.m. indicating that they were
     now planning on meeting with Art Sunleaf at 1:30 p.m. and it would be great if I could be involved via phone. I
     explained that I was not available to meet at 1:30, but would speak with Art about how we can best help moving
     forward. See Document R.

     My 1:30 p.m. student health meeting on September 7 was a meeting with the health center and area coordinator
     staff on the 8 cases of COVID (some of our very first cases of covid on campus) and 108 students that had to quickly
     be quarantined in that week. Residence Life provides the quarantine bed space, helps coordinate meals, helps
     move students to the space, orders supplies and coordinates that response for on campus students. Because of
     the urgency of both matters, I spoke with Art and he indicated I should attend the COVID meeting and that he
                                                                                                                       5

                                                                                             LORAS 0589

    Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 13 of 175
                                  APP 099
      would handle the parent meeting. In our areas, it's not unusual to have multiple urgent matters occurring at the
      same time. In situations like this, we do make arrangements to manage meetings in this manner. In this instance,
      Sunleaf was also contacted by the family to meet, able to meet in person as requested, and as VP of Student
      Development has oversight over Residence Life and Campus Safety - it made sense for him to comrll'.'te the
      meeting with the familv .


e     On September 7, you sent an email to Rachael regarding changing locks, etc. Is it protocol to communicate only
      with students on these matters and not include her mother in the communication?


      Yes - it would be typical process to include only students in communications from our area. Typically, for my area
      to be able to communicate about a student's record with a parent, the college would need to have a FER PA wavier
      on file that permits parental access to student information. Because I would not have typically communicated
      with the parent at the time you mention, I did not check to see if this wavier was on file with the college.


"'    Is it normal practice for Nancy Fett, Title IX Coordinator, to ask you to contact the victim to see if they want to
      talk to a Title IX investigator? Even when Nancy has not yet had an initial conversation with the victim?

      In my role, I'm not always privy to the full conversations Nancy as Title IX coordinator would have privately with
      students so I can't say with certainty that this would be typical. I would say in our typical process, students often
      start with an investigator simply because they are meeting with someone (f acuity member, counselor, etc.) who
      connects the student with our office to file a report. In those instances, the investigator would release the case
      information to Fett via the Advocate system. Fett is consulted as needed/requested during those processes.

0     According to Rachael, on September 16 she moved to a hotel. When were you aware of this move?


      On September 17, Rachael indicated to Katie Keleher-Garfoot that she had been home since Friday (September
      17 was a Thursday, so this suggests Swift had been home since September 11), and indicated that Wednesday (we
      assume is September 16) she returned to finish the week in soccer, and was staying at a hotel because she was
      not comfortable in the hall. In the email to Keleher-Garfoot, Swift indicated she was returning home indefinitely.
      We did not push Swift to return her keys at that time because we wanted her to be able to access her apartment
      should she choose to return to campus. See Document S.


      I had no further communication with Rachael Swift regarding housing until January 4-5, 2021, when I noticed that
      Rachael had not yet withdrawn from her spring housing and meal plan assignment. On January, 5, 2021, I reached
      out directly to Rachael via email, indicated my understanding was that she would be student teaching at home,
      and asked if she would like me to cancel her housing and meal plan assignments for spring. At that same time, I
      shared with Rachael that because she had spent most of the fall semester at home, I removed housing charges
      for Fall 2020 from her student account. Swift replied, indicating she was not returning to campus for the spring
      semester, and that would be one less thing to worry about, so I removed spring housing and meal charges and
      removed fall housing billing at that time. See Document T.

@     Are you aware of any contact or follow-up to Rachael by anyone from the College after September 17 until
      December 8? Are you aware of any contact/follow-up from Rachael to anyone at the College during this same
      timeframe?


      Records I have indicate Nancy Fett replied to Rachael Swift on September 29 at 7:08 a.m. via email offering times
      she could meet with Rachael Swift. Nancy would likely have a copy of this email. Document Q provided suggests
      that President Collins had a 15 minute phone call with Rachael Swift and her mother on October 8, 2020. I

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                                                                                               LORAS 0590

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                                   APP 100
         personally did not have any additional communication with Swift. No new information related to her case was
         av;-;il~hl e "nrJ '7P h1d !;;:,;-ame an online st1:•i,cont.
                            0




   ®     On December 8, you notified Rachael that a suspect was caught on camera. Was that camera property of the
         College? If not, whose camera was it and who set it up?

         The camera the suspect was caught on did not belong to the college. The camera was set up inside the apartment
         (301 Byrne Oaks) by the residents who lived there (the college would not place a video camera inside a student
         living unit for obvious privacy reasons).            The reporting student, Marianne Gleason, shared the following
         information, " ... I am contacting you because I was told to after our apartment got broken into last night. Nothing
         was taken because we had put a security camera up after we had noticed food going missing and the person who
         broke in noticed the camera." See Document U. Residents of the apartment include Marianne Gleason, Allison
         Brownson, Jena Kluesner, Faith Vincent, Madison Haslow, and Danielle Keller.


   •     You informed Rachael on December 8 that a suspect had been caught on camera. On December 9, Rachael
         contacted Nancy to amend her claim to include Kyle Hall. Do you know how Rachael found out his name?




Please provide documentation of the full correspondences that relate to the following:

   @     On September 7 at 4 pm when Donna Heald reached out to Rachael. See Documents V


   •     On September 7 at 8:34 pm when Rachael replied regarding her interest in the additional safety devices. See
         Document W. We do not typically provide additional safety devices for students in housing because . ,;rovide
         secure locks on facility entrances, apartment entrances, and within apartments, individual bedroom doors;
         however, if a student has a situation (in two situations I can recall - one was a bad break up, one had concerns
         about someone from 'home', etc.) and expresses concerns, we do work with students to provide additional
         window and door alarms to be helpful. Document X is a statement from Locksmith Express regarding the existing
         lock on the door at the apartment.


   e     Your email to Art Sunleaf on September 8 at 5:30 pm regarding the locks not changed. See Document Y.


   @     Donna Heald's email to Rachael on September 10. See Documents V, communication beginning September 10,



   ®     Katie Keleher-Garfoot and John McDermott's correspondence on September 11 regarding a deadbolt. ·ocuments
                                             11,Jve 1cgc11d111g il,l~ ck,H.H.Jult. I 11.:ccill <l µl,unL: 1..onver~atHJ11 with John
         L .:Jlc .:i f1 1..0rrc:.>1JuliLJe11u: 111 w11t111g

         McDermott in which I understood we had agreed that Dan Walling would find a way to provide a deadbolt for the
         door. When I followed up on this issue with John recently to gather records of completed work, he shared that
         the door had an acceptable functioning lock system, and provided Document X from the Locksmith to support
         this.


    0    Katie Keieher-Garfoot's email correspondence with Rachael on September 15. Document AA

    s    Your email correspondence with Art Sunleaf on September 15 at 12:25 pm and your emails with Rachael on the
         same day. Email to Sunleaf Document BB. My email to Swift that same date Document CC.

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                                                                                                     LORAS 0591

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                                      APP 101
•    Your email to John McDermott on September 15 at 7:09 pm regarding a deadbolt. My email with John
     McDermott on September 15, 2020, was at 3 .:. p.m. and 1:, included in Documents Z. Directly below that
     incident on the case timellne is an interaction between Nancy Fett and Rachael Swift that same day that
     nrnirrnri at 7:09 p.m.


•    Your email correspondence with John McDermott on September 17. Included in Documents Z.

•    Your email correspondence with Rachael on September 17. Document DD.


s    Rachael's response to l<atie l<eleher-Garfoot on September 17 at 2:38 pm. 1ocument S.


s    Nancy Fett's email to you on September 20 at 10:45 am regarding no reply from Rachael. Document EE


•    Your complete correspondence with Kyle Hall. Correspondence regarding the September 6, 2020 incident,
     Documents FF. At that time, we had nothing directly linking Hall to any previous concern or the case other than
     he entered the building around the time of the incident. Hall has vision impairment which prompted us to
     question could he have tried to access the wrong apartment at the time of the incident, but we had no reason not
     to take his responses at face value.

     I was also the one who, after consulting with Art Sunleaf, required Hall to depart campus on December 5, 2020,
     pending investigation into his involvement in these potential cases. The letter indicating this was delivered by
     Campus Safety to Hall. See Document HH.

     Since the December 2020 incident involving 301 Byrne Oaks, Matt Saylor and I have taken Hall's statement on the
     incidents at Byrne Oaks. See Document GG. We have offered those who may have been connected to the case
     the opportunity to respond by February 10, 2021, if they w 0 tlld like to participate in the conduct process. This is
     the status of this case as of February 10, 2021.

@    All email correspondence between Art and Matt Pucci regarding Kyle Hall and Rachael in the Education Program.
     To my knowledge, I do not have any email communication between Pucci and Sun leaf. After consulting with you
     for permission to do so, I reached out to both Pucci and Sunleaf requesting all email correspondence between the
     two regarding Kyle Hall and Rachael Swift in the education program. Both Sunleaf (Document AAA) and Pucci
     (Document BBB) responded indicating there is no email correspondence between the two parties about this
     matter.

•    All email correspondence between you and Rebecca Fabricius on December 16 regarding Kyle Hall and Rachael.
     A11 c111.:i11 c.011~01µ01H..ie11ce Llt:::twt::en kebecc.a raoric,us ano, on Jecember lb 15 DoLument 11.


•    Email correspondence between you, Matt Saylor and Art Sun leaf on December 17 regarding the Dubuque PD and
     the Telegraph Herald. : 11,-111 '·'-- ' CfJ'--ll•jr.:il ·~t: .-.~, iih01.c.J ,,i(ll 1..ill .Jv_e:! I i~U .,_ , rc:5dei,r,g OPu ar,o I i.:::ci;1ai-,i',
     Herald 11,ctuded a communication from Matt Saylor, Document JJ. I do not see in my email box that I responded
     to this communication.


0    Art Sunleaf's email correspondence with Bobbi Earles, Robert Waterbury and Jim Collins on December 17
     regarding the Telegraph Herald. _cument KK


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                                  APP 102
e    Email received by Nancy Fett on December 17 from Rachael's attorney and all email correspondence with you and
     Art Sunleaf regarding this. Docum, n L              nl_'. s Nancy Fett's forwarded message from Rachaei' attorney, a1 ,.,
     1n ludes my attempt at drafting a reply, which was forwarded to Art Sunleaf to see should we draft a reply- or
     should we r0fr,r tn !0,...·,I ccunc0! <;;mln,f rcc,rnrri,,,nrle                       I
®    Your email correspondence with Rachael on December 17. Document MM.


0    Copy of the email you sent Rich Whitty on December 18.        iocument NN


•    Ali email correspondence between you, David Salyer and Rebecca Fabricius on December 22. At Art Sunleafs
     request, I sent a message to David Salyer indicating support in finding a student teaching placement that honors
     Rachael Swift's request to teach outside the Dubuque area. This is Document 00. David Salyer forwarded that
     request to Rebecca Fabricius on December 23, and she responded to David, Art Sunleaf, and I on December 23.
     That response is Document PP. I have received copies of additional email communications between Art Sunleaf
     and Rich Whitty that includes communications from myself, David Salyer and Rebecca Fabricius from January 19
     - 20, 2021. I'm including these communications as Documents YY.

•    All email correspondence between you, Art Sunieaf, Rebecca Fabricius and Donna Heald on January 4, 2021.




®    Your correspondence with Rachael on January 5, 2021 and your correspondence with Carrie Jones and Art
     Sunleaf regarding this matter. riocuments RF:


e    Please provide all other documentation that has not already been provided that you consider relevant to this
     claim.
             Communication from Katie Keleher-Garfoot to Rachael Swift confirming a time to meet - emails from
             September 7-8, 2020. Document SS.
             An emailed summary of notes from meeting with Rachael Swift and her mother and sister on September
             8, 2020, created by Keleher-Garfoot. Document TT.
                                                                                                     All units indicate
             the door was unlocked with the exception of Swift's room. The Officer who took Swift's report indicated
             that Swift had told him the door was unlocked; however, the next day, it was indicated that the door had
             been locked. Document UU.
             A case timeline was prepared, and is included as Document W.
             A document was prepared by me at the request of Art Sunleaf that notes procedures in place at the time
             of the incidents in four areas or "buckets". The document was prepared on January 22, 2021, and includes
             general information about Campus Safety processes and procedures; information related to the non-
             academic discipline processes in place during fall 2020; notes related to Title IX and interactions with
             Rachael Swift around her reports; and notes related to Criminal Prosecution by students connected with
             these cases. This is Document WW.
             Documents ZZ contain the order receipt for safety devices placed for Swift's room, as well as order details
             that include the item name and picture (in the event further information is needed on the products) as
             well as delivery date to the mail room on campus.




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                                  APP 103
Molly A. Burirows Schumillchcir (staff)

From:                             Molly A. Burrows Schumacher (staff)
Sent:                             Sunday, September 6, 2020 8:38 PM
To:                               Arthur W. Sunleaf
Subject:                          Swift issue



Hey - just a heads up - not sure if you saw the report about Rachel swift and waking to someone in her doorway (front
door was unlocked). Pucci called - she went home, mom bringing her back tomorrow, wants to talk to someone in
person about it. I told him to send it to Katie, and they could discuss safety strategies and how we can help. We'll go
from there but wanted you in the loop.

Also Matt out tomorrow. Covered weekend shifts for folks.

Thx -

Molly

Sent from my iPhone




                                                                                              LORAS 0594

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                                      APP 104
                                                                                                                B

 Interview with Abigail Eriksen and Olivia Devriese, 101 Byrne Oaks
 Via Zoom with Molly Burrows Schumacher

 Molly Burrows Schumacher requested any additional information available from all apartments who
 experienced an individual entering their apartment without their consent. Abigail Eriksen and Olivia
 Devriese, Apartment 101 Byrne Oaks, shared the following information in a recorded Zoom meeting with
 Burrows Schumacher on January 29, 2021, at 10:00 a.m.

 The women shared that they were aware Kyle Hall was the resident found on camera having entered Byrne
 Oaks apartment 301, and wanted to share information about previous encounters with Hall that had made
 them uncomfortabte that the college would not be aware of. For example, they noted that Hall often stood
 in the "T" area of their shared hallway (the women lived in 101 Byrne Oaks, Hall in 103), and they noted
 that to get to their apartment, they would have to walk around where Hall was standing at the "T". They
 noted an instance where one of the women had forgotten their keys, and Hall had let her into the building.
 They noted that he proceeded to watch her walk to her room and enter, which was uncomfortable. They
 also noted times when Hall appeared to be standing and watching them leave the building and walk to their
 vehicles outside. Devriese also noted that she previously had a class with Hall, and noted Hall to appear to
 be watching her in class as well. Eriksen and Devriese noted that there were times when Hall would come
 into the hallway to greet them where it almost felt like he was trying to make his presence known in their
 lives.

 The women also noted that as it relates to the incident on the 9/6/20, early the next morning around 5
 a.m., Hall added their roommate (Caitlin Farrell) on Snapchat, and Farrell received a snap (snapchat
 message) from Hall asking if something had happened to them. Per the women, Farrell and Hall had not
 talked before. The women shared that how they described what happened, Hall responded that the exact
 same thing happened to him in his room. They found it strange that Hall described his situation the exact
 same way they described their situation.

 Devriese and Eriksen shared that from September until around Hall was found in Apartment 301 in
 December, Hall continually tried to add them on social media like lnstagram and Snapchat. Eriksen showed
 Burrows Schumacher her phone via video, where a request from Hall was present on her Snapchat account.
 The women noted that when they said Hall continually tried to add them, they mean that there were times
 where Hall was attempting to add them around every 3 hours. Devriese noted that she was at home when
 the video of Hall in Apartment 301 Byrne Oaks was shared with her, and that Hall was still trying to add
 them to social media at this time.

 Eriksen and Devriese indicated they do typically lock their doors, so they aren't sure how someone would
 have gained access to their space, and are concerned the incident on 9/6/20 might not have been the only
 time someone was in their room. They indicate that their roommate who was home (Rachael Swift) swears
 that the door was locked the night of the incident. The women noted that the weekend someone entered
 their apartment, all roommates were gone for the weekend except for Swift, and they wonder if someone
 entered the apartment because they were all away from the apartment. They noted that someone could
 have watched them all leave the building and noticed that they did not return. When asked if they
 remembered to lock the exterior doors, Devriese indicated now they do, and noted that includes interior
 bedroom doors.




                                                                                         LORAS 0595

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                              APP 105
                                                                                                                  B

 When asked if there are others who the college should speak with about this incident, both Eriksen and
 Devriese indicated they would think about this question and let Burrows Schumacher know if there was
 anyone they could think of. Eriksen noted that all of the apartments that had someone enter at Byrne Oaks
 were apartments where women resided, and Burrows Schumacher verified this was true. The women
 asked about possible legal ramifications for those who might be involved in these incidents, and Burrows
 Schumacher shared that the college's understanding was that we would need the students to press charges
 in order to move the case forward off campus. The women asked if Hall had admitted involvement in their
 case, and Burrows Schumacher indicated that as the process moves forward there will be additional
 information available to help answer those questions. Devriese asked if individuals are allowed to share
 their information directly with the board, noting that her hope was that all of the women who were
 victimized in this situation were allowed to speak and add power to their message. Devriese noted that
 she and Eriksen weren't there the weekend of the incident in their room, yet their entire year has been
 impacted by what happened - it's hard to sleep, there' s a fear the person will come back. Eriksen noted
 that nothing was taken from the apartment by the person who entered their room, and so they wonder
 what that person's motive was, asking was he watching them sleep?

 Eriksen and Devriese are willing to assist with the college hearing board process related to the incident that
 occurred in their apartment on 9/6/20.




                                                                                           LORAS 0596

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                              APP 106
                                                                                                                             C
Molly A. Burrows Schumacheir (staff)

From:                             Molly A. Burrows Schumacher (staff)
Sent:                             Tuesday, February 2, 2021 2:44 PM
lo:                               Rachael N. Swift
Subject:                          Following Up on 9/6/20 Report



Dear Rachael,

I hope this message finds you well. I' m following up on an email sent to your Loras email on January 26, 2021, inviting
you to share any additional or new information you might have regarding the report filed on 9/6/20, and to invite your
participation in the college hearing board process. If you would like to provide additional information or participate in
the college hearing board process, please reply by Wednesday, February 10. A copy of the original email is included
below for your convenience.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
rnolly.burrowsschumacher@loras.edu
BE MORE BE LORAS


From: Molly A. Burrows Schumacher (staff)
Sent: Tuesday, January 26, 20214:42 PM
To: Rachael N. Swift <Rachael.Swift@lorns.ed .!>
Subject: Following up on your 9/6/20 report

Hello Rachael,

I hope this email finds you well. I'm reaching out today regarding your report filed 9/06/20, where you reported that an
unknown male suspect entered your apartment at Byrne Oaks without your consent. As I mentioned in a previous
email, the College is currently investigating this incident with the intent of holding the individual accountable for any
violations of the College's Code of Conduct.

At this time in our process, we wanted to reach out to you to see if there is any additional information (beyond your
original report) that you would like included in the investigation information. This could include, but is not limited to,
additional information that has become available to you since the filing of your report; information from your work with
law enforcement on your case; impact this incident has had on you as you navigated your college experience; and other
information that you believe may be helpful at this time. Information can be emailed to me at this email address, or can
be faxed to me at 563.557.4080. I'm also available to speak via Zoom at your convenience, or can arrange for an
investigator to meet with you in person on campus if that is preferred.

As the investigation is completed, the case will transition to the College Hearing Board. The College Hearing Board is
chaired by the Associate Dean of Students or his/her designee, and includes appointed representatives from the Loras
College community: two students, two faculty members and two staff members. This board hears cases where a
                                                             1
                                                                                               LORAS 0597

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                                      APP 107
                                                                                                                          C
sanction of suspension or e>:pulsion may be considered based on the nature of the incident. Students who file a report
that is referred to the College Hearing Board have the right to be involved in the process, and we can work together to
help make the experience as comfortable as possible for you. If you would like to participate in the hearing process,
please do reply to this email and let me know. I'll arrange for Kelsey Callahan, who helps students prepare for the
hearing board process to reach out to you to talk further.

Thank you for your time. I look forward to hearing from you in the near future.

Molly

Molly Burrows Schumacher
Assistant Deon of Students
LUR \~ CULU ul
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS




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                                                                                             LORAS 0598

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                                      APP 108
                                                                                                                        D
Molly A. Burrows Schumacher (staff)

From:                             Molly A. Burrows Schumacher (staff)
Sieni:                            Tuesday, February 2, 2021 2:35 PM
l o:                              Jaylen M. Cangas
Subject                           Following up on 9/6/20 report



Dear Jaylen,

I hope this message finds you well. I'm following up on an email sent to your Loras email on January 26, 2021, inviting
you to share any additional or new information you might have regarding the report filed on 9/6/20, and to invite your
participation in the college hearing board process. If you would like to provide additional information or participate in
the college hearing board process, please reply by Wednesday, February 10. A copy of the original email is included
below for your convenience.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
Ol: MORE. BE LORAS


From: Molly A. Burrows Schumacher (staff)
Sent: Tuesday, January 26, 2021 4:31 PM
To: Jaylen M. Cangas <Jaylen.Cangas@loras.edu>
Subject: Following up on 9/6/20 report

Hello Jaylen,

I hope this email finds you well. I'm reaching out today regarding a report filed 9/6/20, where your apartment reported
that an unknown male suspect entered your apartment at Byrne Oaks without your consent. As I mentioned in a
previous email, the College is currently investigating this incident with the intent of holding the individual accountable
for any violations of t he College's Code of Conduct.

At this time in our process, we wanted to reach out to you to see if there is any additional information (beyond the
original report) that you would like included in the investigation information. This could include, but is not limited to,
additional information that has become available to you since the filing of your report; information from your work with
law enforcement on your case; impact this incident has had on you as you navigated your college experience; and other
information that you believe may be helpful at this time. Information can be emailed to me at this email address, or can
be faxed to me at 563.557.4080. I'm also available to speak via Zoom at your convenience, or can arrange for an
investigator to meet with you in person on campus if that is preferred .

As the investigation is completed, the case will transition to the College Hearing Board. The College Hearing Board is
cha ired by the Associate Dean of Students or his/her designee, and includes appointed representatives from the Loras

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                                       APP 109
                                                                                                                          D
College community: two students, two faculty members and two staff members. This board hears cases where a
sanction of suspension or expulsion may be considered based on the nature of the incident. Students who file a report
that is referred to the College Hearing Board have the right to be involved in the process, and we can work together to
help make the experience as comfortable as possible for you. If you would like to participate in the hearing process,
please do reply to this email and let me know. I'll arrange for Kelsey Callahan, who helps students prepare for the
hearing board process to reach out to vou to talk further.

Thank you for your time. I lool( forward to hearing from you in the near future.

Molly

Molly Burrows Schumacher
Assistant Dean of Students

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molly.burrowsschurnacher@loras.edu
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                                                                                              LORAS 0600

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 24 of 175
                                      APP 110
Molly A. Burrows Schumacher {staff)
                                                                                                                     E
f rom:                            Molly A. Burrows Schumacher (staff)
Sent                              Monday, February 1, 2021 11:19 AM
To:                               Caitlin M. Scopa
Subjed:                           RE: Following up on 9/6/20 report



Hi Caitlin,

I'm grateful for any additional insights you are willing to provide. Is there a time that works best with your schedule to
Zoom? I can send a Zoom hnk for a time that works for you.

Thank you for the reply I

Molly

Molly Burrows Schumacher
Assistant Dean of Students
LORAS l'OI. U <if·
1450 Alta Vista St
Dubuque, IA 52001
mojly.burrowsschumacher@loras.edu
BE MORE BE L.OP 11 '~



From: Caitlin M . Scopa <Caitlin .Scopa@loras.edu>
Sent: Thursday, January 28, 2021 8 :10 AM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: RE: Following up on 9/6/20 report

Hi again Molly, sorry it has taken a few days to respond to this email. I believe my roommate Abby Eriksen has already
told you, but we do have some extra information that may be useful tor this investigation. I would also like to be
involved in the hearing process and am willing to set up a meeting over zoom with you to figure some more things out.
Thank you for following up, I look forward to hearing from you again soon I Thank you.

Caitlin Scopa


From: Molly A. Burrows Schumacher (staff)
Sent: Tuesday, January 26, 20214:36 PM
To: Caitlin M. Scopa< . Jitlin.Scopa@loras.edu>
Subject: Following up on 9/6/20 report

Hello Caitlin,

I hope this email finds you wel l. I'm reaching out today regarding a report filed 9/6/20, where your apartment reported
that an unknown male suspect entered your apartment at Byrne Oaks without your consent. As I mentioned in a
previous email, the College is currently investigating this incident with the int ent of holding the individual accountable
for any violations of the College' s Code of Conduct.



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         Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 25 of 175
                                       APP 111
At this time in our process, we wanted to reach out to you to see if there is any additional information (beyond the
original report) that you would like included in the investigation information . This could include, but is not limited to,
additional information that has become ava ilable to you since the filing of your report; information from your worl< with
law enforcement on your case; impact this incident has had on you as you navigated your college experience; and other
information that you believe may be helpful at this time. Information can be emailed to me at this email address, or can
be faxed t o me at 563.557.4080 . I'm also available to speak via Zoom at your convenience, or can arrange for an
investigator to meet with you in person on campus if that is preferred.

As the investigation is completed, the case will trans ition to the College Hearing Board. The College Hearing Board is
chai red by the Associate Dean of Students or his/her designee, and includes appointed representatives from the Loras
College community: two students, two faculty members and two staff members. This board hears cases where a
sanction of suspension or expulsion may be considered based on the nature of the incident. Students who file a report
that is referred to the College Hearing Board have the right to be involved in the process, and we can work together to
help make the experience as comfortable as possible for you . If you would like to participate in the hearing process,
please do reply to this email and let me know. I'll arrange for Kelsey Callahan, who helps students prepare for the
hearing board process to reach out to you to talk further.

Thank you for your time. I look forward to hearing from you in the near future.

Molly

Molly Burrows Schumacher
Assistant Dean of Students

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Dubuque, IA 52001
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                                      APP 112
                                                                                                                        F
,~lly A. Burr9ws Schumacher (staff}

!From:                             Molly A. Burrows Schumacher (staff)
Se:rrt:                            Tuesday, February 2, 2021 2:37 PM
1@:                                Caitlin D. Farrell
Subject:                           Following up on 9/6/20 report



Dear Caitlin,

I hope this message finds you well. I'm following up on an email sent to your Loras email on January 26, 2021, inviting
you to share any additional or new information you might have regarding the report filed on 9/6/20, and to invite your
participation in the college hearing board process. If you would like to provide additional informat ion or participate in
the college hearing board process, please reply by Wednesday, February 10. A copy of the original email is included
below for your convenience.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.bur rowsschumacher@loras.edu
BE MORE BE LORM


From: Molly A. Burrows Schumacher (staff)
Sent: Tuesday, January 26, 20214:35 PM
To: Caitlin D. Farrell <Caitlin.Farrell@loras.edu>
Subject: Following up on 9/6/20 report

Hello Caitlin,

I hope this email finds you well. I'm reaching out today regarding a report filed 9/6/20, where your apartment reported
that an unknown male suspect entered your apartment at Byrne Oaks without your consent. As I mentioned in a
previous email, the College is currently investigating this incident with the intent of holding the individual accountable
for any violations of the College's Code of Conduct.

At this time in our process, we wanted to reach out to you to see if there is any additional information (beyond the
original report) that you would like included in the investigation information. This could include, but is not limited to,
additional information that has become available to you since the filing of your report; information from your work with
law enforcement on your case; impact this incident has had on you as you navigated your college experience; and other
information that you believe may be helpful at this time. Information can be emailed to me at this email address, or can
be faxed to me at 563.557.4080. I'm also available to speak via Zoom at your convenience, or can arrange for an
investigator to meet with you in person on campus if that is preferred.

As the investigation is completed, the case will transition to the College Hearing Board. The College Hearing Board is
chaired by the Associate Dean of Students or his/her designee, and includes appointed representatives from the Loras

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                                                                                                LORAS 0603

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                                       APP 113
College community: two students, two faculty members and two staff members. This board hears cases where a
sanct ion of suspension or e:<pulsion may be considered based on the nature of the incident. Students who file a report
that is referred to the College Hearing Board have the right to be involved in the process, and we can work together to
help make the experience as comfortable as possible for you. If you would like to participate in the hearing process,
please do reply to this email and let me know. I'll arrange for l<e!sey Callahan, who helps students prepare for the
hearing board process to reach out to you to talk further.

Thank you for your time. I look forward to hearing from you in the near future.

Molly

Molly Burrows Schumacher
Assistant Dean of Students

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rnolly burrowsschumacher@loras.edu
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                                                                                              LORAS 0604

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                                      APP 114
                                                                                                                      G
Molly A. Burrows Schumacher (staff)

From:                              Molly A. Burrows Schumacher (staff)
Sent                               Wednesday, January 27, 2021 9:54 AM
roi:                               Jaylen M. Cangas
Subject                            RE: Residence Life Questions


Hi Jaylen,

Thanks for providing this Information. Now that we ha ve the additional documents, your application has been
approved. Please let me know your off campus address once you have secured housing so we can update your
information.

Thank you,

Molly


Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly. burrowsschumacher@lo ras. edu
BE MORE BE LORA~-



From: Jay!en M. Cangas <Jaylen.Cangas@loras.edu>
Sent: Wednesday, January 27, 2021 9:36 AM
To: Molly A. Burrows Schumacher (staff) <Mo11y.BurrowsSchumacher@loras.edu>
Subject: RE: Residence Life Questions

Hi Molly,

My parents already sent you my letter but attached is my letter from my coach. !f ! need to do anything else please let
me know.

Thank you again,



~~/U
Biomedical Engineering Major, Spanish Minor
Loras College, Class of 2023


From: Molly A. Burrows Schumacher (staff)
Sent: Monday, January 25, 20216:28 PM
To: Jaylen M. Cangas <la¥len.Cangas@loras.edu>
Subject: RE: Residence Life Questions

Hi Jaylen,


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                                                                                              LORAS 0605

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 29 of 175
                                      APP 115
Thank you so much for reaching out and detailing your request. I would agree that the sit uation you encountered this
                                                                                                                             G
past fall semester is not typical, and that you have made a reasonable effort to continue living in the environment but
can articulate ongoing challenges. These extenuating circumstances, along with the fact that you are quite close to
meeting the requirement, support approving you to be permitted to move off campus this fall.

To complete the off campus request process, we do require students to submit a letter of support from
parents/guardian, as well as a letter of support from their coach if applicable. Your request is approved pending the
arrival of these two letters. They can be emailed to me - or faxed if more convenient to S63.S57.4080. Once I receive
this information, I can finalize you r approval. Please send your updated off campus address our way once you secure
housing.

Please let me know if you have any questions. Thank you!

Molly

Molly Burrows Schumacher
Assistant Dean of Students
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Dubuque, IA 52001
mollv.burrowsschumacher@loras.edu
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From: Jaylen M. Cangas <1ayJen.C:inyas@loras.edu>
Sent: Tuesday, January 19, 2021 3:25 PM
To: Molly A. Burrows Schumacher (staff) <_\1olly.BurrowsSchumacher@loras.edu>
Subject: Residence Life Questions

Hello Molly,

My name is Jaylen Cangas. I am writing to ask you questions about how I can be approved to live off-campus next year. I
realize that in order to get off-campus I must have 80 credits but at the end of this year I will be extremely close at 72
credits and possibly taking a summer class.

Living in Byrne Oaks this year has been extremely difficult on my mental health and my academic success. I live in BO
101 and we experienced a break-in last semester. Since then, I have had a really hard time sleeping and I am constantly
up past 3:00am staring at the ceiling and listening for noises. I already experience anxiety but the break-in and the 4-5
hours of sleep a night has caused it to get worse. I understand that there has been more security measures put into
place which ! am gratefu! for but the thin walls and ceilings allow me to hear every noise and they keep me up at night.

Living in BO has also caused my grades to drop. Last semester I received the first B that I ever have gotten. I realize that
a Bis not the end of the world but I believe it is directly related to living in Byrne Oaks. I found myself constantly falling
asleep during in-person class, which has never happened before, and not being able to focus on Zoom when there are
people constantly walking the hallways and outside. I believe that my academics would best succeed if I lived in a safe
place with people I trust and without the distractions of other students in a building.

I hope that you can understand my concerns with my mental health and academic standings and see that I am only
looking for the best opportunity for my success and well-being. With these circumstances and the proximity of my
credits to the requirement, I am asking if I can be granted off-campus for next semester. If needed, I can have letters
written to you from my mother and my coach acknowledging my concerns as well.

I am looking forward to hearing from you and I hope you are staying safe and healthy!
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                                                                                                   LORAS 0606

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                                      APP 116
                                                                              G
Thank you,



Biomedical Engineering Major, Spanish Minor
Loras College, Class of 2023




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                                                              LORAS 0607

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                                   APP 117
Molly A. Burrows S,humac~eir (staff)
                                                                                                                    -H-
Fr10m:                            Molly A. Burrows Schumacher (staff)
§erst:                            Thursday, January 28, 2021 12:32 PM
To:                               Olivia V. Devriese
Subject                           RE: Living Off-Campus



Hi Olivia,

Thanks so much for reaching out. I would agree that the situation you encountered this past fall semester is not typical,
and that you have made a reasonable effort to continue living in the environm ent but can articulate ongoing
challenges. These extenuating circumstances, along with ongoing COVID concerns, support approving you to be
permitted to move off campus this fall.

To complete the off campus request process, we do require students to submit a letter of support from
parents/guardian, as well as a letter of support from their coach. Your request is approved pending the arrival of these
two letters. They can be emailed to me - or faxed if more convenient to 563.55 7.4080. Once I receive this information,
I can finalize your approval. Please send your updated off campus address our way once you secure housing.

Please let me know if you have any questions. Thank you!

Molly

Molly Burrows Schumacher
Assistant Deon of Students

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molly.burrowssch umacher@loras.edu
BE MORE BE LORAS


frnm: Olivia V. Devriese <Olivia.Devriese@loras.edu>
Sent: Thursday, January 28, 202111:01 AM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Living Off-Campus

Good Afternoon Molly Burrows,

I am writing to you today about living off-campus. As you know the first semester was hard for my roommates
and me with the break-ins. I personally do not feel safe anymore with living in Bryne Oaks apartment or even
places where random people that I do not know can come in and out of the building. I have not been able to
sleep due to thinking about someone who could still break into my apartment and due to all the noise of
people walking around in the apartment upstairs and in the halls.

Covid is also a huge factor with me living off-campus. I am on the soccer team and during the season we must
be careful so we can play. Living in Bryne Oaks I do not know where people have been and if they have been
exposed to Covid. Living with soccer players that I trust away from campus can help us not get Covid and feel
safer that I know where they have been during the day.


                                                                                              LORAS 0608

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                                       APP 118
                                                                                                           tt
Overall, since September ! need a new start where peop!e do not know where I am living, and ! can feel safer
knowing Covid is not in my building.

I know that you are working hard to stop what happened in September and I thank you for that! I would feel
safer and more comfortable with a new start in my Hving situation.

Thank you so much,

Olivia DeVriese




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                                                                                     LORAS 0609

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 33 of 175
                                   APP 119
Molly A. Burrows Schumach~r (staff)
                                                                                                                           -T
lfrnm:                             Molly A. Burrows Schumacher (staff)
§eu1'i::                           Thursday, January 28, 2021 11 :32 AM
T@:                                Caitlin M. Scopa
Subject                            RE: Off campus request


Hi Caitlin,

Thanks so much for reaching out. I would agree that the situation you encountered this past fall semester is not typical,
and that you have made a reasonable effort to continue living in the environment but can articulate ongoing
challenges. These extenuating circumstances, along with the medical concerns you describe related to ADHD, support
approving you to be permitted to move off campus this fall.

To complete the off campus request process, we do require students to submit a letter of support from
parents/guardian, as well as a letter of support from their coach. Your request is approved pending the arrival of these
two letters. They can be emailed to me- or faxed if more convenient to 563.557.4080. Once I receive this information,
I can finalize your approval. Please send your updated off campus address our way once you secure housing.


Please let me know if you have any questions. Thank you!

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I OJ{\~ COi'
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molly burrowsschumacher@loras.edu
BE MORE BE LORAS



From: Caitlin M. Scopa <Caitlin.Scopa@loras.edu>
Sent: Wednesday, January 27, 2021 8:47 PM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Off campus request

Hello Molly,

My name is Caitlin Scopa and ! am a sophomore who lives in Byrne Oaks 101. I am emailing in regards to getting off
campus for the 2021-2022 school year. This year, my roommates and I have experienced a lot since living in Byrne Oaks.
As you may already know, we were a part of the multiple break-ins that happened during first semester and since then I
have had a difficult time sleeping and focusing throughout the day and night. I feel uncomfortable and nervous to be
living in a building with other people because I do not know all of the other students, and I do not know all of their
intentions. I can hardly focus because I am constantly overthinking and scared about what could potentially happen to
us again from somebody different.

On top of that, there are constant noises from people walking and yelling outside, in the hallways, and loud footsteps
coming from upstairs which makes it even harder for me to focus on my classes and homework. The constant
distractions outside of my room has affected my ability to learn proficiently, and I struggled with this last year as well. I

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                                         APP 120
have been forgetting about a lot of assignments and not performing as well as I normally do on papers, exams, and
assignments. I take medication prescribed from my doctor to help my ADHD, but the constant distractions and
discomfort that I have been experiencing have overpowered the assistance my medication is supposed to give me . I am
planning to meet with my doctor on Monday and if needed, I can have her sign the medical release form to live of-f-
campus.

On top of all of that, COV!D is still a big concern for me. Due to my roommates and I ail being on the soccer team, we are
hoping to actually get to play this upcoming season and the upcoming fall season. I trust them to be as smart and as safe
as possible, but I cannot speak for everyone else living in the apartment buildings or dorms. I would like to be around
people I trust to limit potential exposure to everyone, and to keep my teammates/roommates and I safe.

I hope that you can understand my request to live off campus in order to stay safe, healthy, and to be in the best
learning environment for myself. If you have any further questions or if there is anything else I need to do, please let me
know.

Thank you,
Caitlin Scopa




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                                    APP 121
Mo~at A. B:urrows Schumacher (staff)
From:                             Molly A. Burrows Schumacher (staff)
Sent:                             Thursday, January 28, 202 7 71:23 AM
l«:.:                             Caitlin D. Farrell
Subject                           RE: Off Campus Housing



Hi Caitlin,

Thanks so much for reaching out. I would agree that the situation you encountered this past fall semester is not typical,
and that you have made a reasonable effort to continue living in the environment but can articulate ongoing
challenges. These extenuating circumstances , along with the fact that you are quite close to meeting the requirement,
support approving you to be permitted to move off campus this fall.

To complete the off campus request process, we do require students to submit a letter of support from
parents/guardian, as well as a letter of support from their coach. Your request is approved pending the arrival of these
two letters. They can be emailed to me - or faxed if more convenient to 563.557.4080. Once I receive this information,
I can finalize your approval. Please send your updated off campus address our way once you secure housing.

Please let me know if you have any questions. Thank you!

Molly

Molly Burrows Schumacher
Assistant Dean of Students
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Dubuque, IA 52001
mollv.burrowsschumacher@loras.edu
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Fmm: Caitlin D. Farrell <Caitlin.Farrell@loras.edu>
Sent: Wednesday, January 27, 2021 3:57 PM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Off Campus Housing

Dear Mrs. Burrows Schumacher,

   My name is Caitlin Farrel!, and I am a current sophomore here at Loras. I am writing to you about getting off campus
for the coming 2021-2022 school year. As I am sure you are aware, on September 6 th of this past fall an unknown male
broke into our apartment and watched one of my roommates as she was sleeping. Ever since that night and the multiple
other break ins, I have struggled to sleep in fear that another man might walk in again with unknown intentions. This has
resulted in a significant lack of sleep which I believe has had an effect on my academic performance and ability to
function during class. I have trust in each one of my roommates to lock the doors and not let anyone in the building we
do not knmN. That being said, I do not necessarily know everyone in the building and do not know if they are letting
strangers in. The main door to Byrne Oaks is often propped open as well and any random person can walk right in at any
time which is very concerning to me and my safety.
   Also living in Byrne Oaks has caused challenges for my academic success. When sitting in my living room and doing
homework, there are extremely distracting noises coming from outside, upstairs, and in the hallways. Having an off



                                                                                              LORAS 0612

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                                      APP 122
campus house would a!low for my own privacy and quiet space to enhance my academic success. Another reason I hope
                                                                                                                     J
to get off campus is due to Covid 19 reasons. As a member of the soccer team, I want to keep my distance as much as
possible from others so that I am able to participate in our upcoming season. In an off campus house it would be just me
and my roommates, and I would feel significantly safer.
   The final reason off campus housing would be ideal for me is because I have a possible internship at the Loras All-
Sports Camp this summer and would have to stay in Dubuque. The off campus house would allow for me to have an easy
commute and place to stay while living here this summer. Due to these circumstances and the fact that I will have 71
credits, and am dose to the 80, I hope to be considered for off campus living. Thank you so much for your time, and I
hope to hear back from you soon!

Caitlin Farrell
Class of 2023
Kinesiologv / /.\thletic Training Major
Women's Soccer




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                                                                                             LORAS 0613

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 37 of 175
                                    APP 123
Mo~!y A. Burrows Schumacher (staff)
                                                                                                                    K
from:                             Molly A. Burrows Schumacher (staff)
Sent                              Thursday, January 28, 2021 12:38 PM
To:                               Abigail M. Eriksen
Subject                           RE: Off campus request


Hi Abby,

Thanks for reaching out. I would agree that the situation you encountered this past fall semester is not typical, and that
you have made a reasonable effort to continue living in the environment but can articulate ongoing challenges. These
extenuating circumstances, along with the many challenges you are navigating at this time, support approving you to be
permitted to move off campus this fall.

Thank you for providing the additional documentation needed for your request. I'm comfortable approving your
request without the additional doctor's note at this time - so please know that your request is approved. If you could
please contact me with your new address when it' s available, I will update our records.

Please let me know if you have any questions . Thank you!

Molly

Molly Burrows Schumacher
Assistant Deon of Students
LUl{A~ LUI.LI ~
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
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Frn m: Abigail M. Eriksen <.ll..bigail.Eriksen@loras.edu>
Sent: Thursday, January 28, 202112:10 PM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Off campus request


Good Afternoon Molly,



My name is Abby Eriksen, and I am a sophomore here at Loras. Prior to coming to college last year, I got diagnosed with
anxiety, and I have since received treatment to help maintain my mental health . As you are aware, my roommates and I
had an intruder enter our apartment and watch one of them while they were sleeping. Since this incident, there had
been several other apartments that have gotten broken into as well. Since this has happened to us, I have not been able
to sleep. I find myself locking my door, and putting my dresser in front of the door because I fear someone is going to
break in . There have been many incidences where I have called home to my parents in the middle of the night because I
am sca red and do not feel safe. Due to this, it has affected when I sleep, and has given me less motivation th rough the
day because I am so exhausted for staying up all night. I am not concerned by our campuses safety and their services
they provide for us, I am mor e concerned of the other students in our building because I cannot control what they do.


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                                                                                               LORAS 0614

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 38 of 175
                                      APP 124
Since this incident, I have had to meet with my doctor, and had to increase my dosage for my anxiety medicine because I
cannot sleep or just feel safe here in this apartment. My doctor has also approved for me to get off campus.



Going further into my studies, I am a student that already has trouble focusing, and being in this building has affected
this because of the constant noise. Last year I struggled with doing homework in my dorm room, and found myself
spending hours at the library to focus on my studies. In addition to my anxiety, I have 2 sisters in college and one brother
on the way. My family recently lost our house at home because we could not afford to live there anymore and money is
extremely tight. Being granted off campus would help me tremendously because I would have a safe place to be, and I
would save money. I am also on the soccer team here and with COVID going around, I want to be in the safest
environment I can be, and living off campus with members of my team will help reduce that stressor. With that all being
said, I hope to be considered or. campus, to help improve my mental health, and my studies. lf you have any further
questions, please let me know what I can do in order to fulfill my request.

Thank you,

Abby Eriksen



Attached is my coach, and my Moms approval. My doctors note is coming in the mail this week.




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                                                                                                LORAS 0615

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 39 of 175
                                    APP 125
                                                                                                               L
Molly A. Burrows Schumacher (staff)

From:                           Nancy Z. Fett
Sent                            Tuesday, December 22, 2020 3:57 PM
To:                             Molly A. Burrows Schumacher (staff)
Subject                         FW: phone call




1st of 2 emails


Sent from my US.Cellular© Smartphone



-------- Original message --------
From: "Rachael N. Swift" <Rachael.Swift@loras.edu>
Date: 9/17/20 2:43 PM (GMT-06:00)
To: "Nancy Z. Fett" <Nancy.Fett@loras.edu>
Subject: RE: phone call


Hello Nancy,



I want to apologize for the late response. I have been off campus since yesterday and then had to move to a
hotel yesterday afternoon. Can we meet tomorrow in-person to talk about the details in regards to my Title IX
claim.



Than!,,. you.

Rachael Swift




From: Nancy Z. Fett <Nancy.Fett@loras.edu>
Sent: Tuesday, September 15, 2020 7:09 PM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: phone call



Thank you for your phone call. I have not been in my office all ,veek and so I am not sure when you left the
message.

                                                         1
                                                                                       LORAS 0616

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 40 of 175
                                      APP 126
Thank you for having the courage to advocate for yourself in this personal matter. I only wish more women
                                                                                                              L
did.

You will likely be contacted by one of two people: Matt Saylor in security or Molly Burrows Schumacher in
Student Life. They will conduct the investigation, ask you for your side of the story, ifthere are witnesses,
etc. They will also contact the alleged perpetrator to discuss the matter.



My role is to assure the process is followed, monitor the report, ask questions and suggest alternative
approaches/questions/theories and assure the matter is handled professionally, according to our policy, and with
utter fairness .



If you feel like you are not being heard, please contact me. It is important to me (and the College) that anyone
who comes forward is supported and listened to. Let me know if you have any questions. NZF



https:/ /issuu.com/lorasduhawks/docs/studenthandbook 845b4473c6d53f

See page 30-31 to read more ahout the Hearing Board




Nancy Zachar Fett, LMSW

Assoc. Professor of Social Work

Field Director

1450 Alta Vista, MS #221

Dubuque, IA 52001

563-588-7029, Fax 563 -588-7005

Pronouns: She/Her




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                                                                                        LORAS 0617

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 41 of 175
                                   APP 127
                                                                                                                    M

from:                              Molly A. Burrows Schumacher (staff)
Sent                               Tuesday, September 15, 2020 9:32 PM
1©:                                Rachael N. Swift
Sll~bjed;                          touching base



Hello Rachael,

Your recent report was routed to me today for review. I apologize if you felt you did not receive a response to your
requests. If you could let me know who you reached out to, I will follow up to see what additional information is
available, but wanted to provide what updates I am aware of at this time.

Since the incident, Campus Safety has increased rounds on the interior and exterior of the facility as well as the
surrounding grounds. Part of those rounds includes checking common areas and corridors for those who do not live in
the building, un-propping propped doors if they are propped, and monitoring the areas behind the building as well.
Whi!P h<:-:lpfu! in the> pursuit of c;impus safoty, this increased suP1eil!ance has not rrovidecl any additional informs1tion
regarding your case.

We have been able to contact those who fobbed into the building shortly before the incident occurred - including a
student who lived in an apartment near yours, who fobbed in around the time the incident occurred. He indicated he
did not see anything unusual or encounter any other students while moving from the entrance to his apartment. Our
other fob accesses (b2sed on access time) 2re less likely to have information, but we wi!l be following these leads as
well. I noticed in your report you contacted the Dubuque police about what occurred did they offer you a case
number you are willing to share with the college? While we provide campus safety officers on campus, we are not a
police force - so when there is a corresponding police report, we like to contact the local officer connected with the case
to provide what information we do have since local PD has additional avenues they can explore as sworn law
enforcement officers.

I am a,;,_:are you requested a deadbolt be added to ','OL:r door at 8yr:re Oaks, and i saw today that the Physical Plant
indicated they would not be able to honor that request. Please know that we are resubmitting the request. I can't
promise it will change the answer, but we are advocating to do what will make you feel most comfortable in your
space. I'm also aware you/your family has requested blue light poles on campus. I am gathering current pricing for
these poles to see what options might be available, and will submit that information for review. If you would like to
provide a letter of support about this request, or have a specific idea in mind of where you would like to see a blue light
that wil! best benefit students, please !et me knovv and I wi!! ,nclude this information in the request.

Additionally, I have submitted a request to have a surveillance camera installed at the access point at Byrne Oaks. The
camera would be motion activated and would record when movement is in the vicinity, allowing us to further track who
is entering and exiting the building. IT is currently checking to see if we have the capability of supporting a camera in
this area. We will keep you posted on these projects as additional information becomes available. While this is not an
exhaustive list of vc1h.at is occurring, I 1Nant to assure you that the college is tahng \'0Ur concerns serious!y.

In your report, you also mentioned that you have been subjected to a sexual assault. I am so very sorry to hear this, and
want to provide any support I can to be of help to you. Your story is yours to share in your own time as you are
comfortable, but if there are supports you need on campus, or if you would like to discuss the process on or off campus
for filing a report of sexual assault, I'm willing to assist in any way I can that meets your needs. There is a campus
resource packet can share with you that might be he!pfu! in ,:,;~;)!aining local resources, accommodations, 2nd hc- 1N
cases move forward on and off campus. If you are interested in this resource, please let me know and I will send it to
you via email.


                                                                                                   LORAS 0618

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 42 of 175
                                      APP 128
                                                                              M
Please let me know if you have any additional questions.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001
rn olly.burrowsschumacher@loras.edu
              r>r I (V.• · ·




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                                                                 LORAS 0619

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                                      APP 129
                                                                                                                     N
frnm:                              Molly A. Burrows Schumacher (staff)
Seli1l't                           Wednesday, September 16, 2020 6:41 PM
10!:                               Nancy Z. Fett; Arthur W. Sunleaf
SQ-1!cljet1:\c:                    FW: your request
A t'@dunG11ts:                     Sexual Misconduct Information and Reporting Procedures.pdf



FYI.

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE Bl: LORAS


f'.rorn: Molly A, !3urrows Schumacher (s!3ff)
Sent: Wednesday, September 16, 2020 6:40 PM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: your request

Hello Rachael,

~,!ancy Zachar Fett, the college's Tit!e !X coordir.ator, was in contact with me today and asked that l reach c ut to yo!..! to
see if you would like to talk with/meet with a Title IX investigator on campus to discuss a recently filed report. Right
now, the college has three trained Title IX investigators for student cases and thev are myself, Matthew Saylor (Campus
Safety, and Katie l(eleher-Garfoot [Residence Life). Matt and Katie would both be able to meet in person with you to
discuss the process; I am available by zoom only at this time for medical reasons but am happy to assist in any way I
can. I'm not sure if you have a preference, but if I can assist in setting up an appointment with any of the investigators,
please do !et me know. I'm 2tt.aching a resource that provides additional info,:r:2ticn about the c-:::!!ege's sexual
misconduct policy- it outlines additional information about college policy, the processes available on or off campus, and
local resources that might be helpful for you at this time. Please let me know if you have any questions or if I can be of
service at this time or provide any support at this time.

Thank you,

Molly

Molly Burrows Schumacher
J\ssi,tnnt Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
moUy.burrowsschumacher@loras.edu
BE M RE BE LORAr:,




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                                         APP 130
                                                                                                                         0

From:                             Molly A. Burrows Schumacher (staff)
Sent                              Thursday, September 17, 2020 3: 16 PM
To:                               Arthur W. Sun leaf; Nancy Z. Fett
Subject                           FW: your request



Just FYI

Molly Burrows Schumacher
Assistant Dean of Students
LORA~ lUl.l.b.1I·
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS



From: Molly A. Burrows Schumacher (staff)
Sent: Thursday, September 17, 2020 3:16 PM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: RE: your request

I'm glad to see your reply, and I'm glad to hear you are connecting with Nancy. Please know I' m here if you need
anything.

I can share the following additional updates today -

Technology has indicated we should be able to install the camera at Byrne Oaks, and are in the process of testing the
unit now. I'm still waiting for price estimates back on the blue lights, but will keep you posted. And - maintenance has
contacted a locksmith to see the best way to install a deadbolt on the apartment at Byrne Oaks. I'm not sure I fully
understand the challenges , but it has to do with installing the lock in a way that maintains the required fire rating on the
door. The locksmith indicated this morning he would be in touch soon with an update.

I'll share more as I know more. Thanks -

Molly

Molly Burrows Schumacher
Assistant Dean of Students
LORAS l'OLLl:.l
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu




From: Rachael N. Swift <Rach. I Swift@loras.edu>
Sent: Thursday, September 17, 2020 2:47 PM
To : Molly A. Burrows Schumacher (staff)<, ,,udy.BurrowsSchumacher(cvloras.edu>
§ubject: RE: your request
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                                                                                                  LORAS 0621

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 45 of 175
                                      APP 131
                                                                                                                       ()
Hello Molly,

I have received your emails. I wanted to keep you in the loop. I'm trying to set up an in-person with Nancy Fett for some
time tomorrow. Thank you for finally reaching out and updating me.

Thanks,
Rachael Swift




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                                                                                               LORAS 0622

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 46 of 175
                                    APP 132
                                                                                                                                 p
IF!rom:                              Molly A. Burrows Schumacher (staff)
Sent                                 Tuesday, September 8, 2020 5:36 PM
To:                                  Matthew E. Saylor; Aaron M. Donath; Alex J. Leigh; Darrian D. Hugger; David E. Koch;
                                     Dvlan G. Ervin; Jeffrev A. Swart; Jill A. Heitzman; Kyle T. Leeson; Mark R. Sutter; Martha L.
                                     Mills; Mary M. Droessler; Michael Urbain; Ralph J. Ellwanger; Raymond F. Leppert;
                                     Rebecca S. Guerdet; Robert J. Rosenow; Ronda L. Jasper; Sarah E. Baule
Subjec~                              Request for Additional Rounds



Hello Everyone,

We've also had few requests for additional rounds in the following areas:


    •      Byrne Oaks - A female student reported waking to an intruder in her apartment on 9/6. I' m currently
           investigating - fo b access reports show the next door neighbor entering the building just a few minutes earlier,
           so I'm hoping it's a case of someone inadvertently entering the wrong apartment. Until that's determined for
           sure, please do extra rounds on F 1 floor Byrne Oaks and around the perimeter of the building.
    •      Rohlman, 3"1 floor - having issues with marijuana odor. Staff has asked if you could also swing through from
           time to time and see if you can help them pinpoint where this issue is coming from. Questions about what staff
           have seen should go to Aidan Wojcieshowski.


Please let me know if you have any questio ns.

Thanks!

Molly

Molly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001
563.588.7137
rnolly.burrowsschu macher@loras.edu
  F. MORE BE LORAS



trC'm: Matthew c _ Say!or <Matthe'N.S2y!or@!oras.edu>
Sent: Tuesday, September 8, 2020 4:49 PM
To: Aaron M. Donath <ad534940@loras.edu>; Alex J. Leigh <Alex.Leigh@loras.edu>; Darrian D. Hugger
<Darrian.Hugger@loras.edu>; David E. Koch <David.Koch@loras.edu>; Dylan G. Ervin <Dylan.Ervin@loras.edu>; Jeffrey
A. Swart <Jeffrey.Swart@loras.edu>; Jill A. Heitzman <Jill.Heitzman@loras.edu>; l<yle T. Leeson
<l<yle.Leeson@loras.edu>; Mark R. Sutter <Mark.Sutter@loras.edu>; Martha L. Mills <Martha.Mills@loras.edu>; Mary
M. Droessler <Mary.Droes~ler@!or2s.edu'>; Michac::! Urbain <Mich2e!.Urb21r:@ 1or2s.edu>; M0!l~1 /.'... !3urrmvs Schumacher
(staff) <Molly.BurrowsSchumacher@loras.edu>; Ralph J. Ellwanger <Ralph.Ellwanger@loras.edu>; Raymond F. Leppert
<Raymond.Leppert@loras.edu>; Rebecca S. Guerdet <Rebecca.Guerdet@loras.edu>; Robert J. Rosenow
<Robert.Rosenow@loras.edu>; Ronda L. Jasper <Ronda.Jasper@loras.edu>; Sarah E. Baule <Sarah.Baule@loras.edu>
Subject: Bishop Loras



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                                                                                                     LORAS 0623

          Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 47 of 175
                                        APP 133
                                                                                                                              p
/\s you. may have already read 2bout [fohop Loras and that the co!!ege has decided to take do 1:Vn his statue. If vou. have
not read it yet, Jim Collins sent out an email to everyone at the college with all of the details and reasoning. We also
have a fact sheet, a how to handle call sheet, and a question/answer sheet at the information desk (which do not leave
the information desk). Those items are to help processes phone calls about the subject. We are currently sending all
calls to Valorie Woerdehoff, as the college PR person, or Heather Jungblut, the Presidents Administrative
Assistant. Please follow the sheets and pass the calls a!ong when they come in.

The res! of the 1Neek 'Ne 1:Vil! l:a ve 2 Police Officer around ?pm-62!:! every da'/ in case of backlash for takir,g down !he
statue. The PD is going to most likely be in civilian clothes and driving a unmarked squad car. Please don't pass that
information out as they are here to support us making sure nothing happens to the campus. When on rounds, be more
vigilant on what is happening on/around campus. If there is issues with protesters, please ask them to leave our
campus, as it is private property, or we will have to involve the police. Try to deescalate as much as possible so we don't
have to have an incident on campus. Protestors are allowed to be on the sidewalks, but if they are breaking laws we can
ask them to !e2•,1e or cal! the police.

Please let me know if you have any questions.

Thank you,

                       Matthew Saylor
                       Assistant Director of Campus Safety

                       1450 Alta Vista St
                       Dubuque, IA 52001
                       563.588.7100 I 800.245.6727
                       matthew saylor@loras edu
                          MORI:. Bl:. LORAS
                       L ff! (IC1   ~




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      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 48 of 175
                                    APP 134
                                                                                                                       p
- :.~-,; _-------------------------lllllli-------------------
Mo lly A. !31U1:rwcow5, SdhlUJmacher {staff)

from:                            Molly A. Burrows Schumacher (staff)
                                 Tuesday, September 15, 2020 10:19 PM
                                 Aaron M. Donath; Alex J. Leigh; Darrian D. Hugger; David E. Koch; Dylan G. ENin; Jeffrey
                                 A. Swart; Jill A. Heitzman; Kyle T. Leeson; Mark R. Sutter; Martha L. Mills; Mary M.
                                 Droessler; Michael Urbain; Ralph J. Ellwanger; Raymond F. Leppert; Rebecca S. Guerdet;
                                 Robert J. Rosenow; Ronda L. Jasper; Sarah E. Baule; Matt hew E. Saylor
                                 increased rounds requested at Byrne Oaks

                                 Red Category



I hope this message finds you all well! Please maintain an increased presence in the area of Byrne Oaks - with additional
rounds t hrough the building and around the building when possible. We are still investigating the issue I mentioned in
my email on 9/8, and the rounds have been requested by the student and their family to help the student feel
comfo rtable in the building .

Thank you,

Molly

Molly Burrows Schumacher
Assistant Deon of Students
I I )I
1450 Atta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS




                                                                                              LORAS 0625

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 49 of 175
                                      APP 135
                                                                                                                      p
Moliy A. Burrows Schumacher (staff}
                                 Molly A. Burrows Schumacher (staff)
                                 Tuesday, November 24, 2020 11 :41 AM
                                 Aaron M. Donath; Alex J. Leigh; Darrian D. Hugger; David E. Koch; Dylan G. Ervin; Jeffrey
                                 A. Swart; Kyle T. Leeson; Mark R. Sutter; Martha L. Mills; Mary M. Droessler; Michael
                                 Urbain; Ralph J. Ellwanger; Raymond F. Leppert; Rebecca S. Guerdet; Robert J. Rosenow;
                                 Ronda L. Jasper; Sarah E. Baule; Matthew E. Saylor
                                 Please maintain an increased presence at Byrne Oaks

!mpor'cance:                     High



I hope this message finds you all well! Please maintain an increased presence in the area of Byrne Oaks -with additional
rounds through the building and around the building through the wfnter break period. We are now investigating an
additional incident from this past Sunday morning around 4:00 a.m. where a resident of 303 Byrne Oaks was sleeping
(door unlocked) and alleges she woke to find someone standing at the foot of the bed. The student reports that the
individual got down on the ground and crawled out of the apartment. No additional description information available at
th;s time . We will also be asking PD to assist in monitoring the neighborhood area more closely, and are working to get
additional cameras established at the hall to help provide additional visual surveillance of the side entrance
doors. Please let me know if you have any questions!

Thank you,

Molly

Molly Burrows Schumacher
Assistant Deon of Students
LUKA~ COLLE(.il
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS




                                                                                               LORAS 0626

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 50 of 175
                                      APP 136
                                      Arthur W. Sunleaf
Sent:                                 Monday, January 18, 2021 4:17 PM
lo:                                   Molly A. Burrows Schumacher (staff)
5LI!bject::                           FW: For Your Records

                                      High



FYI

Dr. AW. Sun leaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 52001
# LorasTogethcr

From: Jim Collins <'Jim.Collins@loras.edu>
Sent: Monday, January 18, 2021 3:49 PM
To: Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>
Subject: FW: For Your Records
importance: High

FYI

James E. Collins '84
President
Loras College


From: Jim Collins
Sent: Monday, January 18, 2021 3:44 PM
To: Richard I<. Whitty <RWhitty@OCTHOMASLAW.COM>
Subject: For Your Records
importance: High



-
-
I
September 11, 2020 - 10 a.m.

      e    I agreed to this call after being told (by Heather Jungblut) that it would involve only Rachael and her mother. Just
           prior to starting the conversation, fourth caller joined. After Elaine greeted the caller, I asked for identification of
           this person. I don't recall her name, but she said she was a personal friend of Elaine and a practicing attorney. I



                                                                                                      LORAS 0627

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                                        APP 137
        told them I would not proceed with any conversation until our Co!lege counsel was present or Elaine's personal
                                                                                                                          Q
        friend exited the conversation. The friend said she would drop off the call and asked Elaine to call her
        afterwards.
    @   The call lasted 45 minutes and was mostly dominated by Elaine w/Rachael offering a few comments based on
        me directing questions for her to answer. My participation was limited to expressing empathy for the very
        difficult impact that Rachael had to experience in having a man enter her apartment while she was asleep. The
        mother and Rachaei repeatediy noted that I was the only one they have interacted that offered care or
        empathy. I also offered to avail our support services as Rachael might desire to include: Spiritual Life,
        Counseling, and Academic Services. Rachael gave me permission to have our Counseling Center make contact
        with her.
    ®    Elaine advanced a number of concerns on Rachael's behalf that ranged from a campus safety officer's alleged
         lack of seriousness to the incident to the College's lack of responsiveness to the College's unwillingness to post
         an announcement to campus to the College's failure in not bolting the door to the lack of quality being provided
         by some of Rachael's faculty to the Academic Dean's insensitivity when they met with her. I indicated that I
         would follow up with my respective colleagues about each of the issues they advanced.

September 11, 2020

    o    ! contacted by phone or in person the following as it relates to the above ca!!: Art Sunleaf, Donna Heald, and
         Director of Counseling, Tricia Borelli.

October 8, 2020-1:30 p.m.

    ®    I had a 15 minute call with Rachael Swift and her mother. Elaine indicated that she preferred working out
         something with the College directly v. engaging a legal approach. I asked what she wanted resoived and/or for
         the College to do. Elaine cited all the challenges Rachael had to endure related to her academic and residential
         experience were related to the College doing nothing to address the situations. I told her this was not true, but
         for me to even consider anything, especially if she was suggesting a financial offering, I would need a written
         communication specifically identifying the issues she was alleging. Elaine asked if she could send the details via
         e-mail. I said, "yes," and provided her my e-mail address. Elaine again indicated that she felt I was the only one
         who was listening to their concerns and thanked me for my time.

January 11, 2021

    @    I received an e-mail from Elaine with a document attached. I assume this was in response to what I requested on
         October 8, 2020

James E. Collins '84
President
Loras College




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                                                                                                 LORAS 0628

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 52 of 175
                                      APP 138
Wki ijiy A. Bura:ows Sclhumache r (staff)

frnm:                            Arthur W. Sunleaf
§e:rrt                           Wednesday, January 27, 2021 1:13 PM
Tc:                              Molly A. Burrows Schumacher (staff)
Subjee::~                        FW: Rachael Swift
Attachments:                     RACH LO RAS.pdf



Per your request.

Dr. AW. Sunleaf
Vice President for Student Development·Dean of Students
Loras College
Dubuque, IA 52001
# Loras Together

From: Jim Collins <Jim.Col!ins@loras.edu>
Sent: Monday, January 11, 2021 7:26 PM
To: Donna N. Heald <Donna.Heald@loras.edu>; Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>
Subject: FW: Rachael Swift

Donna and Art

Please see below and attached. Facts don 't seem to matter, let alone timeliness. Rachel and her Mom spoke with me 3+
months ago when I asked them for the communication only received today.

                            asked him to advise.

Thanks,




James E. Collins '84
President
Loras College


~rrom: ,kchP 1• , ,~])aol com <ukchelsea@aol.com>
Sent: Monday, January 11, 20214:42 PM
To: Jim Collins <. 1m .Collins(ti')lorac.._erl 1~>
Subject: Rachael Swift

Please see the attached and respond at your earliest convenience.
Thank you,
Elaine Kostopoulos




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                                                                                           LORAS 0629

         Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 53 of 175
                                       APP 139
 January 8, 2021

  Loras Col~ge
  President Jim Cofllns
  1450 Alta Vista Street
  Dubuque, Iowa 52001


  Re:     Rachael Swift

  During our most recent conversation, we discussed Rachael's request f~r a tuition walver along with
  reimbursement of her 2020 and 2021 deductible due to the complete failure of Loras College to
  adequately act after the break in that occurred at her campus apartment in September 2020. We have
  not heard back from you or anyone at the College regarding this matter since our call in early October.

  As a result ofthe College's complete lack of attention to the fact that an Individual entered a college
  building and proceeded to break Into an apartment and enter a female student's bedroom during the
  middle of the night, this individual proceeded to continue breaking Into women's apartments in the
  same building and traumatize countless students. The Individual was ultimately caught, yet by no help of
  the college. College students needed to do what the College would not do ensure that no one else
  would be traumatized by this Individual. Your lack of attentio~ to a very serious crime forced college
  girls to set a trap to catch the perpetrator.
  There were at least f,ve apartments in one campus building to be broken Into by the same individual and
  the College failed to act in away way to safeguard the students at Loras. During our lnltlal meeting with
  the various Deans and yourself we asked for simple measures to ensure the safety of the students and
  Loras failure to make this a priority. Thus, gMng the individual the ability to continue breaking in to units
  with no action by the College.
  We are extremely disappointed that the College continues to fall Rachael and her fellow students at •
  Loras with their lack of attention to this matter.

  Rachael is forever changed not only by the experience of the break In, yet also by completely
  unacceptable treatment of the College. Loras attempted to make Rachael feel like the break in never
  happened. They failed to respond to her basic requests. They failure care about her safety and the
  safety of the other females at Loras. Loras attempted to hide both Rachaers break In and those of the
  next th~e apartments, and possibly more. Only when students were able to Identify the individual
  during a break In did Loras acknowledge the break Ins.

  Your actions have changed ~achael in a way you could never understand. You personally know Rachael
  and still failed to show compassion and address her concerns.

  Due to the events Rachael was forced-to return home as she was too frightened to be on campus. As she
  Is an Education student she was to return to Loras in January to student teach for her final semester. In
  Jate December she broke down and stated she could not returr to Loras. Even though the individual was
  identified she vms still afraid to return to Loras. She knew that If something was to happen that Loras
  would not be there to protect her while on campus.
                                              '




                                                                                            LORAS 0630

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                              APP 140
 The lack of actions by Loras have forced her to remain at home for her Sen;or year and miss her final
  attempt at a soccer season. Her college experience has been ruined by this entire experience.

  Loras has a duty to ensure a safe environment on campus and has f aiied to do so.

  Due to the failure of Loras to take Rachael's Title IX seriously we have bP"'n forced to engage cour:sel to
  ensure she is heard.

  Additionally, as a follow up to the education piece of our prior discussions ·we want to let you know that
  very little changed in that respect during the fall semester. For example, the South Carolina teacher
  never had the students "enter" her classroom as promis~d. She spent more time talking about moving
  to South Carolina and all the benefits of living in the south than teachir.g the studf:nts, that is when she
  d1d not cancel class.

  Finally, Loras has proceeded to block her from enrolling in the one class she needs for the spring
  semester due to the tuition issue

  Please, grant Rachael a tuition waiver for the 2020/2021 school year and reimburse her for her
  insurance deductlble as discL1ssed. Additionally, aPr,w her to enroll in her class immediately.

  Feel free to contact me at 847 -651-0847 or ukc;hel~a@t1ol.com 1f you have any further questions.




a: .
  Elaine Kostopoulos,




                                                                                            LORAS 0631

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                              APP 141
                                                                                                                    R
Molly A. Burrows Schumacher (staff)

From:                             Molly A. Burrows Schumacher (staff)
Sent                              Monday, September 7, 2020 11 :20 AM
To:                               ELAINE SWIFT
Subject                           RE: Rachael Swift incident and other matters



Thanks so much for the reply. I'm glad you are able to co nnect with Art. Unfortunately, I have a student health meeting
at 1:30 p.m. today, so I won't be able to dial in. I've asked Art to capture the ways we can best help moving forward so I
can best assist in helping Rachael.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
l ORAS COi I f Gl
1450 Alta Vista St
Dubuque, IA 52001
563.588. 7137
moljy.burrowsschumacher@lora s edu
BE MORE BE LORAS



from: ELAINE SWIFT <ukchelsea@aoLccm>
Sent: Monday, September 7, 202010:17 AM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Re: Rachael Swift incident and other matters

Thank you for your response.
We are in our way back to campus and are plan_ning on meeting with An at I :30. It would be great if we could
have you involved via phone for the meeting.
Thanks,
Elaine



         On Sep 6, 2020, at 10:56 PM, Molly A. Burrows Schumacher (staff)
         <Molly. BurrowsSchumacher'.ct)loras.edu> wrote:


         Thank you so much for reaching out. I completely understand your concern for Rachael, and the
         desire to create a safety plan moving forward. We too want Rachel to feel safe on campus and in
         her apartment.

         While I wish I could speak with you in person tomorrow, I am restricted to remote work at this
         time due a hospitalization in July. Coach Pucci indicated you were really hoping to meet with
         someone in person while on campus, so for this reason, I suggested Katie Keleher-Garfoot to
         Coach Pucci as a great resource. Katie has helped students in various housing options by
                                                            1
                                                                                              LORAS 0632

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                                      APP 142
 discussing safety concerns and ordering things like additional door alam1s, window alarms, etc.
                                                                                                       R
 to help students feel more safe based on their specific situation.

 While I'm unable to meet in person, I am happy to talk via phone tomorrow if that would be
 helpful? I am free at 1:00 if that works with your schedule. If you could let me know the best
 number to call, I would appreciate it.

 If you would prefer to meet in person with Dean Sunleaf, I understand that as well. Please know
 I did also make Katie aware that Rachael may be interested in additional safety resources for the
 apartment, and asked her to secure these items for Rachael
 if she is interested.

 Thank you,

 Molly Burrows Schumacher
 Assistant Dean of Students

 Sent from my iPhone


        On Sep 6, 2020, at 8:46 PM, "1.1kchelsea@laol.com" <Jh_<:helseaCciJaol cnrn> wrote:


        Good evenir:g,
        I believe Matt Pucci may have reached out to you today regarding my request for a
        meeting tomorrow, Monday the 7th.
        We were informed to speak with Katie as you would not be on campus.
        I understand tomorrow is Labor Day, yet we will be driving to campus from Chicago to
        help get some things resolved and ensure Rachael is safe.
        What happened to Rachael is unacceptable and it is critical that we speak tomorrow
        either 1n person or on ti1e pl1one. This needs to be a pnonty. Unfortunately as a result of
        the situation Rachael, nor myself can look at tomorrow as a holiday and we would
        appreciate a few minutes of your time.
        Early afternoon would be ideal, yet we can make ourselves available any time during the
        day.
        I look forward to your response.
        Thank you.
        Elaine Kostopoulos


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 College. The information may be legally privileged and/or confidential and is intended solely for
 the use of the addressee. If you are not the intended recipient be advised that any unauthorized
 disclosure, copying, distribution or use of the contents herein is strictly prohibited. [f you have
 received this message in error, please notify the sender immediately and destroy all electronic
 and hard copies of the communication, including attachments.




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                                                                                        LORAS 0633

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                              APP 143
                                                                                                                                           5
From:                                  Katie Keleher-Garfoot
Sent                                   Tuesday, December 29, 2020 10:24 AM
"fl[):                                 Molly A. Burrows Schumacher (staff)
§ubjed:                                FW: Updates



Kiki took the door alarms and window blockers there - she said they were all fine with her. I don't know if Rachael has
ever returned, but she didn't move completely out or return keys, so w e've kept her in the system.


From: Rachael N. Swift <Rachael.Swift@loras.edu>
Sent: Thursday, September 17, 2020 2:38 PM
To: Katie Keleher-Garfoot <l<atie. Keleher-Garfoot@loras.edu>
§ulbiject: RE: Updates




I have been at home since Friday. I came back Wednesday to finish the week in soccer. I' m st aying in a hotel because I
didn't feel comfortable in the apartment. The other 5 girls in the apartment are also scared and sleep in the same room
some nights. I will be returning home for the unforeseen future because I couldn't and didn't feel safe in the apartment
without the safety measure that were asked for. I'm not on campus and would prefer if some can and installed the door
alarms and window blockers in the apartment. We need 2 door alarms and 9 window blockers.



Thank you,

Rachael Swift


From: Katie Keleher-Garfoot <Katie.Keleher Garfoot@loras.edu>
Sent: Tuesday, September 15, 2020 12:08 PM
To: Rachael N. Swift 4 achael.Swift@loras.edu>
Cc: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu >; John R. McDermott
<1uhn.iVlcuerrnott@loras.ed, 1>
Subject: Updates

Hi Rachael,

I just got the bars for the windows and door alarms in the mail this morning! So those are ready - would you like me to
leave them at the Information Desk for you, or would you like assistance in putting them up? I can ask one of your CAs
to b,i::g them bv if you'd !ike assistance, just let r::e know! ~cv,1 many dcor a!2rms wou!d ·1ou like? Just one for the front
door or one for any of the bedrooms as well?

You had asked about the deadbolt on the front door. I was told it would not be possible per the Physical Plant. If you
have more questions, I've CC'd John McDermott on this message- he may be able to answer any additional questions
you have about that.

ror requesting 2 copy •'.)f the report, you car: request it officia!!--,1 '!!2 em2i! - so ycu ca:1 rep!y t:o this r.:essage '.-vith th::
request and we can provide the copy.



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                                                                                                              LORAS 0634

         Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 58 of 175
                                       APP 144
! also have an answer to your que otion nbout the bl 1-1 e light~. Student Union looked into the blue !ights 3S :rn optio1: c-n
campus, and has done so periodically over the past few years . From what I understand, survey responses were collected
from our students, and most students indicated their first choice for call would be their cell phone . There are also some
challenges at other schools that have them with false reporting, and the last time this was researched, there were
institutions removing these posts from their campuses. However, we can definitely bring the idea forward again to the
college for review at your request? It may take about a week to gather all the pricing information for available options,
but 'J·.:e can cre3te 3 prc-pcs2I for cc- nside:ration. /\re there any specific p 13ces ~1ou 1.'✓ ere hapirg t0 see b!ue lights ? '-"·''2
have a layout that we've used in past considerations - but if there are other areas from the student perspective to
consider, that would be helpful.

Please let me know how many of the door alarms you would like and if you'd like assistance in putting the bars and
alarms up, and we'll make arrangements from there! Thank you!

Katie Keleher-Garfoot, M.s.
Assistant Director of Residence Life
Loras College
563.588. 7060
katie.keleher-garfoot@loras.edu
BE MORE. BE LORAS.




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                                                                                                          LORAS 0635

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                                    APP 145
                                                                                                                                 T
From:                                 Molly A. Burrows Schumacher (staff)
                                                                                                                                   -·
Seret:                                Tuesday, January 5, 2021 2:26 PM
To:                                   Rachael N. Swift
Subject                               RE: checking in - housing for spring



Thanks for the rep ly, Rachael! I'll take care of this for you today.

Have a good day,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
11)
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
LIE MORL l3E LORAS



From: Rachael N. Swift <Rachael.Swift@loras.edu>
Sent: Tuesday, January 5, 202112:19 PM
To: Molly A. Burrows Schumacher (staff) <l\/lolly.BurrowsSchumacher@loras.edu>
Subject: RE: checking in - housing for spring

Hello Mrs. Burrow~,

I won' t be returning to campus for the Spring semester. So if you could take off housing and meal plan that would be
one less thing I have to worry about.

Thank you,
Rachael Swift


From: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Sent: Tuesday, January 5, 202111:55 AM
To: Rachael N. Swift <•, act1a,   0



Subject: checking i!l - housing for spring

Hi Rachael,

I hope this email finds you well . As we finalized spring housing placements, I noticed we have a housing placement and
meal plan on record for you for the spring semester. If I understand correctly, you may be student teaching at home this
semeste: so! \.•vanted :o rea:h 0ut 2nd ~ee !f you vvc-u!d !ike me to -:anc-e! that hc-us!r.g p!ace!:"T!ent 2nd rr:ec! pl2r: f or vcu'?
If you could confirm if you would like me to cancel these items, I'll make sure they are removed from your spring bill
asap . If you would choose to cancel, please know you can add these back on at any time if you wish -we would not be
asking your roommates to fill any vacancies and dining plans can be added at any time. I'll wait for your guidance on
how to proceed.




                                                                                                         LORAS 0636

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                                       APP 146
                                                                                                                  T
.l\dditionzlly, because yau spent most of the fall semester away from campus at home, I removed your housing charges
for Fall 2020 from your student account. That update should now be reflected on your student account. You may not
receive a new billing statement, but would see this change reflected under "activity".

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I.ORAS COi.Li G•·
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher (ru loras.edu
BE MORE BE LORAS




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                                      APP 147
                                                                                                                                     lJ
                                                                                                    Monday, January 18, 2021 I 9:32 am
                                                                                                 User: Molly Burrows Schumacher, Staff
  U>RAS
COLLEGE

Incident Report Information
IR#
00229-2020

Reported On
December 7, 2020 10:32 AM

Reported By
Molly Burrows Schumacher

Incident Type
Code of Conduct Violation

Reporter's Email
molly.burrowsschumacheq Joras .edu



Time and Location of Incident
Date!Time of Incident
December 5, 2020 2:03 am

Location of Incident
Campus Housing/Byrne Oaks

Additional L9~at.ion Information
Apartment 301



Parties Involved
Students Involved
Hall, Kyle (Byrne Oaks - 103D) (0532873)

\fict!ms!Comp!ainants
Gleason, Marianne (0552841)
Brownson, Allison (0552528)
Kluesner, Jena (0551976)
Vincent, Faith (0551941)
Haslow, Madison (0552353)
f<eller, Danielle (0495594)



Descriptive Information
Incident Description
Molly Burrows Schumacher received the following communications from Marianne Gleason

From: Marianne E. Gleason
Sent Saturday, December 5, 2020 11 :46 AM
To: Molly A. Burrows Schumacher (staff)
Cc: Allison M. Brownson ; Madison K. Haslow : Faith Vincent ; Jena A. Kluesner ; Danielle C. Keller
Subject: Apartment Breal<-ln

Hi Molly!!

My name is Marianne Gleason and I am a sophomore at Loras College. I am contacting you because I was told to after our apartment
got broken into last night. Nothing was taken because we put a security camera up after we had noticed food going missing and the
person who broke in noticed the camera.

I have attached the footage in this email. The student is Kyle Hall, another resident in our building. We are not sure what to do from
                                                                                                          LORAS 0638

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                                    APP 148
,,ere which is why we were to!d to contact you. Please get. back to us soon.                                                          u
Thank you ,

Marianne Gleason

From: Marianne E. Gleason
Sent: Saturday, December 5, 2020 12:20 PM
To: Molly A. Burrows Schumacher (staff)
Cc: Allison M. Brownson ; Madison K. Haslow; Faith Vincent ; Jena A. Kluesner : Danielle C. Keller
Subject: Re : Apartment Break-In

The door was unlocked last night and previous times it had been locked but the door was not shut all the way so it was slightly open.

The things taken were trivial. Just food and energy drinks so we don't have exact dates for that as at the time we thought it was each
other taking ihe items.

There was an incident a couple weeks ago when we had a friend visiting who witnessed him looking around our door and peeking in
but she didn't know who it was and the camera didn't activate so we didn't have enough information to bring it forward . We think now
that it was the same person as she described him as having short hair and glasses.

We are unsure about pressing charges due to legal fees and not knowing how to navigate through the situation, as well as the fact that
nothing was taken and it was just breaking and entering.

Thank you,

Marianne Gleason

Faith Vincent from the apartment also contacted Campus Safety. Officer Mark Sutter responded, and with Aidan Wojciehowski met
with the women of the apartment and local law enforcement. At that time, law enforcement contacted Kyle Hall , and per Officer Sutter,
Hall admitted to entering "a few" Byrne Oaks apartments .

Officer Sutter delivered a letter to Hall drafted by Burrows Schumacher indicating that Hall needed to leave campus "immediately" by
5:00 p.m . that day, and if he could not take his belongings with him, he could schedule a time to return to campus and be escorted to
retrieve the rest of his belongings. The letter further indicated that Hall is not otherwise permitted on campus at this time , and that
should he come to campus, he may face involuntary suspension and/or referral to law enforcement. Hall left campus, and will be in
touch to schedule a time to return for the remainder of his belongings.

Video footage of Hall accessing Apartment 301 from their interior surveillance camera is attached to this report. The video was taken
at approximately 2:03 a.m . Fob access records show Hall accessing the building last at the west entrance at 1:28 a.m.

This incident is being investigated along with 3 other apartment entry incidents that have been similarly described by those impacted
and 2 pulled fire alarm incidents in the west tower. In these additional incidents, the subject has been described as male, darker hair,
approximately 5'8, and in a previous instance at apartment 301, with glasses. Hall, per college records is approximately 5'7, with
darker hair and does wear glasses.

Stat us
Processing



A cidii:ional lnrformation
B \nS Called
No

Area Coordinator Called
Yes

Police Called
Yes

Police Report#
Officer Sutter put Case# and Law Enforcement Contact on Matt Saylor's Desk

Physical Plant Contacted
No

Alcohol Involved
No

                                                                                                           LORAS 0639

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                                    APP 149
Administrative Action
Appealed
No




                                                              LORAS 0640

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                                   APP 150
from:                               Rachael N. Swift
Sent                                Monday, September 7, 2020 8:25 PM
To:                                 Donna N. Heald
Subject                             RE: Concern About Classes



Hello Donna ,

I would like to have a meeting tomorrow at some point. My mom will also be involved in this meeting. We would prefer
an in person meeting. What time are you available tomorrow.


Thank you ,
Rachael Swift


Frnm : Donna I\]. Hea!d <Dorn,a .Heald@loras.edu>
Sent: Monday, September 7, 2020 4:00 PM
To: Rachael N. Swift <Rachael.Swift@loras .edu>
Subject: Concern About Classes

Dear Rachael,


Dr. Sun! eaf notified me that you ha 1_1e a concern with some of your classes. Would y-::iu be "c•1il!ing tc ::hare those
concerns with me? If you prefer to talk, perhaps we can set up a phone conversation.

Best regards,
Donna Heald



Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna.heald@loras.edu
0G3 .S38. 7935




                                                                                                     LORAS 0641

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 65 of 175
                                     APP 151
Molly A. Burrows Schumacher (staff}

From:                            Donna N. Heald
Sent:                            Thursday, September 10, 2020 8:00 AM
Toi:                             Rachael N. Swift
Su~jed:                          Re: Concern About Classes



Dear Rachael,

I spoke with Dr. Salyer yesterday and shared with him your concerns regarding the instruction in EDU 336 and EDU
340. He is going to follow up with both instructors, while not revealing your name to either. Please feel free to reach
out to Dr. Salyer directly regarding your concerns or if you have any additional information. It is possible Dr. Salyer
will ask to speak with you about this on Friday when he sees you in class. Rest assured, I told him you did not have
any concerns with his class. Please do let me know if you have continuing concerns .

Best regards,
Donna Heald


Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna.heald~:,1oras.edu
563-588-7935


From: "Donna N. Heald" <Donna .Heald@loras.edu>
Date: Monday, September 7, 2020 at 10:31 PM
To: "Rachael N. Swift" <Rachael.Swift@loras.edu>
Subj ect: Re: Concern About Classes

Rachael,

My office is located in Keane 120, but we will need to meet in a nearby conference room. Please come to Keane
120 and we will walk to the conference room from there.

DNH

Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna. heald@loras.edu
563-588-7935



from : "Rachael N. Swi ft" <Rachael.Swift@loras.edu>
Dat e: Monday, September 7, 2020 at 9:45 PM
To: "Donna N. Heald" <Donna.Heald@loras.edu>
Subject: RE: Concern About Classes

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                                                                                            LORAS 0642

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                                      APP 152
Donna ,

That works for me. My mom and I will be t here. Where is your office?

Thanks,
Rachael


From: Donna N. Heald <Donna .Heald@loras.edu>
Sent: Monday, September 7, 2020 9:39 PM
To: Rachael N. Swift <.{achael.Swift@loras.edu>
Subject: Re: Concern About Classes

Rachael,

Is it possible for you to meet at 8:15 am?

Regards,
Donna Heald

Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna.heald@loras.edu
563-588-7935


From : "Rachael N. Swift" <Rachael.Swift@loras.edu>
Date: Monday, September 7, 2020 at 9:37 PM
To: "Donna N. Heald" <            Id , !0 ; a:, 2du>
Subject: RE : Concern About Classes

Can you meet first thing in the morning?

Rachael


From: Donna N. Heald <Donna .Heald@loras.edu>
Sent: Monday, September 7, 2020 8:43 PM
To: Rachael N. Swift<       , l.., , , 11L ,;_; :l, 1d '... •..: du>
                                                  1



Su bje ct: Re: Concern About Classes

Hi Rachael,

Those times are not possible for me tomorrow, but I can meet with you 4-5 pm. I am also available on Wednesday,
1-2 pm.

Best regards,
Donna Heald

Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College-

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                                                                                      LORAS 0643

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 67 of 175
                                     APP 153
1450 Alta Vista St
Dubuque, IA 52001
                                                                                                             V
donna.heald@loras.edu
563-588-7935


From: "Rachael N. Swift"< , achael.Swift@loras.edu>
Date: Monday, September 7, 2020 at 8:36 PM
To: "Donna N. Heald" <Qonn<]_.f-!_eal~@loras.edu>
Subject: RE: Concern About Classes

Donna,
I am available between 11:00 and 3:00 tomorrow.
Thanks,
Rachael


From: Donna N. Heald <·.'i onna Heald@loras.edu >
Sent: Monday, September 7, 2020 4:00 PM
To: Rachael N. Swift <Rachaf't.Swift@loras.edu>
Subject: Concern About Classes

Dear Rachael,

Dr. Sunleaf notified me that you have a concern with some of your classes. Would you be willing to share those
concerns with me? If you prefer to talk, perhaps we can set up a phone conversation.

Best regards,
Donna Heald


Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
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563.588 .7935




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                                                                                           LORAS 0644

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                                   APP 154
                                                                                                              \N
MoUy A. Burrows Sclhum~cher (staff)

From:                             Rachael N. Swift
Sent                              Monday, September 7, 2020 8:34 PM
To:                               Molly A. Burrows Schumacher (staff)
Subject:                          RE: touching base



Hello Molly,
Yes, my roommates and I are interested in the additional safety devices . We all wish we knew about the available
options earlier. Why aren 't students made aware of this .
Will an email be going out to the students regarding informing students of an occurrence and if anyone else experienced
or saw anything unusual. It has been mentioned that the intruder attempted to enter another unit before he entered
mine.
I will let me roommates know about the installation of the new locks.
Rachael Swift




From: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@!oras.edu>
Sent: Monday, September 7, 2020 3:08 PM
To: Rachael N. Swift <Rachaet.Swift@loras.edu>
Cc: Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>
Subject: touching base

He!lo Rachael,

Dean Sunleaf asked me to follow up and let you know that Maintenance will be changing vour door locks and issuing
new keys first thing in the morning - they have set the process in motion today, and it will be completed tomorrow
morning.

Since the incident, Campus Safety has already increased rounds on the interior and exterior of the facility as well as the
surrounding grounds. RAs in the area will do the same. Campus Safety also has ordered and are reviewing the fob logs
from around the time of the incident so that we can connect with any other students who may have been out and
about in the building at that time that may have seen or heard something.

l<atie Keleher-Garfoot will also be reaching out to you asking how she can help. While the college provides secure locks
for all apartments, we know al! residents have different preferences. Katie can share information additional alarms and
devices that you might be interested in for your apartment. Not all students are interested in these devices, but we are
happy to assist you (and your roommates) if you might be .

Please let us know if we can be of further help.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students


1450 Alta Vista St


                                                                                               LORAS 0645

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 69 of 175
                                      APP 155
Dubuque, IA 52001
563.588. 7137
                                                                              vJ
mollv.burrow~~churnacher@loras.edu
BE MOR!::. Bf: LORAS




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                                                              LORAS 0646

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 70 of 175
                                   APP 156
                                                                                                          X
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                                               &!J&/23/JiJ[lfl{J)
                                              --====EXPRESS ===
                                               24 Hour Bonded Mobile Service



    January 29, 2021

    Loras College

    Dubuque, IA 52001

    Dear John

    After review of apartment IO I in Byrne Oaks I found the following.

    The door is self-closing using a LCN 4040 style closer, door meets the basic
    requirements of fitting in the door opening. Door is secured by a Schlage Commercial D
    series entrance knob set and will lock every time providing the inside button is pushed
    and turned. If the button is left out the door can be left unlocked.

    I found no issues with the basic functions of the door frame and lock

    Thanks
    Daniel R. Wa11ing, CP, DHT, CFDAI, IFDAI
    Locksmith Express
    Owner




    450 Central Ave. Dubuque, IA 52001-7024                      (563) 556-4442 Shop (563) 556-3523 Fax
                       ~}~w. locksmithexpress COIJl   workorders@locksmithexpress.com
                                                                                        LORAS 0647

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 71 of 175
                              APP 157
Molly A. Burrows Schumacher {staff)
                                                                                                                       y
From:                                 Molly A. Burrows Schumacher (staff)
Sent                                  Tuesday, September 8, 2020 5:30 PM
To:                                   Arthur W. Sunleaf
Subject                               Swift Investigation


Just an update on Swift situation -

Approximately 10-15 minutes before Rachael Swift found someone in her room doorway, Kyle Hall, who lives in 103
Byrne Oaks (right next door), entered the building via the main entrance. Hall has decreased eyesight due to abnormal
visual development.

I've reached out to him indicating that we know he fobbed in around the time of the incident, and that we'd like to lrnow if he
saw anything that seemed out of the ordinary. I mentioned that in cases like this at the beginning of the year, we often find that
someone may have accidentally entered the wrong apartment, and so conversations like this help us better determine what
happened in a given situation. I'll let you know what I learn from him.




Katie met with Rachael, her mom, and her sister today. They accepted safety devices. They want a warning posted on the
doors. They indicated the exterior doors are always propped (which - why wait and ten us now?), and that fob reports
won't help ... all doors were secured at the time based on the fob list. The mom started in and accused the coJlege of trying
to cover up for having "intruders" in our buildings. Katie told her that there are many things to consider in a situation like
this, and so we follow our processes and protocols in place.

I had arranged with Maintenance to key that apartment first this am. Apparently, it was not complete-d until later today -
Katie met with the family at 1:30 and it still wasn't done. Rachel has emailed me and asked why we don't offer the
additional items to all students when they move in. I have not yet engaged her, but plan to share that not all students are
interested in the devices, some prefer to bring their own. etc.

I think that's the last update on her for today. Thanks!

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
563.588.7137
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS




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                                                                                                     LORAS 0648

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 72 of 175
                                      APP 158
Molly A. Su:TO'v"JS Schuma,her (staff)

r: rnm:                                Katie Keleher-Garfoot
§eirrt                                 Friday, September 11 , 2020 9:28 AM
l o:                                   John R. McDermott
Cc:                                    Molly A. Burrows Schumacher (staff)
Subljecf.:                             Dead bolt?



Hey John,

I'm assuming this is a no, but figured I'd ask anyway. Is it possible to add a dead bolt to a main door BO apartment?
Same apartment that was recored per Art and Molly-wondering about the possibility of a dead bolt now as well...
Thanks John!

Katie I<.

Katie Keleher-Garfoot, M.s.
Assistant Director of Residence Ltte
Loras College
563.588. 7060
kalie.keleher-gartoot@loras.edu
BE MORE. BE LORAS.




                                                                                               LORAS 0649

          Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 73 of 175
                                        APP 159
Molly A. Burrows Schumzid'l1~ri (staff}

f rom:                                 John R. McDermott
Sent                                   Friday, September 11, 2020 9:32 AM
1@:                                    Katie Keleher-Garfoot
Ct:                                    Molly A. Burrows Schumacher (staff)
Subject                                RE: Dead bolt7


That wo uld be the ;) c;sumpti on I w o 11 lri rn1kP M eo

!=rem: Katie Keleher-Garfoot <Katie.Ke!eher-Garfcot@!oras .edu>
Sent: Friday, September 11, 2020 9:28 AM
To: John R. McDermott <John.McDermott@loras.edu>
Cc Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Dead bolt?

Hey John,

I'm assuming this is a no, but figured I'd ask anyway. Is it possible to add a dead bolt to a main door BO apartment?
Same apartment that was recored per Art and Molly - wondering about the possibility of a dead bolt now as well. ..
Thanks John!

Katie K.

Katie Keleher-Garfoot, M.s.
Assistant Director of Residence Life
Loras College
563.588. 7060
katie.keleher-qarfoot@k>ras.edu
BE MORE. BE LORAS




                                                                                               LORAS 0650

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 74 of 175
                                     APP 160
                                                                                                                      z
Molly A. Burrows Sdmmach_0r {§taff)

From:
                                                                  -
                                  Molly A. Burrows Schumacher (staff)
Sent                              Tuesday, September 15, 2020 3:52 PM
To:                               John Mcdermott (John.McDermott@loras.edu); Arthur W. Sunleaf
Subject:                          Deadbolt request



In the interest of providing a solution for a student that would significantly help improve the situation, could we put a
deadbolt that works with our master on apartment 101 Byrne Oaks? I know the reasons we likely wouldn't do this, but
I'm asking if we can, how soon, and how much?

Thanks,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I ORASCOl 11 ·
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsKhumacher@loras.edu
BE MORE BE LOR1\S




                                                                                              LORAS 0651

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 75 of 175
                                      APP 161
MoHy A. Burrows Schumacher (staff)

From:                               John R. McDermott
Se&1i :                             Thursday, September 17, 2020 7:31 AM
Tei:                                Molly A. Burrows Schumacher (staff)
Subject                             Re: Deadbolt request



I forwarded this to Dan for pricing. Not sure if those doors carry a fire rating and if so what it doesto it?

John McD



          On Sep 15, 2020, at 3:52 PM, Molly ,11.. Burrows Schumacher (staff)
          <Molly.BurrowsSchumacher@loras.edu> wrote:



          In the interest of providing a solution for a student that would significantly help imp rove the situation,
          could we put a deadbolt that works with our master on apartment 101 Byrne Oaks? I know the reasons
          we likely wouldn ' t do this, but !'masking if we can, how soon, and how much?

          Thanks,

          Molly

          Molly Burrows Schumacher
          Assistant Dean of Students
          I ORAS COi
          1450 Alta Vista St
          Dubuque, IA 52001
          molly.llurrowsschumacher@loras.edu
          BE MORE BE LORAS




                                                                                                   LORAS 0652

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 76 of 175
                                     APP 162
Molly A. Burrows Schumacher (staff)
                                                                                                                        z
From:                                Daniel <dan@locksmithexpress.com>
Sent                                 Thursday, September 17, 2020 8:14 AM
To:                                  John R. McDermott
                                     Molly A. Burrows Schumacher (staff)
                                     Re: Deadbolt request



John

I will review this door and let you know what we can do.

Thanks
Daniel R. Walling CPL, IFDIA, DHT, CFDAI
563-580-4442
The Locksmith Express
450 Central Ave
Dubuque, IA 52001



        On Sep 17, 2020, at 7:30 AM, John R. McDermott <John.McDermott@loras.edu> wrote:

        ! forwarded this to Dan for pricing. Not sure if those doors carry 3 fire rating and if so what it doesto it?

        John McD



                On Sep 15, 2020, at 3:52 PM, Molly A. Burrows Schumacher (staff)
                <Molly.BurrowsSchumacher@loras.edu> wrote:



                In the interest of providing a solution for a student that would significantly help improve
                the situation, could we put a deadbolt that works with our master on apartment 101
                Byrne Oaks? I know the reasons we likely wouldn't do this, but I'm asking if we can,
                how soon, and how much?

                Thanks,

                Molly

                Molly Burrows Schumacher
                Assistant Dean of Students

                1450 Alta Vista St
                Dubuque, IA 52001
                mot ly.burrowsschurnacher@loras.edu
                BE MORE BE LORAS




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                                                                                                  LORAS 0653

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 77 of 175
                                     APP 163
 CONFIDENTIALITY NOTICE: This email, including any attachments, is the property of Loras
 College. The infonnation may be legally privileged and/or confidential and is intended solely for
 the use of the addressee. If you are not the intended recipient be advised that any unauthorized
 disclosure, copying, distribution or use of the contents herein is strictly prohibited. If you have
 received this message in error, please notify the sender immediately and destroy all electronic
 and hard copies of the communication, including attachments.




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                                                                                  LORAS 0654

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 78 of 175
                              APP 164
                                                                                                                   AA
Molly A. Burrow§ Schumacher {staff)

from:                             Katie l<eleher-Garfoot
Sent                              Tuesday, December 29, 2020 10:24 AM
'Jo:                              Molly A. Burrows Schumacher (staff)
Subject                           FW: Updates



Kiki took the door alarms and window blockers there she said they were all fine with her. I don't know if Rachael has
                                       1
r,,ver r"t' ,mr--i !Jlit ,·f,n '1irl1"1 t 1"11ove completely out or return keys, so we've kept her in the system.


i=rom: Rachael N. Swift <Rachael.Swift@loras.edu>
Sent:Thursday, September 17, 2020 2:38 PM
To: Katie l<eleher-Garfoot <l<atie.l<eleher-Garfoot@loras.edu>
Subject: RE: Updates

Hello Katie,

I have been at home since Friday. I came ba ck Wednesday to finish the week in soccer . I'm staying in a hotel because I
didn't feel comfortable in the apartment. The other 5 girls in the apartment are also scared and sleep In the same room
some nights. I will be returning home for the unforeseen future because I couldn't and didn't feel safe in the apartment
without the safety measure that were asked for. I'm not on campus and would prefer if some can and installed the door
alarms and window blockers in the apartment. We need 2 door alarms and 9 window blockers.



Thank you,

Rachael Swift


From: Katie l<eleher-Garfoot < _1 tie.Keleher Garfoot(a)loras.edu>
Sent: Tuesday, September 15, 2020 12:08 PM
To: Rachael N. Swift <!:_3rh_<!£?LSwift@lq.ra5.edu>
Cc: Molly A. Burrows Schumacher (staff) <!.1olly.BurrowsSchumacher@loras.edL >; John R. McDermott
<lohn .,'vlcUerrnottl{filoras.eu , >
Subject: Updates

Hi Rachael,

I just got the bars for the windows and door alarms in the mail this morning! So those are ready - would you like me to
leave t hem at the Information Desk for you, or would you like assistance in putting them up? I can ask one of your CAs
to bring them by if you'd like assistance, just let me know! How many door alarms would you like? Just one for the front
door or one for any of the bedrooms as well?

You had asked about the deadbolt on the front door. I was told it would not be possible per the Physical Plant. If you
have more questions, I've CC'd John McDermott on this message- he may be able to answer any additional questions
you have about that.

For requesting a copy of the report, you can request it officially via email - so vou can reply to this message with the
request and we can provide the copy.




                                                                                                LORAS 0655

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                                      APP 165
                                                                                                                  AA
I also have 2n answer to your question about the blue lights . Student Union looked into the blue lights as an option on
campus, and has done so periodically over the past few years. From what I understand, survey responses were collected
from our students, and most students indicated their first choice for call would be their cell phone. There are also some
challenges at other schools that have them with false reporting, and the last time this was researched, there were
institutions removing these posts from their campuses . However, we can definitely bring the idea forward again to the
college for review at your request? It may take about a week to gather all the pricing information for available options,
but we can create a proposal for consideration. Are there any specific places you were hoping to see blue lights? We
have a layout that we've used in past considerations - but if there are other areas from the student perspective to
consider, that would be helpful.

Please let me know how many of the door alarms you would like and if you'd like assistance in putting the bars and
alarms up, and we'll make arrangements from there! Thank you!

Katie Keleher-Garfoot, M.s.
Assistant Director of Residence Ufe
Loras College
563.588. 7060
katie.keleher-garfoot@loras.edu
BE MORE. BE LORAS.




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                                                                                               LORAS 0656

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 80 of 175
                                     APP 166
Mo~ay A. Burrows Schumacher {staff)
From:                            Molly A. Burrows Schumacher (staff)
Sent                             Tuesday, September 15, 2020 12:25 PM
To:                              Arthur W. Sunleaf
Subject                          Cam



Hey - working on rosters but also swift case. So you are aware - I am requesting we move the camera that faces out of
Hoffman toward the entrance to the BO entrance also spanning the lot for awhile to help with the Swift family concerns.
If you could support if asked, that would be great. I'm assuming cost is just our labor since we have an office there. If
there turns out to be an actual cost - I will let you know and we can decide.

The family also wants blue light poles - I indicated we can submit a proposal with any feedback she has. Waiting for that
feedback.

Thanks -

Sent from my iPhone




                                                                                              LORAS 0657

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                                   APP 167
Molly A. Burrows Schumacher {staff)
                                                                                                                 cc
From:                             Molly A. Burrows Schumacher (staff)
Sent:                             Tuesday, September 15, 2020 9:32 PM
To:                               Rachael N. Swift
§M[ojed.:                         touching base



Hello Rachael,

Your recent report was routed to me today for review. I apologize if you felt you did not receive a response to your
requests. If you could let me know who you reached out to, I will follow up to see what additional information is
available, but wanted to provide what updates I am aware of at this time.

Since the incident, Campus Safety has increased rounds on the interior and exterior of the facility as well as the
surrounding grounds. Part of those rounds includes checking common areas and corridors for those who do not live in
the building, un-propping propped doors if they are propped, and monitoring the areas behind the building as well.
While helpful in the pursuit of campus safety, this increased surveillance has not provided any additional information
regarding your case.

We have been able to contact those who fobbed into the building shortly before the incident occurred - including a
student who lived in an apartment near yours, who fobbed in around the time the incident occurred. He indicated he
did not see anything unusual or encounter any other students while moving from the entrance to his apartment. Our
other fob accesses (based on access time) are less likely to have information, but we will be following these leads as
well. I noticed in vour report you contacted the Dubuque po!ice about what occurred - did they offer you a case
number you are willing to share with the college? While we provide campus safety officers on campus, we are not a
police force - so when there is a corresponding police report, we like to contact the local officer connected with the case
to provide what information we do have since local PD has additional avenues they can explore as sworn law
enforcement officers.

I am aware you requested a deadbolt be added to your door at Byrne Oaks, and I saw today that the Physical Plant
indicated they would not be able to honor that request. Please know that we are resubmitting the request. I can't
promise it will change the answer, but we are advocating to do what will make you feel most comfortable in your
space. I'm also aware you/your family has requested blue light poles on campus. I am gathering current pricing for
these poles to see what options might be available, and will submit that information for review. If you would like to
provide a letter of support about this request, or have a specific idea in mind of where you would like to see a blue light
that will best benefit students, please let me know and I will include this information in the request.

Additionally, I have submitted a request to have a surveillance camera installed at the access point at Byrne Oaks. The
camera would be motion activated and would record when movement is in the vicinity, allowing us to further track who
is entering and exiting the building. IT is currently checking to see if we have the capability of supporting a camera in
this area. We will keep you posted on these projects as additional information becomes available. While this is not an
exhaustive list of what is occurring, I want to assure you that the college is taking your concerns serious!y.

In your report, you also mentioned that you have been subjected to a sexual assault. I am so very sorry to hear this, and
want to provide any support I can to be of help to you. Your story is yours to share in your own time as you are
comfortable, but if there are supports you need on campus, or if you would like to discuss the process on or off campus
for filing a report of sexual assault, I'm willing to assist in any way I can that meets your needs. There is a campus
resource packet I can share with you that might be helpful in e>cp!aining local resources, accommodations, and how
cases move forward on and off campus. If you are interested in this resource, please let me know and I will send it to
you via email.


                                                                                                LORAS 0658

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 82 of 175
                                      APP 168
Please let me know if you have any additional questions.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumac.:her@loras.edu
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                                                                 LORAS 0659

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                                      APP 169
                                                                                                                DD
Mol!Y A. Burrows Schumacher (staff)

From:                                    Molly A. Burrows Schumacher (staff)
Seri!t:                                  Thursday, September 17, 2020 3: 16 PM
lo:                                      Rachael N. Swift
Subject:                                 RE: your request


I'm glad to see your reply, and I'm glad to hear you are connecting with Nancy. Please know I' m here if you need
anything.

I can share the following additional updates today-

Technology has indicated we should be able to install the camera at Byrne Oaks , and are in the process of testing the
unit now. I'm still waiting for price estimates back on the blue lights, but will keep you posted. And - maintenance has
contacted a locksmith to see the best way to install a deadbolt on the apartment at Byrne Oaks. I'm not sure I fully
understand the challenges, but it has to do with installing the lock in a way that maintains the required fire rating on the
door. The locksmith indicated this morning he would be in touch soon with an update.

I'll share more as I know more. Thanks -

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS



From: Rachael N. Swift <Rachael.Swift@loras.edu>
Sent: Thursday, September 17, 2020 2:47 PM
ro: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: RE: your request

Hello Molly,

I have received your emails. I wanted to keep you in the loop. I'm trying to set up an in-person with Nancy Fett for some
time tomorrow. Thank you for finally reaching out and updating me.

Thanks,
Rachael Swift


From: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Sent: Wednesday, September 16, 2020 6:40 PM
To: Rachael N. Swift<~,,, . .. . , .-• ., ,   1   ",,-,. edu>
Subject: your request

Hello Rachael,

                                                                  1
                                                                                                LORAS 0660

          Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 84 of 175
                                        APP 170
                                                                                                                  DD
Nancy Zachar Fett, the college's Title IX coordinator, was in contact with me today and asked that I reach out to you to
see if you would like to talk with/meet with a Title IX investigator on campus to discuss a recently filed report. Right
now, the college has three trained Title IX investigators for student cases and they are myself, Matthew Saylor (Campus
Safety, and Katie Keleher-Garfoot [Residence Life). Matt and Katie would both be able to meet in person with you to
discuss the process; I am available by zoom only at this time for medical reasons but am happy to assist in any way I
can . I'm not sure if you have a preference, but if I can assist in setting up an appointment with any of the investigators,
please do let me know. I'm attaching a resource that provides additional information about the college's sexual
misconduct policy - it outlines additional information about college policy, the processes available on or off campus, and
local resources that might be helpful for you at this time . Please let me know if you have any questions or if I can be of
service at this time or provide any support at this time.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
moUy.burrowsschumacher@loras.edu
BE MORE BE LORAS




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                                                                                                LORAS 0661

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 85 of 175
                                      APP 171
                                                                                                                66
Molly A. Burrows Schumacheu- (staff)

from:                                 Nancy Z. Fett
Sei11\1::                             Sunday, September 20, 2020 10:45 AM
I@:                                   Molly A. Burrows Schumacher (staff)
Cc:                                   Arthur W. Sunleaf
§!!Ji!J]8G't                          RE: phone call



She has not responded. NZF

Nancy Zachar Fett, LMSW
Assoc. Professor /Field Director
Loras Social Work Program
563-588- 7029, Fax. 563-588- 7005

from: Molly A. Burrows Schumacher (staff)
Sent: Thursday, September 17, 2020 4:38 PM
To: Nancy Z. Fett <Nancy.Fett@loras.edu>
Cc: Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>
Subject: RE: phone call

I did reach out and offer t o meet. Art met with Rachael and her family, so he might be able to provide some additional
insight as well.

Molly Burrows Schumacher
Assistant Dean of Students
I ORAS COi I.I 1
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
 't': MOPt RE LOR.fa.~)



!From: Nancy Z. Fett< ,! ,incy.F~t!.@loras"'E>rl...:_>
Sent: Thursday, September 17, 2020 3:00 PM
To: Rachael N. Swift < .a<.11c1ei.5>w1tt(_Q)io1 a~.edu>
Cc: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Re: phone call

Tomorrow is ridiculously busy but Monday anytime after my class. 10, 11:30-3pm. Let me know what works and where
suits you. Nzf

Nancy Zachar Fett
Sent from my iPad



             On Sep 17, 2020, at 2:43 PM, Rachael N. Swift <r,achael.Swlft@loras.ed,,> wrote:



             Hello Nancy,

                                                                1
                                                                                                LORAS 0662

            Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 86 of 175
                                          APP 172
 I want to apologize for the late response. I have been off campus since yesterday and then had to move
 to a hotel yesterday afternoon. Can we meet tomorrow in-person to talk about the details in regards to
 my Title IX claim .

 Thank you,
 Rachael Swift



 From: Nancy Z. Fett < i n                        >
 Sent: Tuesday, September 15, 2020 7:09 PM
 To: Rachael N. Swift<, 1c.hael. ':,.,1( t@loras.edu >
 Subject: phone call

 Thank you for your phone cal!. I have not been in my office all week and so I am not sure when you left
 the message.
 Thank you for having the courage to advocate for yourself in this personal matter. I only wish more
 women did.
 You will likely be contacted by one of two people: Matt Saylor in security or Molly Burrows Schumacher
 in Student Life. They will conduct the investigation, ask you for your side of the story, if there are
 witnesses, etc. They will also contact the alleged perpetrator to discuss the matter.

 My role is to assure the process is followed, monitor the report, ask questions and suggest alternative
 approaches/questions/theories and assure the matter is handled professionally, according to our policy,
 and with utter fairness .

 If you feel like you are not being heard, please contact me. It is important to me (and the College) that
 anyone who comes forward is supported and listened to. Let me know if you have any questions. NZF

 https ://issuu .com/lorasduhawks/docs/studenthand book 845b44 73c6d53f
 See page 30-31 to read more about the Hearing Board.




 Nancy Zdc.:har Fett. I.MSW
 Assoc. Professor of Social Work
 Field Director
 1450 Alta Vista. MS #221
 Dubuque, (A 52001
 56.i -588-7029. Fax. 563-588-7005

 Pronouns: She/Her




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                                                                                        LORAS 0663

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                              APP 173
                                                                                                          Dowl\1er1\S ff


From:                                Molly A. Burrows Schumacher (staff)
Sent                                 Tuesday, September 8, 2020 5:13 PM
To:                                  Kyle L. Hall
Sufoijec~::                          touching base



Hi Kyle,

I work with Campus Safety, and I'm reaching out today because I am investigating a report from this past weekend . A
female student reported that on 9/6, around 4:20 a.m., and individual entered her apartment on the 1st floor of Byrne
Oaks and approached her individual room door, Door D.

I'm reaching out today because our fob access system indicates that you had entered the first floor of Byrne Oaks
around 4:03 a.m. on that date, and I am wondering if you may have seen anvone on the floor around that time or
anything of concern? If you noticed anything, we would appreciate any information you might be able to share to help
us le::irn mo~e about 11,/,i"lt h2ppcn2d. We kno,,,, th<'lt from time to time, especii1lly at th e hceinn!ng of the 'fC'ilr, people
sometimes get turned around in the building and attempt to enter a door that's not their own- so we're hoping that is
what we find by searching further with those who may have been in the area at the time .

Thanks so much,

Molly
Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
563 588.7137
molly.burrowsschumacher@loras.edu
BE MORE BE LORA~-




                                                                                                       LORAS 0664

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                                      APP 174
                                                                                                                     fF

From:                                     Kyle L. Hall
Senti::                                   Wednesday, September 9, 2020 10:36 AM
lo:                                       Molly A. Burrows Schumacher (staff)
Sl.!lbject                                RE: touching base



That would've been the only place where I would've saw something, but like I said, nobody was in the hallways at that
time when I got back. I don't know about upstairs because there was no need for me to go up there since my room is on
the first floor.

Kyle


From: Mo!!y A. Btmm-vs Schum2cher (staff)
Sent: Tuesday, September 8, 2020 11:11 PM
To: Kyle L. Hall <Kyle.Hall@loras.edu>
Subject: Re: touching base

Thanks, Kyle! Knowing where we didn't see anything helps too. I appreciate the quick reply!

Molly

Sent from my iPhone



             On Sep 8, 2020, at 9:18 PM, Kyle L. Hall <!::_vl_::_Hall@loras.edu> wrote:



             When I vvalked in at that time, ! did no! see ,mythir.g suspicioL?s. There 1H2 s nobody e!se in the ha!!w2·;1s
             at that time. I went straight to my room, and did not see anything that would be of concern on my way
             there. Sorry that I can't help you out any more.

             From,
             l(yle L. Hall


             From: Molly A. Burrows Schumacher (staff)
             Sent: Tuesday, September 8, 2020 5:13 PM
             To: Kyle L. Hall <,,.yle.Hail(,@loras.e,. >
             Subje!:t: touching base

             Hi Kyle,

             I work with Campus Safety, and I'm reaching out today because I am investigating a report from this past
             weekend. A female student reported that on 9/6, around 4:20 a.m., and individual entered her
             apartment on the 1st f!ocr of Byrne Oaks and approached h~r individu2! roor.1 door, Doer D.

             I'm reaching out today because our fob access system indicates that you had entered the first floor of
             Byrne Oaks around 4:03 a.m. on that date, and I am wondering if you may have seen anyone on the
             floor around that time or anything of concern? If you noticed anything, we would appreciate any
             information you might be able to share to help us learn more about what happened. We know that
                                                                    1
                                                                                                        LORAS 0665

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 89 of 175
                                      APP 175
                                                                                                           ff
 from tirr:e to time, especia!!y at the beginning of the year, people sometimes get turned around in the
 building and attempt to enter a door that's not their own - so we're hoping that is what we find by
 searching further with those who may have been in the area at the time.

 Thanks so much,

 Molly
 Molly Burrows Schumacher
 Assistant Dean of Student.~
 I OR,\~ COi i F<,I
 1450 Alta Vista St
 Dubuque, IA 52001
 563.588.7137
 moljy.burrowsschymacher@loras.edu
 BF MORE BE LORAS




                                                     2
                                                                                       LORAS 0666

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                              APP 176
Interview with Respondent Kyle Hall -January 14, 2020, 4:30 p.m. via Zoom
                                                                                                                   GG
With Matthew Saylor and Molly Burrows Schumacher

Molly Burrows Schumacher and Matthew Saylor met with Kyle Hall via Zoom Meeting on Thursday, January 14, 2021, at
4:30 p.m. to discuss why he was found on video camera entering an apartment he did not live in on December 5, 2020, at
301 Byrne Oaks (Dubuque Police Case #2020007977). Hall's father was also present during the meeting, and a FERPA wavier
was on file prior to his participation.

Burrows Schumacher asked Hall what he was doing when he entered apartment 301 Byrne Oaks and found himself on
camera. Hall indicated that it was late when he got off work, around 11 or 12, and that he went to a friend's house at that
time. Hall indicated that after visiting his friend's house, he returned to Byrne Oaks and was on his phone and not paying
attention and approached the wrong apartment. Hall indicated that when he realized he was not in his apartment, he left.

When asked if he had entered an apartment that was not his own in any other instances, Hall indicated no. Burrows
Schumacher noted that the Dubuque Police Department was contacted in the situation on December 5, and asked what
was discussed with police. Hall noted that they discussed what he had just shared - that it was this one time when he had
been working, it was late, and he was not paying attention when he returned. Per Hall, the apartment involved is not
pressing charges at this time. Burrows Schumacher referenced that there had been other incidents of a similar nature at
Byrne Oaks, and Hall indicated he was not involved . Hall's father indicated that when the police spoke with Kyle, it seemed
as though police were trying to blame Kyle for other robberies and insinuated that he may have been involved with things
off campus, which Hall and his father indicate is not true.

Hall indicated that he was aware of the situation that occurred in the first apartment, as he knows the women who live
there. Hall then proceeded to share that around that same time, he saw someone walk into his apartment too but he did
not report it and provided the physical description of medium height - maybe a little taller. Hall indicated that he talked to
his roommates about it and they decided they would start locking their door. When asked if we should talk with his
roommates about this instance, Hall indicated that he was the only one home at the time and the others wouldn 't have
seen anything or have more information.

Saylor asked Hall to clarify his comments about accidentally walking into the third floor apartment. Saylor noted that Hall
lived on the first floor of Byrne Oaks and the incident occurred on the third floor of Byrne Oaks. Hall indicated again that
he had walked up to the apartment on accident out of habit and then left when he realized it was not his apartment.

Kyle Hall approved these summary notes on January 19, 2021, at 10:58 a.m.:

From: Kyle L. Hall <Kyle.Hall@loras.edu>
Sent: Tuesday, January 19, 202110:58 AM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: RE: For your review : Summary of Notes from Zoom Meeting

It is alright as written .

From,

Kyle Hall




                                                                                                 LORAS 0667

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                                      APP 177
                                                                                                                    HH

  -..cm~
         / LORAS COLLEGEN
            1450 J\ha Vista Dubuque. IJ\ 563.588.7100 www.lorss.edu




 December 5, 2020

 Kyle Hall
 103 Byrne Oaks
 Loras College
 1450 Alta Vista St
 Dubuque, 1A 52001

 Dear Kyle,

 Due to a report received by Campus Safety today, December 5, 2020, and video footage received
 a11eged1y showing you entering apartment 301 Byrne Oaks without permission, you are asked to
 depart campus immediately (no later than 5:00 p.m. today, December 5, 2020) and finish your
 semester via remote learning. If you are unable to remove all of your belongings prior to departure,
 you may schedule an appointment with Campus Safety to return to remove the remainder of your
 belongings at a later time. Campus Safety can be reached at 563.588.7100 to schedule a time to
 escort you to the building.

 This letter also serves to notify you that you are not permitted to be present on campus without
 express permission from Campus Safety while this matter is being further investigated. If you
 should be observed or be reported to have violated this restriction, the college may take judicial
 action, including involuntary suspension, and/or contact law enforcement to have you removed
 from the premises.

 If you have any questions or concerns regarding this matter, please feel free to contact me at
 \l<1U.:J.iw1 P\\ ·,,1..:h,1111.11.. li\·1 .,_,_ lur.i,, l'•.lu. Know that myself and/or Matthew Saylor will be in touch
 with you on Monday via email or phone to set up a time to meet via zoom to discuss this report
 with you.

 Best regards,

 Molly Burrows Schumacher
 Assistant Dean of Students
 Loras College
 Dubuque, TA 52001

 cc:      Art Sunleaf, Vice President for Student Development/Dean of Students
          Matthew Saylor, Assistant Director of Campus Safety
          Aiden Wojciehowski, Area Coordinator for Byrne Oaks
          Student File



                                                                                                 LORAS 0668

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                              APP 178
                                                                                                               I.I
Molly A. Burrows Schumacher {staff)

from:                                       Molly A. Burrows Schumacher (staff)
Sent:                                       Tuesday, December 15, 2020 11 :56 PM
Tc:                                         Rebecca A. Fabricius
s~~je«:t~                                   Re: voicemail follow-up



Sounds perfect! Thanks!

Sent from my iPhone



         On Dec 15, 2020, at 5:09 PM, Rebecca A. Fabricius <Rebecca.Fabricius@loras.edu> wrote:



         From one "I have to serve as the external brain for this entire family'' to another .. . how about whomever
         gets on Zoom first around 9:15 sends the other a link at that time?



         From: Molly A. Burrows Schumacher (staff)
         Sent: Tuesday, December 15, 2020 5:06 PM
         To: Rebecca A. Fabricius <Rebecca.Fabricius@loras.edu>
         Subject: RE: voicemail follow-up

         That sound:, perfect ! I usually have all the kids up and on their Zooms by 9:00 - but in case tomorrow is
         a bat tlefield lol 9 :15?

         Thanks!

         Molly Burrows Schumacher
         Assistant Dean of Students
            l URA~ lULLLul
            1450 Alta Vista St
         Dubuque, IA 52001
         molly.byrrowsschumacher@loras.edu
         BE MORE BE LORAS



         From: Rebecca A. Fabricius <             1 ,s(@loras.edu>

         Sent: Tuesday, December 15, 2020 4:28 PM
         To: Molly A. Burrows Schumacher (staff)< :Jlly.BurrowsSchumacher@loras.edu >
         Subject: RE: voicemail follow-up

            Would it be okay if I just called you when I'm Zoom-ready in the morning? What time is not too early? -
            Rebecca


            From: Molly A. Burrows Schumacher (staff)
            Sent: Tuesday, December 15, 2020 4:27 PM
            To: Rebecca A. Fabricius <=:a:......;....:.. ;:; L11(.,u:,(Qlloras.edu >
            Subject: RE: voicemail follow-up
                                                                              1
                                                                                                 LORAS 0669

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 93 of 175
                                      APP 179
                                                                                                    II
 Hi Rebecca,

 Thanks for reaching out! I'm having some trouble wit h my voicemail access at home right now, so I'm
 glad you emailed. I'm happy to give you a call or Zoom is f ine too. I'm free al l morning t omorrow and
 from 1:15 -1:45 - just let me know what works best for you.

 Also- in case you need it while we are figuring out voicemail - my mobile is 563 .543.1311 ·· Thanks!

 Molly

 Molly Burrows Schumacher
 Assistant Dean of Students

 1450 Alta Vista St
 Dubuque, IA 52001
 molly.burrowsschumacher@toras.edu
 BE MORE BE LORAS


 From: Rebecca A. Fabricius <R          , 1 Ii ,s@loras.edu>
 Sent: Tuesday, December 15, 2020 3:56 PM
 To: Molly A. Burrows Schumacher (staff)< ,olly.BurrowsSchumacher@toras.edu>
 Subject: voicemail follow-up

 Hi Molly,

 Hoping to connect with you on several matters regarding Spring student teachers/ student life
 interfaces. Is it best to schedule a Zoom? Book through Outlook calendar? Pick up the phone?

 I'm in the office tomorrow (Wednesday) afternoon with a window from 1:15 - 1:/\5, but could be
 available most of the morning as well from home. Thursday morning is also open, though I may be
 working from home.

 Please let me know what works best for you.

 Rebecca Fabricius




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                                                                                        LORAS 0670

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                              APP 180
                                                                                                                     T.I
Molly A. Burrows SduJ1m~cheir (staff}

From:                                   Molly A. Burrows Schumacher (staff)
§m1t:                                   Wednesday, December 16, 2020 4:34 PM
T@:                                     Rebecca A. Fabricius
Su10je,ct;                              Following up
ti'i1::t radu,r'ilenits:                DO I NEED TO ISOLATE OR QUARANTINE.docx



Thanks for chatting this morning- it was great to see you! Below you'll find the information we discussed - please let
me know if I missed anything or if you have any questions.

Fob Access
Please send the list of those student teaching to my email - I'll make sure we have them all activated as of January 1 for
access to their housing options.

Testing
I'm reaching out to Chris l<amm to see if we can add you to an existing test date the first week of January- if you could
send a number to be tested my way, that would be helpful. Free test options in Dubuque are available at:
b_t:!_psJ/_1N_1N_1N,dub_t1gt.1_Pcountyiowa.r,ov/565/FrP~ local COIJ.ID J~-l"~sti_nr: C1pti~n . Rides to the EPIC site are available by
calling: Schedule a free ride (at least 24 hours in advance) through the Regional Transportation Authority website:
https://www.rta8.orgh,erv1ces/tnpmaker.ctm. Epic's address is 1075 Cedar Cross Road. Bus pick up should be scheduled
15 minutes before appointment time. The bus will wait while you are tested and then return you to campus at no
charge.

Language around testing: ''The college is asking all campus community members to plan to be tested for COVID-19 prior
to the start of the spring semester. Individuals are welcome to be tested in their home community or in the Dubuque
community."

Per our conversation, test results will come to you and you will provide names, test date, and outcome to
I u I ni; 1y .i'.i urll (£:! iu1 <.1::..e,J u.


Behavior Restrictions
The expectations around student behavior are typically found at the end of the email ! send each week to the campus
community. Right now, they are:

       0      On campus, masks continue to be required in all public areas and in areas where 6 feet social distance is not
              possible. Governor l<im Reynolds has also issued a proclamation indicating that those 2 years of age and older
              must wear masks when inside areas open to the public where 6 feet social distance cannot be maintained.

       0      Additionally, per Governor Reynold's recent proclamation, which extends through December 16, 2020, those
              dining at dining services options will be limited to groups of 8 per table area. Utilizing available to-go options is
              highly encouraged.

       ~      Groups planning programming should consider using virtual or small group programming when possible. When
              programming, offer a Zoom or Teams option when possible for those who may not be able to attend programming
              due to quarantine or isolation protocols or risk status. Masks are required for all programs unless participants are
              eating or drinking. Per Governor Reynold's most recent proclamation, indoor gatherings are capped at 15
              participants, and outdoor events at 30 participants through December 16, 2020.




                                                                                                        LORAS 0671

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                                         APP 181
    <!)    Common area rec rooms will continue to operate at 50% capacity (capped at a maximum of 15 persons) at
           Beckman, Binz, and Rohlman Halls to help reduce the number of large group gathering areas and reduce contact
           with common surfaces . Virtual and outdoor programming will be emphasized, and no in hall solicitation will be
           permitted at this time. Additional use and deaning expectations have been posted for hall kitchens and laundry
           rooms. Non-Loras guests are not permitted in college housing at this time.

    o      Campus community members should continue to avoid social gatherings, including social gatherings with those
           you do not live with as well as gatherings at house parties and bars. If you have been diagnosed with COVID-19,
           are waiting for COVID-19 test results, or mav have been exposed to someone with COVID-19, you should not
           attend class, work, or any social gatherings. The Director of the CDC recently noted that even small group
           g;3_th~_rlnfil are resulting in community spread of COVID-19 at this time.

           As previously recommended, prioritize outdoor over indoor activities, stay within the local area when possible,
           practice 6 feet social distancing, wear a mask, wash hands after touching common and frequently used surfaces,
           and use a hand sanitizer with at least 60% alcohol.

           Students who host and/or attend unsafe gatherings, socials, or parties (on or off campus), as well as students who
           attend bars, risk contracting and/or spreading the virus to other community members. As a result, please know
           that students who are found attending hosting unsafe gatherings, socials, or parties (on or off campus), or
           attending bars mav be sent away from campus to continue their learninr. remotely and may not be permitted
           on campus for the duration ofterm/academic year.

    e      When necessary, designated athletic teams will cease operations (no practices, facility use, or locker room use)
           for a period of time to help reduce contact and slow virus activity. Coaches will be in contact with teams impacted
           by this mitigation strategy. Teams that have not been instructed to cease operations are permitted to maintain
           practices, squad scrimmages, and locker room use provided they are following Athletics COVID-19 plan,
           completing the daily screening processes required by the athletic training staff team, and testing as directed .

    s      Those who are at high risk for severe illness due to COVID-19 should follow recommendations from their health
           care provider, and should discuss any accommodations requests with their instructor or supervisor. For more
           information about groups who are at high-risk for severe illness, visit ;, tv ,:11111 11vv, .1_uc .go v;coru11J v1 1Lb /2019 -
           ncov/need-extra ·precautions/people-with-medical -conditions.html

Transition to Online Learning
There may be times when, to be proactive, the college may transition to online learning for a period of time. This transition
does not mean there is significant virus activity present on campus but rather that conditions exist in the surrounding
community that suggest any anticipated virus activity could be slowed by incorporating a period of online learning and
reducing close contact circumstances.


Quarantine
I'm attaching our updated quarantine handout for your convenience - this reflects the CDC's updated guidance on
quarantine. DCSD messaged out on 12/4 quarantine guidelines that matched this CDC update.

Thanks!

fvlolly
Molly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001

                                                                    2
                                                                                                          LORAS 0672

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                                        APP 182
                                                                         I.I.
molly.burrowsschumacher@I oras.e du
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                                                               LORAS 0673

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                                    APP 183
                                                                                         :LI
Molly A. Bun"rows Schumacher (5t~ff)

from:                               Rebecca A. Fabricius
Sent                                Wednesday, December 16, 2020 9:14 AM
'Io:                                Molly A. Burrows Schumacher (staff)
Subject:                            Zoom invite



I'm on! !1ttps://zoom.us/j/97464961018 ?pwd=aHN Lb2g4YWVkTXR4QW JpcOhGSONEdz09

Topics:
    1.    Housing dates
    2.    Testing thoughts
    3.    Covid conduct policy
    4.    Criminal reporting
    5.    How early is not too early for wine




                                                                                 LORAS 0674

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                                       APP 184
                                                                                                            JJ
Molly A. Burrows Schumacher (staff)

                                Matthew E. Saylor
Se n'J::                        Thursday, December 17, 2020 1:59 PM
To:                             Molly A. Burrows Schumacher (staff); Arthur W. Sunleaf
§.A~je~l>:                      Call DP LT



Molly and Art,

I received a cal! from a Dubuque Police LT that stated the TH contacted them about an incident from BO. He stated that
it sounded like it was started via Rachel Swift. He said we were working together on the incident and I gave him more
information on what happened, what we did initially, and what we did since. He believes that the TH may try contacting
us about the incident too, so just wanted to make sure you were aware. Please let me know if you have any questions.

Thank you,

                     Matthew Saylor
                     Assistant Director of Campus Safety
                      I OkAS COi i FOr
                     1450 Alta Vista St
                     Dubuque. IA 52001
                     563.588.7100 I 800.245.6727
                     matthew saylor@loras edu
                                   r: LOR
                      L I) • L;.'l ll




                                                                                           LORAS 0675

           Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 99 of 175
                                         APP 185
From:                            Arthur W. Sunlcaf
Sent                             Thursday, December 17, 2020 2:36 PM
To:                              Molly A. Burrows Schumacher (staff); Matthew E. Saylor
Subject                          FW: Call DP LT



FYI

Dr. A.W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 5200 I
# Loras Together


f-ra~: 8obb1 Ear!es <Bobbi.E2r!es@loras.edu>
Sent: Thursday, December 17, 2020 2:21 PM
To: Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>; Robert Waterbury <Robert.Waterbury@loras.edu>
Cc: Jim Collins <Jim.Collins@loras.edu>
Subject: RE: Call DP LT




We appreciate the context and information below. You certainly can refer them to us, it would be my recommendation
that we keep our comments limited to, "yes we are working with law enforcement, but are unable to comment on
details due to the ongoing investigation and FERPA." Jim, if you would like this handled differently, just let me know.

Thanks,
Bobbi



From: /\rthur \.IV. Sunle3f
Sent: Thursday, December 17, 2020 2:09 PM
To: Bobbi Earles <Bobbi.Ear!es@loras .edu>; Robert Waterbury <Robert.Waterbury@loras .edu>
Cc: Jim Collins <Jim.Co!lins@loras.edu>
Subject: FW: Call DP LT

Bobbi and Robert,

Should the TH contact you, due to Family Right to Privacy (FERPA) we are unable to comment other than ,w
are aware of the situation and working with local law enforcement.


For context. we had four incidents over the past semester of someone walking into unlocked, but occupied
apartments. Recently we identify the person. It was reported to the police and ,ve are workmg together on it.

Let me know if you have questions.

Art
                                                            1
                                                                                             LORAS 0676

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                                    APP 186
                                                                                                           l<k
Dr. A.W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 5200 I
# LorasTogether

From: Matthew E. Saylor <Matthew.Saylor@loras.edu>
Sent: Thursday, December 17, 2020 1:59 PM
To: Molly A. Burrows Schumacher (staff) < .. lolly.BurrowsSchumacher@loras.edt >; Arthur W. Sunleaf

Subject: Ca!! DP LT

Molly and Art,

I received a call from a Dubuque Police LT that stated the TH contacted them about an incident from BO. He stated that
it sounded like it was started via Rachel Swift. He said we were working together on the incident and I gave him more
information on what happened, what we did initially, and what we did since. He believes that the TH may try contacting
us about the incident too, so just wanted to make sure you were aware. Please let me know if you have any questions.

Thank you,

                      Matthew Saylor
                      Assistant Director of Campus Safety

                      1450 Alta Vista St
                      Dubuque, IA 52001
                      563.588.71001800.245.6727
                      matthew.saylor@loras .edu
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                                                                                           LORAS 0677

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 101 of 175
                                   APP 187
                                                                                                                    LL
Molly A. Burrows Schumachell" (staff}

From:                             Molly A. Burrows Schumacher (staff)
Ssmt:                             Thursday, December 17, 2020 5:04 PM
To:                               Arthur W. Sun leaf
Ct:                               Nancy Z. Fett
Subject                           RE: Title IX Complaint



Soundsgood. Thank you

Molly Burrows Schumacher
Assistant Dean of Students
             JU Llil
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.ed• I
BE MORE BE LORAS



from: Arthur W. Sun!eaf <Arthur.Sunleaf@loras.edu>
Sent: Thursday, December 17, 2020 4:56 PM
To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
(:c: Nancy Z. Fett <Nancy.Fett@loras.edu>
Subject: Re: Title IX Complaint

We should involve Rich. Let's give him a call tomorrow.

Dr. A. W. Sunleaf
Vice President for Student Development & Dean of Students
Loras College




        On Dec 17, 2020, at 4:39 PM, Molly A. Burrows Schumacher (staff)
        < ., c,l,•, . :,u11u,,:,:0L1 ·1u1; 1JLl1c1 l'' 1,1ra:..t. > wrote:



         Hi Nancy,

        Art- could you also please weigh in for Nancy's reply? And should we have Rich send the reply or is it
        ok to proceed?

        At this time, we are cooperating with the Dubuque Police Department on their investigation, and have
        initiated the student conduct process for Title IX complaints as described in our online at
        https://www.loras.edu/ca mpus-life/health-and-safetv/title-ix-resources-and-reporting/ to investigate
        Kyle Hall' s possible involvement in the incident in Rachel' s apartment earlier this fall. You can also share
        that I sent a message to Rachael via email today, as it relates to the off-campus/law enforcement
        process, to let her know that Officer Brianna Marzette is the Officer working with the case, and Marzette
        has indicated that she would like to talk with Rachael if she is willing to do so. Marzette requested I
        gather contact information and let her know the best way to reach Rachael at this time.


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                                                                                                 LORAS 0678

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 102 of 175
                                   APP 188
                                                                                                                LL
 As it relates to our on campus process, we are in the process of obtaining information from the
 Respondent at this time. Once we have this information, we may have additional questions for Rachael
 based on what w e learn . Once that investigation is completed, the case information will be shared with
 the College Hearing Board, who hears all cases of this nature on our campus. The Hearing Board will
 work with all involved parties to prepare for this process. The Board then reviews the information
 available and determines the outcome of the case. All Title IX cases may include sanctions up through
 suspension or expulsion .

 In answer to the question about adding Kyle Hall to Rachael's complaint- I added Kyle Hall via a case
 note on Ra!ch3e:I'<. C.'F.•' cm 12/7/20. I sent the following update to Rachel the next morning:

          Hello Rachael,

          I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera
          entering an apartment at Byrne Oaks. Law enforcement was notified, and in that process, the
          suspect (a Loras student), admitted to entering at least 2 apartments over the course of this
          semester. This individual has been removed from campus and is not permitted to return. The
          College will be working with law enforcement and providing information about the break-in at
          your campus apartment to be considered as they continue to investigate this case. Additionally,
          your information will be included in our on-campus investigation process so that the individual can
          be held accountable both on campus and off

          We've reached out to the police officer who is working with the case to find the best way for you
          to connect if you would like to talk further with law enforcement about the incident at your
          apartment. Once we receive a reply, we will relay this information to you. For the on-campus
          investigation, you can report any additional information to either Matthew Saylor or myself to be
          included in the College's process. We will continue to provide updates for you as additional
          information becomes available and the process moves forward.

          Thank you for your patience as we investigated these incidents, and please do not hesitate to reach
          out if you have any questions. I've contacted you directly as the filed reports name you as the
          reporting student. If you would like me to also notify the women you were living with in apartment
          101 at the time of the incident, please do let me know and I will do so.

          Thank you,

          Molly

  Rat.haei reached out to Nancy on 12/9/20 to have Hall added to the r eport, but we had already done so.

 Thanks

  Molly

 Molly Burrows Schumacher
 Assistant Dean of Students

  1450 Alta Vista St
  Dubuque, IA 52001
  rnolly.t.iurrowsschumacher@loras.edu
  UL ~ORE BE LORAS



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                                                                                         LORAS 0679

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 103 of 175
                              APP 189
                                                                                                    LL
 From: Nancy Z. Fett<_ · _              :LJ>
 Sent: Thursday, December 17, 2020 3:54 PM
 To: Molly A. Burrows Schumacher (staff)<    lly.BurrowsSchumacher@loras.edu>
 Subject: FW: Title IX Complaint
 Importance: High




 Fyi, how should I respond?

 Sent from my U.S.Cellular© Smartphone




 -------- Original message --------
 From: Bradley Levison c , , J It I ·., vers.com>
 Date: 12/17/20 3:08 PM (GMT-06:00)
 To: "Nancy Z. Fett"<       _, [ -:ti u 11..11as.edu>
 Cc: "Rachael N. Swift" <'{achael.Swift ,i:loras.t:du>
 Subject: Title IX Complaint

  Nancy,

 Per my message I represent Rachael Swift and I am following up on the status of the Title IX complaint
 she filed in September 2020. As you know, the student (l<yle Hall) that broke into Rachael's apartment
 was caught and now that we know his identity Rachael wanted to add the student to her compiaint. I
 would appreciate an update on the status of Raechel's Title IX complaint. Rachael is copied on this
 email.

  You may reach me at 312.819.6360.

 Thank you.

  Brad

  <image002.jpg>
  Bradley Levison
  Herschman Levison Hobfoll PLLC
  401 S. LaSalle Street, Suite 1302G
  Chicago, Illinois 60605
  0: 312.870.5800
  F: 312.786.5921
  D: 312.819.6360
  brad@hlhlawyers.com
  www .hlhlawyers.com




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                                                                                      LORAS 0680

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 104 of 175
                              APP 190
                                                                                                              NM
Mo~~y A. IBmTows Schumacher (staff)

From:                             Molly A. Burrows Schumacher (staff)
Sent                              Thursday, December 17, 2020 3:23 PM
To:                               Rachael N. Swift
Subject                           RE: following up on your previous report



Hello Rachel,

I've connected with Officer Brianna Marzette at the Dubuque Police Department. She has indicated that if you would
like to speak with her about the investigation and/or your case, if you could provide the best way to contact you ( email.
phone and number, etc .), she will contact you . If you'd like her to reach out to you, could you please provide the best
way to do so at this time?

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumach~r@>loras.edu
BE MORE BE LORAS



From: Molly r,... Burrows Schumacher (staff)
Sent: Tuesday, December 8, 2020 11:13 AM
To: Rachael N. Swift <Rachael.Swift@loras .edu>
Subject: following up on your previous report

Hello Rachael,

I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera entering an apartment at
Byrne Oaks . Law enforcement was notified, and in that process, the suspect (a Loras student), admitted to entering at
least 2 apartments over the course of this semester. This individual has been removed from campus and is not permitted
to return . The College will be working with law enforcement and providing information about the break-in at your campus
apartment to be cons idered as they continue to investigate this case. Additionally, your information will be included in
our on -campus investigation process so that the ind ividual can be held accountable both on campus and off.

We've reached out to the police officer who is working with the case to find the best way for you to connect if you would
like to talk further with law enforcement about the incident at your apartment. Once we receive a reply, we will relay this
information to you. For the on-campus investigation, you can report any additional information to either Matthew Saylor
or myself to be included in the College's process . We will continue to provide updates for you as additional information
becomes available and the process moves forward.

Thank you for your patience as we investigated these incidents, and please do not hesitate to reach out if you have any
questions . I've contacted you directly as the filed reports name you as the reporting student. If you would like me t o a!so



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                                                                                                LORAS 0681

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 105 of 175
                                    APP 191
notify the women you were living with in apartment 101 at the time of the incident, please do let me know and ! will do
so.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001
mollv.burrowsschumac:her@loras.edu
BE MORE BE LORAS




                                                           2
                                                                                            LORAS 0682

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 106 of 175
                                   APP 192
Molly A. Burrows Schumacher (staff)

From:                                   Molly A. Burrows Schumacher (staff)
Sent                                    Friday, December 18, 2020 10:40 AM
To:                                     Richard K. Whitty
Cc:                                     Arthur W. Sunleaf
Subject                                 FW: Title IX Complaint


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                                                                                                      LORAS 0683

          Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 107 of 175
                                        APP 193
                                                                                                           NN


_.._
 Hef to Rachael,

 I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera entering an
 apartment at Byrne Oaks. Law enforcement was notified, and in that process, the suspect (a Loras student},
 admitted to entering at least 2 apartments over the course of this semester. This individual has been removed
 from campus and is not permitted to return. The College wi/1 be working with law enforcement and providing
 information about the break-in at your campus apartment to be considered as they continue to investigate this
 case. Additionally, your information will be included in our on-campus investigation process so that the individual
 can be held accountable both on campus and off

 We've reached out to the police officer who is working with the case to find the best way for you to connect if you
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 either Matthew Saylor or myself to be included in the College's process. We will continue to provide updates for
 you as additional information becomes available and the process moves forward.

 Thank you for your patience as we investigated these incidents, and please do not hesitate to reach out if you have
 any questions. I've contacted you directly as the filed reports name you as the reporting student. If you would like
 me to also notify the women you were living with in apartment 101 at the time of the incident, please do let me
 know and I will do so.

  Thank you,

  Molly




 From: Bradley Levison< r I I hl 1 I -. vcrs.com>
 Date: 12/17/20 3:08 PM (GMT-06:00)
 To: "Nancy Z. Fett"< '" l • • ..:ii .i 1111.1s.edu>
 Cc: "Rachael N. Swift" < ·~ achael.Swif\(@loras.edu>
 Subject: Title IX Complaint

  Nancy,

                                                      2
                                                                                        LORAS 0684

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 108 of 175
                              APP 194
  Per my message I represent Rachael Swift and I am following up on the status of the Title IX complaint she filed
  in September 2020. As you know, the student (Kyle Hall) that broke into Rachael's apartment was caught and
  now that we know his identity Rachael wanted to add the student to her complaint. I would appreciate an
  update on the status of Raechel's Title IX complaint. Rachael is copied on this email.

  You may reach me at 312.819.6360.

  Thank you.

  Brad

  <image002.jpg>
  Bradley Levison
  Herschman Levison Hobfo!I PLLC
  401 S. LaSalle Street, Suite 1302G
  Chicago, Illinois 60605
  0: 312.870.5800
  F: 312.786.5921
  D: 312.819.6360
  brad(alhlhlawyers.com
  www.hlhlawyers.com



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                                                                                        LORAS 0685

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 109 of 175
                              APP 195
--
M olly Burrows Schumacher
Assistant Deon of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORAS


Frnrn: Nancy Z. Fett <Nancy.Fett@loras.edu>
§ent: Thursday, December 17, 2020 5:08 PM
To: Molly A. Burrows Schumacher {staff) <Molly.BurrowsSchumacher@loras.edu>; Arthur W. Sunleaf
<Arthur.Sunleaf@loras.edu>
Cc: Nancy Z. Fett <Nancy.Fett@loras.edu>
Subject: RE: Title IX Complaint

Thank you



Sent from my LS.Cellular© Smartphone




-------- Original message --------
From: "Molly A Burrows Schumacher (staff)" <'yiolly.BurrowsSchumachcrr,,{loras.edu>
Date: 12/17/20 5:03 PM (GMT-06:00)
To: "Arthur W. Sunleaf' <,\rthu1 ,u. ,.cafialoras.edu>
Cc: "Nancy Z. Fett" <Nancv.Fett@loras.edu>
Subject: RE: Title IX Complaint

Soundsgood. Thankyou

Molly Burrows Schumacher
Assistant Dean of Student~

1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
RF MnPr BE LORA;:-


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                                                                                      LORAS 0686

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 110 of 175
                                   APP 196
                                                                                                               NN
Frnm: Arthur W. Sun leaf< ' · 'I r ~u r f    l2''
                                            r as.edu>

Se11t: Thursday, December 17, 2020 4:56 PM
To: Molly A. Burrows Schumacher (staff) <\-1olly.BurrowsSchumacher@loras.edu>
Cc: Nancy Z. Fett <'~~nc;y.f ~_tt@loras.ec:~J >
Subject: Re: Tit!e IX Complaint

We should involve Rich. Let's give him a call tomorrow.

Dr. A. W. Sunleaf
Vice President for Student Development & Dean of Students
Loras College




        On Dec 17, 2020, at 4:39 PM, Molly A. Burrows Schumacher (staff)
        <Molly.Burro,\     ,., , ,cher@k, ~ , 1 .> wrote:



         Hi Nancy,

         Art - could you also please weigh in for Nancy's reply? And should we have Rich send the reply or is it
         ok to proceed?

         I sent the following update to Rachel the next morning:

                  Hello Rachael,

                 I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera
                 entering an apartment at Byrne Oaks. Law enforcement was notified, and in that process, the
                 suspect (a Loras student}, admitted to entering at least 2 apartments over the course of this
                 semester. This individual has been removed from campus and is not permitted to return. The
                 College will be working with law enforcement and providing information about the break-in at
                 your campus apartment to be considered as they continue to investigate this case. Additionally,
                 your information will be included in our on-campus investigation process so that the individual can
                 be held accountable both on campus and off

                  We've reached out to the police officer who is working with the case to find the best way for you
                  to connect if )/OU tvould like to talk further with law enforcement about the incident at your
                  apartment. Once we receive a reply, we will relay this information to you. For the on-campus
                  investigation, you can report any additional information to either Matthew Saylor or myself to be
                  included in the College's process. We will continue to provide updates for you as additional
                  information becomes available and the process moves forward.

                  Thank you for vour patience as we investigated these incidents, and please do not hesitate to reach
                  out if you have any questions. I've contacted you directly as the filed reports name you as the
                  reporting student. If you would like me to also notify the women you were living with in apartment
                  101 at the time of the incident, please do let me know and I will do so.

                  Thank you,

                  Molly

                                                              5
                                                                                                 LORAS 0687

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 111 of 175
                                   APP 197
 Rachael reached out to Nancy on 12/9/20 to have Hall added to the report, but we had already done so.

 Thanks

 Molly

 Molly Burrows Schumacher
 Assistant Dean of Students

 1450 Alta Vista St
 Dubuque, IA 52001
 molly.burrowsschumacher@loras.edu
 :JE MORE . - LORA$


 From: Nancy Z. Fett <Nanfy Fe_tt@IQr;is,-d• >
 Sent: Thursday, December 17, 2020 3:54 PM
 To: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
 Subject: FW: Tit!e IX Complaint
 lmport:am::e: High




 Fyi, how should I respond?

 Sent fro1i1 my U.S.Cellular© Smanphone




 -------- Original message --------
 From: Bradley Levison< , , , 1·1hl: \n'ers.com>
                                          1


 Date: 12/17/20 3:08 PM(GMT-06:00)
 To: "Nancy Z. Fett" <··~ancv Fcltf@loras.edu>
 Cc: "Rachael N. Swift" <RachacLSwitlraUoras.edu>
 Subject: Title LX Complaint

 Nancy,

 Per my message I represent Rachael Swift and I am following up on the status of the Title IX complaint
 she filed in September 2020. As you know, the student (Kyle Hall) that broke into Rachael's apartment
 was caught and now that we know his identity Rachael wanted to add the student to her complaint. I
 would appreciate an update on the status of Raechel's Title IX complaint. Rachael is copied on this
 email.

 You may reach me at 312.819.6360.

 Thank you.

 Brad

 <image002.jpg>

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                                                                                      LORAS 0688

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 112 of 175
                              APP 198
 Bradley Levison
                                                                  NN
 Herschman Levison Hobfoll PLLC
 401 S. LaSalle Street, Suite 1302G
 Chicago, Illinois 60605
 0: 312.870.5800
 F: 312.786.5921
 D: 312.819.6360
 brad@hlhlawyl r:, .com
 www.hlhlawyers.com




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                                                         LORAS 0689

Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 113 of 175
                              APP 199
Molly A. Eh.mrows Schumacher (staff)
                                                                                                              oo
From:                            Molly A. Burrows Schumacher (staff)
Seait:                           Tuesday, December 22, 2020 3:50 PM
To:                              David M. Salyer
(«::                             Arthur W. Sunleaf
Subject                          touching base



Hello David,

Art Sunleaf asked me to reach out today regarding the student teaching placement for Rachael Swift. It is our
understanding that Rachael may be seeking to student teach outside the Dubuque area . If there's anything the College
can do to help honor/grant any placement request Rachael has submitted, it would be extremely helpful. Please let us
know if there's anything we can do to be of help.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly.bu, rowsschumacher@loras.edu
BE MORE BE LORAS




                                                                                            LORAS 0690

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 114 of 175
                                   APP 200
                                                                                                                    Pf
Molly A. Burrows Sdhumacher (staff)
From:                              Rebecca A. Fabricius
Sent:                              Wednesday, December 23, 2020 11 :23 AM
l o:                               David M. Salyer
Ct:                                Molly A. Burrows Schumacher (staff); Arthur W. Sunleaf
SMl2je1.:t:                        RE: touching base



Hi David (Molly, Art),

Yes, after reaching out to Rachael via Zoom last week I had a strong sense that an out-of-area placement would be in
mutual best interest. I worked with her and school districts near her extensively on Friday, through the weekend, and
Monday to prepare the necessary materials and continue check-ins.

I'm happy to share that late yesterday afternoon the Arlington Heights district offered her a student teaching placement
in l<indergarten. She has confi rmed with me by email that she is scheduling fingerprints per their requirements, so
should be able to transition to the changed placement fairly quickly.

A next step will be to identify and secure a College Supervisor in the area. I'll speak with the Principal as a first step, but
schools in that district closed on Dec . 18 t h so I'll take that up when (i f ?) they re-open in January.

The student teaching placement process is quite different in suburban Chicago school districts (deadline for requests
was last March), so it's exceedingly rare that there was a slot available and a Cooperating Teacher willing to host her at
this date. I'm happy this seems to have worked out for all.

Wishing each of you the happiest, most email-free holiday break ever!

Rebecca Fabricius


from: David M. Sa!yer
Sent: Wednesday, December 23, 2020 10:56 AM
To: Rebecca A. Fabricius <Rebecca.Fabricius@loras.edu>
Subject: FW: touching base

Hi Rebecca,

Forwarding to you an email fr om Molly. The college is w illing to help IJ'Jith Rachael's out-of-area placement (and perhaps
Molly raised this w ith you al ready). Thanks.

David

David M. Salyer, Ph.D.
Director of Teacher Education




From: Molly A. Burrows Schumacher (staff)
Sent: Tuesday, December 22, 2020 3:50 PM
To: David M. Salyer <~iavid.Salyer@lorr". du >
                                                               1
                                                                                                   LORAS 0691

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 115 of 175
                                      APP 201
                                                                                                                 pp
Cc: Arthur W. Sun leaf <Arthur.Sunleaf@loras .edu>
Subject: touching base

Hello David,

Art Sun leaf asked me to reach out today regarding the student teaching placement for Rachael Swift. It is our
understanding that Rachael may be seeking to student teach outside the Dubuque area. If there's anything the College
can do to help honor/grant any p!acement request Rachael has submitted, it would be extremely helpful. Please let us
know if there's anything we can do to be of help.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I n1
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BE LORM;




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                                                                                              LORAS 0692

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 116 of 175
                                     APP 202
                                                                                                                   QQ
Molly A. Surrrows Schumacher (staff)

!=rnm :                            Rebecca A. Fabricius
Sent:                              Monday, January 4, 2021 3:41 PM
To:                                Arthur W. Sunleaf
((:                                David M. Salyer; Molly A. Burrows Schumacher (staff)
SIU~jr.,d:                         RE: touching base

Importance:                        High



Hello Art,

Reaching out again to touch base with you on progress in securing an out-of-area student teaching placement for
Rachael Swift, per thread below. Because Rachael did not undergo the traditional Out-of-Area application process, the
general procedures are being pursued somewhat in reverse. I have requested from Tom Kruse expedited
approval/signature for a standard contract with the Arlington Heights district. While corresponding with Carrie Jones
this aft ernoon to assess the traditional out-of-area placement fee, I learned that Rachael is not currently registered for
Spring classes. Carrie reports t hat "She has a very large outstanding balance that needs to be paid before she's
cleared to register." Rachael is also completing the school district's required paperwork (background check,
physical, etc.). At the invitation of the Cooperating Teacher, Rachael has already been to the site today to
meet the class and observe.


Given current deficiencies in the following elements :
          1. College and District signed contract
          2. Student registered for Spring '21 classes

I have some uncertaint y regarding the legal status of the student and the legitimacy of the student teach ing
placement.


As Dean of Students, your assistance is requested to assist in resolving Rachael's enrollment/ registration
status so that this placement can be confirmed and starting/ending dates established.

Rebecca Fabricius


From: Arthur W. Sunleaf
Sent: Thur sday, December 24, 2020 12:52 PM
To: Rebecca A. Fabricius <Rebecca.Fabricius@loras.edu>; David M. Salyer <David.Salyer@loras .edu>
Cc: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: RE: touching base

Thank. you all , tor your help and attention to this matk1

Happy holidays to you and yours '

Art

Dr. A.W. Sunleaf
Vice President for Student DcvelopmenVDean of Students
                                                              1
                                                                                                 LORAS 0693

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 117 of 175
                                    APP 203
Loras College
                                                                                                                     QQ
Dubuque, IA 5200 I
# LorasTogether

From: Rebecca A. Fabricius <~ebecca.Fabricius@loras.edu>
Sent: Wednesday, December 23, 202011:23 AM
To: David M. Salyer< )av1d .Salyer@loras.edu>
Cc: Molly A. Burrows Schumacher (staff)< ' 1ollv.BurrowsSchumacher@loras.ed1 >; Arthur W. Sun leaf
                    u! d'l.ellu>

Subject: RE: touching base

Hi David (Molly, Art),

Yes, after reaching out to Rachael via Zoom last week I had a strong sense that an out-of-area placement would be in
mutual best interest. I worked with her and school districts near her extensively on Friday, through the weekend, and
Monday to prepare the necessary materials and continue check-ins.

I'm happy to share that late yesterday afternoon the Arlington Heights district offered her a student teaching placement
in l<indergarten. She has confirmed with me by email that she is scheduling fingerprints per their requirements, so
should be able to transition to the changed placement fairly quickly.

P.. next step will be to identify and secure a College Super1isor in the area. !'II speak with the Principal as a first step, but
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The student teaching placement process is quite different in suburban Chicago school districts (deadline for requests
was last March), so it's e)(ceedingly rare that there was a slot available and a Cooperating Teacher willing to host her at
this date. I'm happy this seems to have worked out for all.

Wishing each of you the happiest, most email-free holiday break ever!

Rebecca Fabricius


From: David M. Salyer
Sent: Wednesday, December 23, 2020 10:56 AM
To: Rebecca A. Fabricius < il~C<~a.i:di.Jnuu~tu.,loras.edu>
Si.,bject: FW: touching base

Hi Rebecca,

Forwarding to you an email from Molly. The college is willing to help with Rachael's out-of-area placement (and perhaps
Molly raised this with you already). Thanks.

David

David M . Salyer, Ph.D.
Director of Teacher Education




                                                                                                    LORAS 0694

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 118 of 175
                                   APP 204
From: Molly A. Burrows Schumacher (staff)
                                                                                                            QQ
Sent: Tuesday, December 22, 2020 3:50 PM
To: David M. Salyer <_1avrd.Salver@ ,,   du>
Cc: Arthur W. Sunleaf <Arthur.Sunleaf@loras.edu>
Subject: touching base

Hello David,

Art Sun leaf asked me to reach out today regarding the student teaching placement for Rachael Swift. It is our
understanding that Rachael may be seeking to student teach outside the Dubuque area. If there's anything the College
can do to help honor/grant any placement request Rachael has submitted, it would be extremely helpful. Please let us
know if there's anything we can do to be of help.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
mglly.byrroww;humacher@loras.edu
R[ MORE BE LORAS




                                                          3
                                                                                           LORAS 0695

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 119 of 175
                                   APP 205
From:                              Molly A. Burrows Schumacher (staff)
Sent                               Monday, January 4, 2021 5:22 PM
lo:                                Carrie E. Jones
SUJbjed:                           Credit - Rachael Swift



Hi Carrie

I was just talking with Art ... with Rachael Swift moving back home very early in the semester Fall 2020, we'd like to credit
that Byrne Oaks charge back to her account. Is this something you would need us to do or that you would do on you r
end? Thanks!

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I ORA~ COi .i .l-"G(·
1450 Alta Vista St
Dubuque, IA 52001
molly. bur rowsschumacher@loras.edu
            BE LORAS




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                                                                                                  LORAS 0696

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 120 of 175
                                     APP 206
                                                                                                           RR
!From:                            Molly A. Burrows Schumacher (staff)
Sent                              Tuesday, January 5, 2021 11:55 AM
To:                               Rachael N. Swift
Subject                           checking in - housing for spring



Hi Rachael,


I hope this email finds you we!!. As we finalized spring housing placements, I noticed we have a housing placement and
meal plan on record for you for the spring semester. If I understand correctly, you may be student teaching at home this
semester so I wanted to reach out and see if you would like me to cance! that housing placement and meal plan for you?
If you could confirm if you would like me to cancel these items, I'll make sure they are removed from your spring bill
asap. If you would choose to cancel, please know you can add these back on at any time if you wish - we would not be
asking your roommates to fill any vacancies and dining plans can be added at any time. I'll wait for your guidance on
how to proceed.

/\dditional!y, bec.:use you spe!:! most of the fell semester away frorr: campus at home, ! removed your housing charge::
for Fall 2020 from your student account. That update should now be reflected on your student account. You may not
receive a new billing statement, but would see this change reflected under "activity".

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
LURAS LULLU.1t
1450 Alta Vista St
Dubuque, IA 52001
molly burrowsschumacher@loras.edu
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                                                                                              LORAS 0697

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 121 of 175
                                     APP 207
                                                                                                               RR
frnm:                              Molly A. Burrows Schumacher (staff)
Sc:rvt:                            Tuesday, January 5, 2021 11 :37 AM
To:                                Carrie E. Jones
Subjet\t:                          Swift



Hi! I took off the fall housing for Rachael Swift- l1 m going to check in with her before I cancel spring. Thanks!

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
rnolly .burrowsschumacher@lor as.edu
BE MORE BE LORAS




                                                                                                  LORAS 0698

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 122 of 175
                                   APP 208
                                                                                                        RR
From:                                Molly A. Burrows Schumacher (staff)
Sent:                                Tuesday, January 5, 2021 11 :56 AM
To:                                  Arthur W. Sunleaf
Subject                              FW: checking in - housing for spring



Just FYI on the communication I sent to Rachael Swift re: housing and meals for spring. Fall cha rges have been removed
and Carrie indicates this is reflected on the account.

Thanks!

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I OR-'\S ("1
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MORE BEL



r-roi~: ~-!!o!!y /1.. Burrows Schumacher (staff)
Serit: Tuesday, January S, 202111:55 AM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: checking in - housing for spring

Hi Rachael,

! hope th1s email finds you we!!. As we finali,ed spring housing p!acements, I noticed we have a housing pbcement 3nd
meal plan on record for you for the spring semester. If I understand correctly, you may be student teaching at home this
semester so I wanted to reach out and see if you would like me to cancel that housing placement and meal plan for you?
If you could confirm if you would like me to cancel these items, I'll make sure they are removed from your spring bill
asap. If you would choose to cancel, please know you can add these back on at any time if you wish -we would not be
asking your roommates to fill any vacancies and dining plans can be added at any time. I'll wait for your guidance on
hovv to proceed.

Additionally, because you spent most of the fall semester away from campus at home, I removed your housing charges
for Fall 2020 from your student account. That update should now be reflected on your student account. You may not
receive a new billing statement, but would see this change reflected under "activity" _

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
                                                               1
                                                                                             LORAS 0699

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 123 of 175
                                    APP 209
molly.burrowsschumacher@loras d
                                                                          RR
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                                                              LORAS 0700

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                                   APP 210
                                                                                                                   ss
from:                                              Katie Keleher-Garfoot
Sent                                               Tuesday, December 29, 2020 10:21 AM
To:                                                Molly A. Burrows Schumacher (staff)
Subject                                            FW: Incident




from : Rachael N. Swift <Rachael.Swift@loras.edu>
Sent: Tuesday, September 8, 2020 10:57 AM
To: Katie l(eleher-Garfoot <l<atie.l<eleher-Garfoot@loras.edu>
Subject: RE: Incident

Thank You ! See you there.


From: Katie Keleher-Garfoot <KZi' i• Keleher-Garfoot@loras .edu>
Sent: Tuesday, September 8, 2020 10:23 AM
To: Rach a el N. Swift<~ ,,_h :'.n !1. .:,,, 1, L1,_. !r; , .,_, .t·_: u>
Subject: RE: Incident

I was able to reserve 554 in the ACC - it's just down the hall from the Campus Life Center. I will go down a little bit
before 1 to have the door open so I will meet you there! I'll try to go out in the hallway as well so you can see me!

Katie K.


From: Rachael N. Swift<:'. c1 chael.Swift@loras.edu>
Sent: Tuesday, September 8, 2020 10:11 AM
To: Katie l<eleher-Garfoot <;\atie.Keleher -Garfoot@loras .edu >
Subject: RE: Incident

Hi Katie,

1:00 works for me and my mom. Should we meet in your office and walk to the conference room together?

Thanks,
Rachael


From: Katie l(eleher-Garfoot < Katie.Keleher-Garfoot@loras .edu>
Sent: Tuesday, September 8, 2020 10:01 AM
To: Rachael N. Swift <,'.1r h;iPI.Swift@loras.edu>
Subject: RE: Incident

Hi Rachael,

I should be able to meet at 1pm today. Let me check to make sure a conference room is available today, I will get back to
you soon to confirm!




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                                                                                                  LORAS 0701

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                                      APP 211
I am also about to send a message to you and your roommates - you r keys are ready so I'll be taking them down to Info
shortly!

Katie K.


From: Rachael N. Swift< ' achael.Swift@loras.edu>
Sent: Monday, September 7, 2020 10:07 PM
To: Katie l<eleher-Garfoot < ~tJe.i\elehd-Gartoot@loras .edu>
Subject: RE: Incident

Hello Katie,

I would like to meet in person. My mom and I would like to ta lk about what happened and what else can be done to the
apartment to make me and my roommates feel safer. She will only be in till tomorrow, so if we can meet that would be
great. We can meet between 11:00-3:00.

Thank you,
Rachael Swift


From: Katie l<eleher-Garfoot <Katie.Keleher-Gartoot@loras .edu>
Sent: Monday, September 7, 2020 8:58AM
To: Rachael N. Swift <R     h •I. Swift@loras.edu>
S!..!bject: !ncident

Hi Rachael,

I was just made aware of a situation in your apartment this weekend. Would you like to meet to discuss? I'm happy to
talk with you about this. Would you like to meet in person or virtual? If you'd like to meet in person, just let me know
:md ! wil! reserve a ccnfe:ence rc orn so that 'He can r.,:,lritain socia! distandng. !f ~•cu 2, e fine meeting virt1Jal, do vc·l.!
have Microsoft Teams set up? Or would you prefer zoom? Let me know either way and I'll make arrangements for a
meeting! I have most of the day free, only time I'm not available is 1:30-3pm this afternoon.

l<atie I<.

Katie Keleher-Garfoot, M.s.
Assistant Director of Residence Lite
Loras College
563.588.7060
katie.keleher-gartoot@loras.edu
BE MORE. BE LORAS




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                                                                                                        LORAS 0702

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 126 of 175
                                     APP 212
                                                                                                                 TT
\\~oily A. Burrows Sd1~macher (staff)
-~~----------------------------------------------
From:                             Katie Keleher-Garfoot
Sent                              Tuesday, December 29, 2020 10:21 AM
To:                               Molly A. Burrows Schumacher (staff)
Subject:                          RE: Request for Information



Sending a couple emails your way I When I was cleaning out my office to get ready to be gone, I tossed my notes from
the conversation with her and her morn, sorry! ·• I think I was eager to put that behind us ... quick/sort of brief summary:

Met with them in 554 ACC at 1pm on Tuesday, Sept. 8. Rachael walked through the incident with me again, gave her the
option and she chose to talk about it. Claimed the front door was locked. I apologized for it happening and we had
already changed the locks with new keys at Info for her and roommates to pick up. We discussed window bars and door
alarms, showed them what we've ordered in the past on Amazon. Explained I didn't have any on hand, but would order
immediately, which I did right after our meeting concluded. They expressed wanting a deadbolt on the door, an email
sent to BO and all of campus, and wanted to know why Loras didn't have blue lights on campus. I said I would ask about
the deadbolt, explained that Loras has looked into the blue lights before but I would ask the reasoning for not having
them and if it would be considered, and as far as the email, I explained we could possibly send out something
encouraging students to lock doors, remind of safety precautions, etc. At that point, the mom interrupted me and said
something along the lines of "Loras doesn't want people to know they allow predators on campus." I tried to explain
that that wasn't the case, but as this was the first incident that had been reported to us we wanted to handle the
situation in a way that would protect Rachael's and everyone else's privacy, and to be sensitive. The mom repeated her
statement about Loras trying to "hide" that we allow predators. Rachael also claimed that this kind of thing has
happened multiple times to other apartments and Loras hasn't done anything ... ! explained that I can follow-up with
Campus Safety to be sure, but this type of incident had not been reported until now. I asked if she could provide any
names or apartments this happened to and she didn't want to share anything. We concluded the meeting. Rachael had
already picked up her bedroom key, but informed me that she had actually switched rooms and needed a different
bedroom recored (I think it was we recored C because that's where she was originally, but she needed D because she
moved there ... or vice versa). I said I can take the wrong key back and see if I can get the new one recored today -
Rachael gave me both bedroom keys, and then the morn asked Rachael if she wanted to keep her current key so she can
keep her room locked until it's changed ... Rachael said she didn't because the room was unlocked anyway ...


From: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>
Sent: Tuesday, December 22, 2020 3:53 PM
To: Jim Collins <Jim .Collins@ioras.edu>; Katie Keleher-Garfoot <l<atie.Keleher-Garfoot@loras.edu>; Matthew E. Saylor
<Matthew.Saylor@loras.edu>; Matthew D. Pucci <Matthew.Pucci@loras.edu>; Nancy Z. Fett <Nancy.Fett@loras.edu>;
Donna N. Heald <Donna .Heald@loras.edu>
Cc: Arthur W. Sun leaf <Arthu r.Sunleaf@loras.edu>
Subject : Request for Information

Hello Everyone,

I'm reaching out today to see if you could please provide us with any emails, messages, or summaries of conversations
you have had with student Rachael Swift and/or her family, or regarding requests from Rachael Swift and/or her family
from September 6, 2020, until the present at your earliest convenience. If there are other individuals you are aware also
spoke with Rachael Swift and/or her family, if you could please share their names, it would be appreciated. Please let
me know if you have any questions.

Thank you,



                                                                                                LORAS 0703

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                                    APP 213
Molly                                                                    TT
Molly Burrows Schumacher
Assistant Dean of Students
LURAS CULU:L,l
1450 Alta Vista St
Dubuque, IA 52001
rnolly.burrowsschumacher@loras.edu
BE MORE BE LORAS




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                                                              LORAS 0704

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 128 of 175
                                   APP 214
Byrne Oaks Apartments                                                                                                        North          i
First Floor                                                                         Front    I
                                                                        Hall
                             Deck     I                                 Office
                                                                                                          I
                                                                                                                   Print                      Deck    I
                                                                                                                   Room

                  108 A                            108 C
                                                                         Maintenance
                                                                          Custodial                       I
                                                                                                                                  102 A                         102 C     ~
                  Double                           Single                                                         Launclry        Double                        Single
                            Uving Room                                                                                                      Living Room

                 Bathroom                         Bathroom              Lounge                                      Main-        Bathroom                      Bathroom
                                                                                  Bathroom                        tenance
                            Dinfng Room                                                                                                     Dining Room
                                                   108 0                                                                     .                                  102 D
                  108 B                            Single                                                                         102 B '                       Single
                  Double    Kitchen                                                                                              Double     Kitchen

                                                                          104     RA Apt.                     St2irs
                                          Entry                                                               I                                       Entry
I   Stairs
                                                                                                              I
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                                          Entry                                   Entry                                                               Entry

                            Kitchen                                     Kitchen                                                             Kilchen

                  105 D                            105 B      103 D                              103 B                            101 D                         101 B
                  Single Dining Room               Double     S1ngle Dining Room                 Double                           Single    Dining Room         Double
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                      'i.   Uruu ea~pvv
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                            Living Room                                 Living Room                                                         Living Room
                  105 C                                       103 C                                                               101 C
                  Single                           105 A      Single                             103A                             Single                        101 A
                                                   OcJ,!s                                        Double
             J                                                                                                                                                  Double

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                   Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 129 of 175
                                                 APP 215
Byrne Oaks Apartments                                                                                             North              i
Third Floor                                                                         Deck
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                                             308 C                                                                                                                          I
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                                              Single                                                                                                                        t
                        Living Room                                                                                                 Living Room                             I
                                                                                 [(ning Room                                                                                ;
             Bathroom                        Bathroom                                                   306 D         Bathroom                             Bathroom
                                                                                                         Single
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                                                                       306 B                                                                                                I
                        Cllning Room                                   Double     Kitchen                                           Dining Room                             j
                                              308 0                                                                                                            302 0
                                                                                 Entry                                     302 B                               Single
              308B                            Single
              Double    Kitchen                                                                                            Double    Kitchen


                                                                        304      RAApL                 Stairs
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I   Stairs
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                                                                                                                                                           l- .Stc1rs _


                                  Entry                                          Entry                                                          Entry


                        Kitchen                                       Kilchen                                                       Kitchen


              305 D                           305 B         303 0                            303 B                         301 D            X                  301 B
                                              Double        Single Dining Room               Double                        Single   Cliring Room               Double
              Single Dining Room
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                                                                                            Bathroom                   Bathroom
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             Bathroom                        Bathroom      Bathroom
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              305 C                                        303 C    CU?1                                                   301 C



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                                             APP 216
Timeline - Cases 00145-2020 & 00154-2020                                                                         vv
September 6, 2020

   •    Report 00145-2020 Reported on Sunday, September 6, 2020, 5:24 a.m. by Robert Rosenow, Campus Safety.
        Incident date September 6, 2020, approximately 4:25 a.m. Complainant Rachael Swift:

        I, Officer Rosenow, was giving Sara from the information desk a break when a telephone call came in at 4:25 a.m.
        Sunday, September 6, 2020, female saying that there was an intruder in her apartment - IO I Byrne Oaks. Rachael
        Swift informed me that she heard a noise, woke up, and saw a person in her bedroom doorway. She shared that
        she screamed and person took off out the front door. I told her I would check the other bedrooms, and I also
        checked the hallways and stainvells and did not see anyone.

        When I took Rachael's statement, she said that her other three roommates were out of town and she was staying
        alone on Saturday. She said that after she called, she noticed that she must not have locked the front door of the
        JOI apartment. I asked her if she wanted to stay at a friend's place, and she said she would be ok I told her to
        always make sure that the doors are locked. She was unable to give a description because it was too dark. 1
        informed her that if she would ever be staying alone to let information know so security could make a few extra
        rounds in the building.

        Colleagues were alerted to the concerns on subsequent shifts, and asked to maintain extra rounds in the area until
        further notice.

   •    On September 6, 2020, at 8:38 p.m., Molly Burrows Schwnacher contacted Art Sunleaf with the following
        information:

        Just a heads up - not sure ifyou saw the report about Rachael Swift and waking to someone in her doorway (front
        door was unlocked). Pucci called - she went home. mom bringing her back tomorrow, wants to talk to someone in
        person about it. I told him to send ii to Katie, and they could discuss safety strategies and how we can help. We 'II
        go from there but wanted to keep you in the loop.

   •    Molly Burrows Schumacher and ,.<\rt Sunleaf received an email on September 6, 2020, at 8:46 p.m. from Elaine
        Kostopoulos indicating the following:
        Good Evening,

        I believe Matt Pucci may have reached out to you today regarding my request for a meeting tomorrow, Monday the
        7th• We were informed to speak with Katie as you would not be on campus. I understand tomorrow is Labor Day,
        yet we will be driving to campus from Chicago to help get some things resolved and ensure Rachael is safe. What
        happened to Rachael is unacceptable and it is critical that we speak tomollow either in person or on the phone.
        This needs to be a priority. Unfortunately, as a result ofthe situation, Rachael nor myselfcan look at tomorrow as
        a holiday and we would appreciate a few minutes ofyour time. Early afternoon would be ideal, yet we can make
        ourselves available any time during the day. I look forward to your response.

         Burrows Schumacher replied to the email at 10:56 p.m. on that date indicating the following:
         Thank you so much for reaching out. I completely understand your concern for Rachael, and the desire to create
         a safety plan moving forward. We too want Rachael to feel safe on campus in her apartment.

         While I wish I could speak to you in person tomorrow, I am restricted to remote work at this time due to a
         hospitalization in July. Coach Pucci indicated you were really hoping to meet with someone in person while on
         campus, so for this reason, I suggested Katie Keleher-Garfoot to Coach Pucci as a great resource. Katie has helped
         students in various housing options by discussing safety concerns, ordering things like additional door alarms,
         window alarms, etc. to help students feel safe in their specific situation.



                                                                                                LORAS 0707

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                                     APP 217
                                                                                                                  vv
       While I'm unable to meet in person, I am happy to talk via phone tomorrow if that would be helpfal? l'mjree at
       I :00 p.m. if that works with your schedule. ffyou could let me know the best number to call, I would appreciate it.

       lfyou would prefer to meet in person with Dean Sunleaf. I understand that as well. Please know I did also make
       Katie aware that Rachael may be interested in additional safety resources for the apartment and asked her to secure
       these items for Rachael if she is interested.

       Sunleaf also replied to this message on September 7, 2020, at 6:35 a.m. indicating:

       Thank you for contacting us regarding the recent incident in Byrne Oaks. I was made aware ofit over the weekend,
       and appreciate your concerns. Due to the adjusted academic calendar, the college is not obsen•ing Labor Day.
       Classes are being held and offices are open. It is my understanding Molly Burrows Schumacher, Assistant Dean
       ofStudents, has made herselfavailable. Additionally, I too will be in my office.

September 7, 2020

   •   On September 7, 2020, at 10:17 a.m., Elaine Kostopoulos responded to Molly Burrows Schumacher's 9/6/2020
       email indicating:

       Thank you for your response. We are on our way back to campus and are planning on meeting with Art Sunleaf at
       I: 30 p.m. It would be great ifwe could have you involved via phone for the meeting.

       Burrows Schumacher replied back at 11 :20 am. indicating that she had a student health meeting at l :30 so would
       not be able to dial in for the meeting, but would follow up with Art Sunleafto provide information on how we can
       best help Rachael at this time.

   •   On Monday, September 7, 2020, at 8:58 a.m., Katie Keleher-Garfoot emailed the following to Rachael Swift:

       I was just made aware ofa situation in your apartment this weekend. Would you like to meet to discuss? I'm happy
       to talk with you about this. Would you like to meet in person or virtual? Ifyou'd like to meet in person, just let me
       know and I will reserve a conference room so we can maintain social distancing. Ifyou are fine meeting virtual, do
       you have Microsoft teams set up? Or would you prefer Zoom? Let me know either way and I 'II make arrangements
       for a meeting! I have most of the day free, only time I am not available is 1:30 3:00 p.m. this afternoon.

       Swift replied at l 0:07 p.m. indicating:
       I would like to meet in person. My Mom and I would like to talk about what happened and what else can be done
       to the apartment to make me and my roommates feel safer. She will only be in till tomorrow, so if we can meet that
       would be great. We can meet between 11 :00 - 3:00.

   •   On Monday, September 7, 2020, at l :30 p.m., Art Sunleaf met with Rachael Swift and her family to discuss their
       concerns.

   •   Molly Burrows Schumacher contacted John McDermott, Physical Plant, on September 7, 2020, via email at 2:51
       as a follow up to a phone request to change locks at the Byrne Oaks apartment following Art Sunleafs meeting
       with Rachael Swift and her mother:
       I have an asap work order per our conversation today-

       / 0 I Byrne Oaks needs main (7 keys), and bedroom D doors (2 key:.) recored, preferably by Tuesday ifpossible.
       Student woke to someone in the apartment. Art agreed we would change locks and keys asap.

       McDermott responded at 3:03 p.m. with "Got it."

   •   Molly Burrows Schumacher reached out to Rachael Swift on September 7, 2020, via email at 3:08 p.m. at the
       request of Art Sunleaf indicating:




                                                                                               LORAS 0708

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                                  APP 218
        Dean Sunleaf asked me to follow up and let you /...11ow that Maintenance will be changing your door locks and
                                                                                                                     vv
        issuing new keys first thing in the morning - they have set the process in motion today, and it will be completed
        tomorrow morning.

        Since the incident, Campus Safety has increased rounds on the interior and exterior of the facility as well as the
        surrounding grounds. RAs in the area will do the same. Campus Safety has also ordered and are reviewing fob
        logs from the time of the incident so that we can connect with any other students who may have been out and about
        in the building and may have seen or heard something.

        Katie Keleher-Garfoot will also be reaching out to you asking how she can help. While the college provides secure
        locks for all apartments, we know all residents have different preferences. Katie can share information about
        additional alarms and devices that you might he interested in.for your apartment. Not all studemr; are interested
        in these devices, but we are happy to assist you (and your roommates) ifyou might be. Please let us know if we can
        be o.ffurther help.

        Swift replied to this email at 8:34 p.m. She indicated:

        Yes, my roommates and I are interested in the additional safety devices. We all wish we knew about the available
        options earlier. Why aren't students made aware of this? Will an email be going out to Byrne Oaks informing
        students ofan occurrence and ifanyone else experienced or saw anything unusual? It has been mentioned that the
        intruder attempted to enter another unit before he entered mine. I will let my roommates know about the new locks.

        It was noted that throughout the process, Swift and her mother mentioned other attempted or actual break ins of
        concern, but when pressed could not provide any additional names we could talk with or details about these other
        incidents or where they received their information.

   •     September 7, 2020, Academic Dean Donna Heald reached out to Rachael via email at 4:00 p.m. indicating:

        Dr. Sun/ea/ notified me that you have a c:unc:ern with some ufyuur c:lasses. Would you be willing tu share those
        concerns with me? Ifyou prefer to talk, perhaps we can set up a phone conversation.

         Swift replied at 8:25 p.m. requesting a meeting with her, her mother, and Heald present the following day in person,
         and asked what times Heald was available. SVv-ift then emailed Heald at 8:36 p.m., proposing times to meet. Heald
         responded to that email at 8:43 p.m. indicating available meeting times. Swift responded at 9:37 p.m. asking Heald
         to meet first thing in the morning. At 9:39 p.m. Heald responded to Swift asking to meet at 8: 15 a.m. Swift replied
         at 9:45 p.m. indicating she and her mother would come to Heald's office. Heald responded at 10:31 p.m. indicating
         the meeting would take place in a nearby conference room.

September 8, 2020

   •     Donna Heald met with Rachael Swift in her mother in Keane Hall at 8: 15 a.m. on September 8, 2020

   •     Katie Keleher-Garfoot responded to Rachael Swift's 9/7/20 10:27 p.m. email on September 8, 2020, at 10:01 a.m.
         indicating she could meet with Swift and her mother at 1:00 p.m. Swift replied indicating that 1:00 p.m. worked
         for her and her mother, and the group arranged to meet in 554 of the Alumni Campus Center.

         Keleher-Garfoot provided the following summruy of the meeting:

        Met with them in 554 ACC at 1 p.m., on Tuesday, September 8. Rachael walked through the incident with me again,
        gave her the option and she chose to talk about it. Claimed the front door was locked. I apologizedfor it happening
        and noted that we had already changed the locks with new keys at info for her and her roommates to pick up. We
        discussed window bars and door alarms, showed them what we've ordered in the past on Amazon. Explained I did
        not have any on hand, but would order immediately, which l did right after our meeting concluded. They expressed
        wanting a deadbolt on the door, an email sent to all ofByrne Oaks, and wanted to know why Loras didn't have blue
        lights on campus. 1 said 1 would ask about the deadbolt, explained that the co/Jege had looked into blue lights and
                                                                                                LORAS 0709

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        would ask the reasoning for not having them and if it would be considered, and as far as the email, I explained we
        could possible sent something out along the lines of encouraging students to lock doors, remind of safety
        precautions, etc. At that point, the mom interrupted me and said something along the lines of "Loras doesn't want
        people to know they allow predators on campus. " I tried to explain that this wasn't the case, but as this was the
        first incident that had been reported to us we wanted to handle the situation in a way that would protect Rachael's
        and everyone else's privacy, and to be sensitive. The mom repeated her statement about Loras trying to "hide"
         that we allow predators. Rachael also claimed that this kind of thing has happened multiple times to other
         apartments and that Loras hmm 't done anything ... I explained that I can follow up with Campus Safety to be sure,
         but this type of incident had not been reported until now. I asked if she could provide names or apartments this
         happened to, and she did not want to share anything. We concluded the meeting. Rachael had already picked up
         a bedroom key, but informed me that she had switched rooms, and needed a different key (we recored C as that is
         where she was original~y, hut Jhe needed D hecause .\·he moved there). I said I can take the wrong key hack and
         see if I can get the new one recored today - Rachael gave me both bedroom key, and then mom asked Rachael if
         she wanted to keep her current key so she can keep her room locked until it is changed... Rachael said she didn't
         because the room was unlocked anyway.

   •    A follow up email was sent to Campus Safety on September 8, 2020, at 5:36 p.m. indicating to make extra rounds
        in the following areas. The email notes that a female student reports an intruder in her apartment on 9/6/20, and
        asks staff to complete extra rounds on the floor and around the perimeter of the building. This continued throughout
        the semester.

   •    Fob access records show only one individual fobbing in around the time of the incident in Swift's room. On
        September 9, 2020, at 5: 13 p.m., Molly Burrows Schumacher reached out to that individual, Kyle Hall, and shared
        the following:

        I work with Campus Safety and I'm reaching out today because I am investigating a report from this past weekend.
        A female student reported that on 916, around 4: 20 a. m., and individual entered her apartment on the first floor of
        Byrne Oaks and approached her door, room D.

        I'm reaching out today because our fob access system indicated that you had entered the first floor ofByme Oaks
        around 4:03 a.m. on this date, and I am wondering ifyou may have seen anyone on the floor around that time or
        anything ofconcern? Ifyou noticed anything, we would appreciate any information you might be able to share to
        help us learn more about what happened We know that from time to time, especially at the beginning of the year,
        people sometimes get turned around in the building and attempt to enter a door that is not their own - so we 're
        hoping that's what we find by searching further with those who may have been in the area at the time.
        Hall replied at 9: 18 p.m. with the following:

        When I walked in at that time, I did not see anything suspicious. There was nobody else in the hallways at that
        time. I went straight to my room, and did not see anything that would be ofconcern on my way there. Sorry I can't
        help you out more.
        Burrows Schumacher applied to Hall at 11: 11 p.m. indicating that she appreciated his reply, and that it was helpful
        to know he did not see anything.

   •    Molly Burrows Schumacher sent an email to Art Sunleaf at 5:30 p.m. indicating that locks were not changed
        immediately in the morning at Swift's apartment as indicated by maintenance they would be. Instead this did not
        occur until the afternoon. Burrows Schumacher also indicated to Sunleaf that they were engaging Kyle Hall who
        had accessed Byrne Oaks just 10-15 minutes prior to Swift finding an intruder in her doonvay to see if he could
        provide any helpful information. Hall resides at 103 Byrne Oaks, and the fob report indicated he entered via the
        main entrance. Housing records noted hall has decreased eyesight due to visual development.

September 9, 2020

   •    On September 9, 2020, at 10:36 a.m., Hall again replied to Burrows Schwnacher indicating the following:

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        That would've been the only place where I would've saw something, but like I said, nobody was in the hallways at
        that time when I got back. I don 't know about upstairs because there was no need for me to go up there since my
        room is on the first floor.

         Burrows Schumacher noted that she was surprised by Hall's second response, and felt it seemed slightly defensive.

September 10, 2020

   •    Donna Heald sent an email to Rachael Swift at 8:00 a.m. on Thursday, September 10, 2020, indicating that she
        (Heald) had spoken with Dr. Salyer and shared with him her (Rachael's) concerns about instruction in EDU336 and
        EDU340. Her email indicates:

        He is going to follow up with both instructors while not revealing your name to either. Please feel free to reach out
        to Dr. Salyer directly regarding your concerns or ifyou have any additional information. It is possible Dr. Salyer
        will ask to speak with you about this on Friday when he sees you in class. Rest assured, I told him you did not have
        any concerns with his class. Please do let me know ifyou have continuing concerns.

September 11, 2020

   •    Katie Keleher-Garfoot reached out at 9:28 a.m. via email to discuss the possibility of the deadbolt lock installation
        with John McDermott, Physical Plant. Mc Dermott replied at 9:32 a.m. indicating that it was not possible to install
        the deadbolt lock on the apartment.

September 14, 2020

   •    Report 00154-2020 Reported on September 14, 2020, 12:48 a.m. by Rachael Swift. Incident date September 6,
        2020, approximately 4:00 a.m. Complainant Rachael Swift. Lists involved parties as Dean Waterbury (believed to
        be Dean Sunleaf), President Collins, Assistant Dean of Residence Life Katie (believed to be Katie Keleher-Garfoot),
        and unknown male intruder

        On September 6, 2020, an unknown male broke into my campus apartment. I reported the incident to campus
        police, Dubuque PD, Residence Advisors, Dean ofStudents, Assistant Dean ofResidence Life, and Loras President.
        1 have requested that Loras provide additional safety measures including by not limited to a deadbolt Jock, yet
        Loras has done nothing to protect my safety. Additionally I have asked for information about the investigation into
        who broke into my apartment, but have received limited updates. I believe Loras is discriminating against me
        because I am a female student that has been subjected to a sexual assault.

September IS, 2020

   •     Molly Burrows Schumacher was made aware that a requested deadbolt for the door of 101 Byrne Oaks had been
         denied. On this date, Burrows Schumacher reached out to John McDermott, Physical Plant, at 3:52 p.m. via email
         and requested installing a deadbolt on l Ol Byrne Oaks.

   •     On Tuesday, September 15, 2020, at 7:09 p.m., Nancy Fett responded via email to a phone call on her office phone
         from Rachael Swift. Fett's email indicated:

         Thank you for your phone call. I have not been in my office all week and am not sure when you left your message.
         Thank you for having the courage to advocate for yourself on this personal matter. I only wish more women did.
         You will likely be contacted by one oftwo people: Matt Saylor in Security or Molly Burrows Schumacher in Student
         Life. They will conduct an investigation, ask for your side of the story, if there are witnesses, etc. They will also
         contact the alleged perpetrator to discuss the matter.

        My role is to assure the process is followed, monitor the report, ask questions, and suggest alternative
        approaches/questions/theories and assure the matter is handled professionally, according to our policy, and with
        utter fairness.



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     ffyou feel like you are not being heard, please contact me. It is important to me (and the College) that anyone who
     comes fon1 ard is supported and listened to. Let me know ifyou have any questions NZF
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     The email then contained links to relevant sections of the Student Handbook.

•    Katie Keleher-Garfoot was in communication with Rachael Swift via email at 12:08 p.m. indicating:

     I just got the bars for windows and door alarms in the mail this morning. So those are ready - would you like me
     to leave them at the information desk for you or would you like assistance putting them up? I can ask one ofyour
     CAs to bring them by ifyou would like assistance, Just let me know. Just one for the front door or one for any of
     the bedrooms as welt!

     You had asked about a deadbolt on the front door. I was told it would not be possible by the physical plant. Ifyou
     hal'e more questions, I hal'e cc 'd John .McDermoll on this message - he may be able to answer any additional
     questions you have about that.

     For requesting a copy ofthe report, you can request it via email - so you can reply to this message with the request
     and we can provide the copy.

     I also have an answer to your question about the blue lights. Student Union looked into blue lights as an option on
     campus, and has done so periodically over the past few years. From what I understand, survey responses were
     college from our students, and most students indicated that their first choice for call would be their cell phone.
     There were also challenges at other schools that have them with false reporting, and the last lime this was
     researched, there were institutions removing the posts from their campuses. However, we can definitely bring the
     ideaforward again to the co//egejor review at your request! It will take about a week to gather pricing information
     fnr availahle nptinns, hut we can create a prnpnsa/ fnr cnnsideratinn. Are there any specific places ynu were hnping
     to see blue lights? We have a layout we have used in past considerations, but if there other areas from the student
     perspective to consider, that would be helpful.

     Please let me know how many ofthe door alarms you would like and ifyou would like assistance putting in the bars
     and alarms up, and we 'II make arrangements from there. Thank you I

•    At 12:25 p.m. on September 15, 2020, Molly Burrows Schumacher notified Art Sunleaf that she was working to
     finalize the move of the Hoffmann Hall surveillance camera to the Byrne oaks entrance (also spanning an area
     immediately outside the entrance) to help with concerns. She also mentioned that the Swift family had requested
     blue light cams, and that we could submit a proposal with any feedback provided from the family.

•    On September 15, 2020, at 9:32 p.m., Molly Burrows Schumacher sent Rachael Swift the following email:

     Your recent report was routed to me today for review. I apologize ifyou felt you did not receive a response to your
     requests. Ifyou could let me know who you reached out to, I will follow up to see what additional information is
     available, but wanted to provide what updates I am aware ofat this time.

     Since the incident, Campus Safety has increased rounds on the interior and exterior of the facility as well as the
     surrounding grounds. Part of those rounds includes checking common areas and corridors for those who do not
     live in the building, un-propping propped doors if they are propped, and monitoring the areas behind the building
     as well. While helpful in the pursuit of campus safety, this increased sun1eillance has not provided any additional
     information regarding your case.

      We have been able to contact those who.fobbed into the building shortly before the incident occurred - including a
     student who lived in an apartment near yours, who fobbed in around the lime the incident occurred He indicated
     he did not see anything unusual or encounter any other students while moving from the entrance to his
     apartment. Our other fob accesses (based on access time) are less likely to have information, but we will be
     following these leads as well. I noticed in your report you contacted the Dubuque police about what occurred -
     did they offer you a case number you are willing to share with the college? While we provide campus safety officers
      on campus, we are not a police force - so when there is a corresponding police report, we like to contact the local

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        officer connected with the case to provide what information we do have since local I'D has additional avenues they
        can explore as sworn law enforcement officers.

        I am aware you requested a deadbolt be added to your door at Byrne Oaks, and I saw today that the Physical Plant
        indicated they would not be able to honor that request. Please know that we are resubmitting the request. I can't
        promise it will change the answer, but we are advocating to do what will make you feel most comfortable in your
        space. J 'm also aware you/your family has requested blue light poles on campus. 1 am gathering current pricing
        for these poles to see what options might be available, and will submit that information for review. Ifyou would
        like to provide a letter ofsupport about this request, or have a specific idea in mind ofwhere you would like to see
        a blue light that will best benefit students, please let me know and I will include this information in the request.

        Additionally, I have submitted a request to have a surveillance camera imtalled at the access point at Ryrne
        Oaks. The camera would be motion activated and would record when movement is in the vicinity, allowing us to
        further track who is entering and exiting the building. IT is currently checking to see !f we have the capability
         o.fsupporting a camera in this area. We will keep you posted on these projects as additional in.formation becomes
        available. While this is not an exhaustive list o.f what is occurring, I want to assure you that the college is taking
        your concerns seriously.

        In your report, you also mentioned that you have been subjected to a sexual assault. I am so very, sorry to hear
        this, and want to provide any support I can to be ofhelp to you. Your story is yours to share in your own time as
        you are comfortable, but if there are supports you need on campus, or ifyou would like to discuss the process on
        or ojj"campus for filing a report ofsexual assault, J 'm willing to assist in any way 1 can that meets your needs. There
        is a campus resource packet I can share with you that might be help.fa/ in explaining local resources,
        accommodations, and how cases move forward on and offcampus. Ifyou are interested in this resource, please let
        me know and I will send it to you via email.

        Please let me know ifyou have any additional questions.
September 16, 2020

   •    Swift notes in a 9/17/20 email communication with Nancy Fett that she moved from her Byrne Oaks Apartment to
        a hotel this afternoon.

   •     Molly Burrows Schwnacher reached out to Rachael Swift via email at 6:40 p.m. at the request of Nancy Fett:

        Nancy Zachar Fett, the College's Title IX coordinator, was in contact with me today and asked that I reach out to
        you to see ifyou would like to talk with/meet with a Title D{ investigator on campus to discuss a recentlyfi!ed report.
        Right now, the college has three trained Title IX investigators for student cases and they are myself, Matthew Saylor
        (Campus Safety), and Katie Keleher-Garfoot (Residence life). Matt and Katie would both be able to meet in person
        with you to discuss the process; 1am available by Zoom only at this time for medical reasons but am happy to assist
        in any way I can. I'm not sure ifyou have a preference, but ifI can assist with setting up an appointment with any
        ofthese investigators, please do let me know. I'm attaching a resource that provides additional information about
        college policy, the processes available on or ojf campus, and local resources that might he helpfal for you at this
        time. Please let me know ifyou have any questions or if I can be of sen ice at this time or provide any support at
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        this time.
September 17, 2020

   •     John McDermott replied at 7:30 a.m. on September 17, 2020, indicating that he forwarded the deadbolt request to
         Dan Walling, Locksmith Express, for pricing, noting the doors do carry a fire rating and he wasn't sure the deadbolt
         would impact that rating. Walling replied at 8: 14 a.m. that he would work on the request.

   •     On Thursday, September 17, 2020, at 2:47 p.m., Rachael Swift emailed Molly Burrows Schumacher indicating:


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        I have received your emails. I wanted to keep you in the loop. I'm trying to set up an in-person meeting with Nancy
        J,ett for some time tomorrow. Thank you for finally reaching out and updating me.

         Burrows Schumacher replied at 3: 16 p.m. on September 17, indicating:

        I'm glad to see your reply, and I'm glad to hear you are connecting with Nancy. Please know I'm here ifyou need
        anything. I can share the following updates today-

         Technology has indicated we should be able to install a camera at Byrne Oaks, and are in the process oftesting the
        unit now. I'm still waiting for price estimate back on blue lights, but will keep you posted. And maintenance has
        contacted a locksmith to see the best way to install a deadbolt on the apartment at Byrne Oaks. I'm not sure I folly
        understand the challenges, but ii has something to do with installing the lock in a way that maintains the required
        fire rating on the door. The locksmith indicated he would be in touch soon with an update. I'll share more when
        we know more. Thanks -

   •     Rachael Swift responded to Nancy Fett's 9/15/20 email on September 17, 2020, at 2:43 p.m., apologizing for the
         late response. Rachael shared:

         I have been offcampus since yesterday and then had to move to a hotel yesterday afternoon. Can we meet tomorrow
         in person to talk about the details in regard to my Title IX Claim.

         Fett responded at 3:00 p.m. indicating that she could meet on Monday.

   •     Swift responded to Keleher-Garfoot's 9/15/20 email on September 17, 2020, at 2:38 p.m. She wrote:

         I have been home since Friday. I came back Wednesday to finish the week in soccer. I 'm staying in a hotel because
         I didn't feel comfortable at the apartment. The other 5 girls in the apartment are also scared and sleep in the same
         room some nights. I will be returning home for the unforeseen future because I couldn't and didn't feel safe in the
         apartment without the safety measures that were asked for. I'm not on campus and would prefer if some can and
         installed the door alarms and window blockers in the apartment. We need 2 door alarms and 9 window blockers.

         Keleher-Garfoot reports that RA Kiki Cabrera took the door alarms and window blockers to the apartment. Per
         Keleher-Garfoot, Cabrera indicated that all of the women in the apartment were "fine" when talking to her. Keleher
         notes that Swift has not yet retw-ned keys.

September 20, 2020

   •     Fett shared with Molly Burrows Schumacher that as of 10:45 a.m. on September 20, 2020, she had not received a
         reply to her September 17, 2020, email to Rachael Swift.

September 24, 2020

   •     Rachael Swift replied to Nancy Fett's 9/17/20, 3:00 p.m. email on September 24, 2020, at 11 :25 am. She indicates:

         Sorry for the late response. I have moved home indefinitely. I've been trying to adjust to being home and balancing
         school work. Can we still talk over the phone? I would really like to talk about how the whole situation was handle
         and why I.files the claim. What times work best/or you? Once again, sorry for the late response.

September 29, 2020

   •     Nancy Fett responded to Swift' s reply on 9/24/20 about a time to meet on September 29, 2020, at 7:08 a.rn. offering
         several times to meet. Per Fett, she did not ultimately meet with Swift as she did not reply to her message.

December S, 2020

   •     A group of students at Byrne Oaks had installed a camera in their kitchen at the entrance to their apartment because
         they thought perhaps one of the roommates was taking another's food. The camera captured student Kyle Hall
         entering their apartment, proceeding into the kitchen, realizing he was on camera, and then exiting the apartment.
         Police were called and Hall was localed. Hall did indicate (per College officer on Lhe scene Mark Suller) Lhal he

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        had entered at least another apartment at Byrne oaks but indicated that these issues were on accident. He noted that
        he had lived in the building for several years in different apartments and was confused. It should be noted that at
        this time Hall lived on the 1st floor.

December 7, 2020

   •    Molly Burrows Schwnacher added Kyle Hall as a possible suspect for the case involving Rachael Swift's apartment
        break in based on his involvement in another incident in Byrne Oaks.

December 8, 2020

   •    After consultation with Art Sunleaf, Molly Burrows Schumacher notified Rachael Swift via email that a suspect
        had been identified in her case. No name was shared in this communication due to FERP A. She wrote on December
        8, 2020, at 11: 13 a.m.:

        I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera entering an apartment
        at Byrne Oak<i. law enforcement was notified, and in that process, the suspect (a Loras student) admitted to
        entering at least 2 apartments over the course ofthe semester. This individual has been removed from campus and
        is not permitted to return. The College will be workingwith law enforcement and providing information about the
        break-in at your campus apartment to be considered as they continue to investigate this case. Additionally your
        information will be included in our on campus investigation process so that the individual can be held accountable
        both on and off campus.
        We've reached out to the police officer who is working with the case to find the best way for you to connect ifyou
        would like to talk farther with law enforcement about the incident in your apartment. Once we receive a reply, we
        will relay this information to you. For the on-campus investigation, you can report any additional information to
        either Matthew Saylor or myself to be included in the college's process. We will continue to provide updates for
        you as additional information becomes available and the process moves fonvard.
        Thank you for your patience as we investigated these incidents, and please do not hesitate to reach out ifyou have
        any questions. I've contacted you directly as the.filed reports name you as the reporting student. lfyou would like
        me to also notify the women you were living with in apartment IO I at the time of the incident, please do let me know
        and I will do so.
December 9, 2020

   •    Rachael Swift contacted Nancy Fett via email on December 9, 2020 at 7:40 p.m. indicating:

         This is Rachael Swift. 1 wanted to amend my Title D{ claim. I want to add Kyle Hall as part of the claim.
        Fett contacted Molly Burrows Schumacher on December 9, 2020, at 7:55 p.m. indicating she was not familiar with
        Swift's case - that they had tried to talk several times and Swift never followed through.

December 17, 2020

   •    On December 17, 2020, at 1:59 p.m., Matt Saylor shared with Molly Burrows Schumacher and Art Sunleaf via
        email that he had received a call from Dubuque Police, and they stated that the TH contacted them about the incident
        from Byrne Oaks. What he stated made it sound like this was started by Rachael Swift. PD shared that we were
        working together on the incident and Saylor provided an update at that time for PD. PD believes that the TH may
        tty contacting us about the incident as well, and wanted to make sure we were aware.

        Sunleaf notified Marketing department members Bobbi Earles and Robert Waterbury, ccing Jim Collins in an email
        on December 17 at 2:09 p.m. indicating that should the TH contact us, due to FERPA, we are unable to comment
        other than we are aware of the incident and working with local law enforcement.

   •    On December 17, 2020, at 3:08 p.m., Nancy Fett received an email from Bradley Levison, attorney for Rachael
        Swift, with Swift cc'd on the message indicating the following:

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        Per my message, I represent Rachael Swift and I am following up on the status of the Title IX Complaint she filed
        in September 2020. As you know, the student (Kyle Hall) that broke into Rachael's apartment was caught and now
        that we know his identity, Rachael wanted to add the student to her complaint. I would appreciate an update on
        the status ofRachael's Title IX Complaint. Rachael is copied on this email. You may reach me at 312.819.6360.

        Fett reached out to Art Sunleaf and Molly Burrows Schumacher to discuss the response to Levison's email on
        Thursday, December 17, 2020, at 3:54 p.m. Sunleaf indicated that Rich Whitty should be involved in the process
        to assist with the reply.

   •    On December 17, 2020, at 3:23 p.m., Burrows Schumacher followed up on her 12/8/2020 email to Swift regarding
        speaking with an officer about her case. Burrows Schumacher indicated:

        I've connected with Officer Brianna Marzette at the Dubuque Police Department. She has indicated that ifyou
        would like to speak with her about the investigation and/or your case, ifyou could provide the best way to contact
        you (email, phone and number, etc) she will contact you. Ifyou'd like her to reach out to you, could you please
        provide the best way to do so at this time?

   •    Art Sunleaf was made aware by Matt Pucci, Rachael Swift's soccer coach, [exact date unknown], that both Kyle
        and Rachael were a part of the education program. And even though Kyle was removed from and banned from
        campus, he apparently virtually assisted with a final exam that Rachael Swift was a part of and she was very angry
        and concerned that this happened. The College was not aware of this potential concern. Hall was noted to be done
        with his finals, and was removed and left campus. The College had not disclosed Hall's name to Swift yet in this
        process. We are not aware ofthe date the problem final occurred on. On December 16, it was mentioned to Burrows
        Schumacher by Rebecca Fabricius when discussing concerns with Hall's licensure that both Swift and Hall were
        education majors. Fabricius indicated they would not likely have crossed paths very often because they came in to
        the program at different times and Hall was finishing up an extra semester.
December 18, 2020

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   •    On December 22, 2020, at 3:50 p.m., Molly Burrows Schumacher reached out to David Salyer and Rebecca
        Fabricius at the request of Art Sunleaf regarding the student teaching placement for Rachael Swift. Burrows
        Schumacher noted that if there was anything the College could do to help honor any student teaching placement
        request Swift had submitted, it would be helpful. Fabricius responded and said she understood the need based on
        conversations with Swift and that the process has been started.
January 4, 2021

   •    Molly Burrows Schumacher and Art Sunleaf were contacted by Rebecca Fabricius regarding Rachael Swift's
        student teaching placement for spring 2021. There was concern because while trying to finalize Rachael's
        placement near her home, it was noted that she was not currently enrolled in spring classes due to an outstanding
        matter with the Business Office. Sunleaf referred the matter to Donna Heald for resolution as it related to academic
        affairs.
January 5, 2021

   •    Molly Burrows Schumacher noticed that Rachael Swift had a housing assignment and meal plan assignment on file
        for Spring 202 l on campus, so contacted her via email at 11 :55 a.m., to let Swift know she would be happy to cancel

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 those items (due to Swift's plan to student teach at home in the spring semester). Burrows Schumacher advised
 that these items could be re-added at any time should she choose to do so. Burrows Schumacher also noted that
 because Swift indicated she had spent most of the fall semester away from campus, she had removed the housing
 charges on her account for fall, and explained how to see those charges credited on the student account.

 Swift replied at 12:10 p.m. that she would not be returning to campus for the spring semester, and indicated that
 Burrows Schumacher removing these charges would be one less thing she has to wony about.

 Burrows Schumacher shared this update with Carrie Jones at 11 :37 a.m. regarding the student account, and Art
 Sunleaf via email on l/5/21 at 11 :56 a.m.




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                                                                                     Requested information prepared 1/22/2021



Campus Safety
The Department of Campus Safety is located in suite 530, on the fifth floor of the Alwnni Campus Center, and at the 24
hour lnfonnation Desk, located on the fourth floor of the Alwnni Campus Center. On campus, the department can be reached
by phone at extension 7114 or 0. Off campus, the department can be reached by phone by calling 563.588.7114 or
563.588.7100.     Individuals     can     file     reports    with   the    department     online    at:    LttJ" !,11,1-,·
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The department consists of 14 full-time, 2 part-time, and 6 call-in employees, and is staffed 24 hours per day, 365 days each
year. Security officer training, on both an annual and on-going basis, occurs with regard to emergency medical situations
( CPR, AED, and 1st Aid), fire prevention, evacuation plans, disaster recovery plans, crowd management, asset protection,
risk management, student issues, mandatory reporting of child abuse and other student and employee safety matters.

The Department of Campus Safety provides several security programs including an on campus escort service, lost and found
services, and in partnership with the Student Development Division, provides student education on fire safety, personal
safety, alcohol and drug education, sexual assault awareness, and other relevant safety topics.

The Loras College campus falls into the jurisdiction of the Dubuque Police Department, the Dubuque County Sheriffs
Department, and the Iowa Department of Public Safety. Loras College Campus Safety maintains a positive and open
relationship with each of these agencies. The appropriate authorities assist the department in campus clime investigation.
Campus Safety monitors and records, through local police crime data, off campus events sponsored by recognized student
organizations. Because Loras College is a private institution, no member of the Department of Campus Safety possesses
arrest authority. Loras College does, from time to time, contract police officers with full arrest authority to assist in activities
and functions of the College.

Loras College is a private institution ofhigher education. At certain hours of the night, only authorized personnel are allowed
in many areas of the college. Most buildings open to the public are closed and locked after regular business hours. T,oras
College uses a computerized fob access system in each of the residence halls. In an attempt to eliminate exterior doors from
being propped open, electromagnetic locks are installed on all exterior doors of all residence halls as well as most other
campus facilities. Once activated, these locks will not allow access to the building without the proper access fob. Entry must
be made at a designated entrance with a fob reader. The electromagnetic locking system is operated in conjunction with the
fire alarm system, so when an alarm is sounded, all of the locks in that particular building release allowing doors to be used
as emergency exits. All lost fobs should be reported immediately to Campus Safety so they can be deactivated and replaced.

Within a residence hall, each room door may be locked. Each resident is advised to keep the room door locked at all hours
of the day. Residents are held responsible for the conduct of their guests. At least one trained residence life staff member is
on duty 24 hours per day. Depending on the rules of the specific floor, visitation by members of the opposite sex may be
limited to certain hours of the day. Unauthorized individuals found within residence halls are subject to college discipline
and/or arrest by local authorities.

Campus Safety routinely checks academic buildings which are closed during non-business hours to ensure they remain
locked. Each building has a scheduled time to be secured and only authorized staff members are issued keys to secured
buildings. Campus Safety monitors campus accesses 24 hours per day, 7 days per week. The frequency and intensity of
monitoring increases during evening hours. Campus pathways are lighted throughout the night. Campus lighting is inspected
daily. Maintenance crew members routinely replace lights, trim shrubbery, and remove snow, ice and debris from pathways
and parking lots.

In this instance, as it relates to locks and accesses, the building (Byrne Oaks) is locked, and each student has an apartment
main door that can be locked, and inside the apartment, each student has a bedroom door that can be locked. Dan Walling,
Locksmith Express, is providing a written statement as to the specific lock on Swift's apartment, 101 Byrne Oaks. Walling
noted no signs of forced entry on the main access door to Swift's apartment.



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Non-Academic Discipline
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The college is committed to holding students who violate the code of conduct accow1table for their behavior. When a
student is identified as a suspect in a policy violation or crime, the college further investigates the incident and suspect by
interviewing all involved parties or parties identified as those who might have additional information available. Once the
college meets with involved parties, a summary of findings document is created. This document includes incident
information, a summary of the interviews or statements of involved and impacted parties, a list of college policies that may
have been violated and what a ''reasonable" person might conclude reviewing available information. This summary is then
forwarded to the college hearing board, who meets with all parties and determines what (if any) sanctions might be applied.
An appeal process exists.

In this instance, the College opened an investigation on December 7, 2020. The suspect graduated from the college in
December, so research was done on the ability to hold this student accountable following the completion of his academic
program. The college was closed during a period of the investigation, so there was a period in December where the
investigation was delayed. The College will hear all four suspected incidents in one hearing board session. At this time,
pending no delays, the college hopes to complete the investigation by January 31, 2021, and complete the hearing process
in early February 2021.

As we complete this process, it should be noted that all instances involving the suspect have included access through an
unlocked door except the incident that occurred involving Rachael Swift in 101 Byrne Oaks. Swift initially indicated her
door was unlocked when filing a report with Campus Safety; however, the following day shared that her door had been
locked at the time of the incident. The door was evaluated by Locksmith Dan Walling from Locksmith Express who
indicates the door is functioning correctly and has no signs of forced entry available. This would suggest perhaps either
Swift's door may have been unlocked, or that this incident in Swift's apartment does not fit the pattern of behavior seen at
other apartments.

The current Student Handbook (pages 30-32) outlines the following conduct process for serious incidents on campus:

Area Coordinators may serve as the initial hearing officers authorized to deal with incidents contrary to College or residence
hall policy. Area Coordinators may dispense sanctions, impose disciplinary measures and recommend suspension/expulsion
from the College. The Assistant Dean of Students may initially hear cases pertaining to violations of policy in Residence
Life. Review of Area Coordinator sanctions will be heard by a representative from Student Life or Residence Life. Normally,
policy infractions and incidents contrary to College policy are handled initially within the context in which they occw·.
Incidents that occur off campus may initially be heard by the Student Life Office.

College Hearing Board

In the event of an incident involving possible sanction of suspension or expulsion, the incident ,vill be considered by the
College Hearing Board. This board is chaired by the Associate Dean of Students or his/her designee and includes appointed
representatives from the Loras College community: two students, two faculty members and two staff members. These
appointed individuals, approved by the Dean of Students, are the voting members of the Hearing Board. The chairperson
may vote in the event of a tie. A secretary will be appointed to take minutes of the proceedings; however, recording devices
are not permitted during the hearing or any preparation meeting. In some instances, at the discretion of the Dean of Students
or his/her designee, a formal administrative hearing may be held due to the nature of the complaint or infraction of College
policy.

Due to the extensive documentation required to prepare a case for the college hearing board, respondents who are referred
to the college hearing board will be charged a $50. 00 administrative fee. This fee will be refunded in the event the respondent
is found not responsible for any allegations.

Procedures

The respondent will be advised of the specific charges being brought against him/her in advance of the hearing. If the board
proceedings involve a complainant other than the college, the complainant also has the right to a prehearing notification
meeting. If the student does not appear at the established hearing time, the case shall be heard without the student being
present. During the course of the hearing, the respondent will be allowed to respond to any alleged violations presented, ask

                                                                                                  LORAS 0719

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questions of the complainant and/or witnesses and present a summary of the case. Please note that per the United States
Office of Civil Rights in hearings related to any type of sex discrimination, the complainant and the respondent are not to
personally question or directly cross-examine each other during the hearing, as allowing so may be traumatic or intimidating
for the complainant, thereby possibly escalating or perpetuating a hostile environment. After the hearing has been
completed, the board ( or administrator) will retire to closed session to detennine if the respondent is responsible or not for
the policy infraction.

If the student is found responsible, the board (or administrator) will determine an appropriate sanction and the date of its
implementation. The decision of the board will be presented in writing to the respondent as soon as possible. Under
applicable Clery Law and Title IX Law, in instances involving violent crime or any type of sexual misconduct, the
complainant will also he notified in writing, and simultaneously, of the outcome of the hearing in the manner described a<;
appropriate under these laws.

 If the student is suspended or expelled, the date of implementation is the date of the board or administrator decision, and
such date is non-negotiable. The decision of the College Hearing Board (or administrator) will be effective immediately
unless a timely petition to review has been filed. Plea<;e note, in the event of a hearing for any type of sexual misconduct,
Title IX Law requires the incident related to the sex discrimination be heard independent from any other code of conduct
violation allegations.

Hearing Board Advocates

Both the respondent and complainants may have an advocate (faculty, staff or peer) present at the hearing or appear without
the assistance of an advocate. In the event that the hearing board is held to address a Title IX violation that involves sexual
misconduct, respondents and complainants may choose any individual, including legal counsel to serve in the advocate role;
however, the advocate must act within the described role of the advocate a~ listed below. The identity of attending advocate
must be submitted to the Associate Dean of Students or his/her designee 48 hours prior to the hearing. The advocate may:
• Advise the student on the preparation and presentation of the case and/or;• Accompany the student to the hearing(s) The
advocate may not: • Present the case or summary of the case for the student; e Directly question any individuals involved
in the hearing process;• Directly address the college hearing board

Review of College Hearing Board Decisions

Review of a decision of the College Hearing Board may be petitioned by a respondent who has been suspended or expelled.
Under Title IX law, in the instance of any type of sexual misconduct, a petition for review may also be filed by a
complainant. The written petition for review must be written and prepared by the student, and filed in the Dean of Students'
Office within three business days of notification of suspension or expulsion, and must also include reasons for the request
and the factual information to substantiate those reasons. The request for review must be based on one of the follo·wing: s
The student believes the College Hearing Board decision was flawed procedurally. • Loras College Student Handbook
policy was not applied correctly. ci New information not available at the time of the College Hearing Board meeting is now
available, which could alter the outcome of the case.

The request for review will be considered by a Review Board, appointed by the Dean of Students and consist of one faculty
member, one staff member and one student. If the Review Board determines there is valid basis for review, a review hearing
will be scheduled. Following the review hearing, the Dean of Students or his/her designee shall recommend a course of
action to be taken. The recommendation may include: • Affirm the decision of the College Hearing Board. • Remand the
case to the College Hearing Board with instructions for a rehearing. Modify the sanction(s) imposed by the College
                                                                          @


Hearing Board. e Reject the decision of the College Hearing Board and dismiss the complaint. o The decision of the Dean
of Students or his/her designee is final.

Hearing Board Witness

Both the complainant and respondents may also have witnesses available to be brought in during the hearing. The Associate
Dean of Students or his/her designee needs to be notified 48 hours in advance of the identity of any witnesses asked to
attend the hearing. Both complainant and respondent may bring up to 4 incident witnesses. An incident witnesses is someone
who is present with the questioned behavior occurred. Neither the complainant or respondent may bring character w;tncsses

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to the hearing; hmvever, both the complainant and the respondent may provide two letters of character to be submitted to
the college hearing board as a part of the hearing process. Letters of character should be submitted in advance to the
Associate Dean of Students and/or her designee.

Evidentiary Standards for Non-Academic Misconduct

In all cases of alleged non-academic misconduct, the appropriate hearing officer will be responsible for compiling sufficient
evidence to substantiate the charges. The evidence must support a determination that it is "more likely than not" that a
violation of the student code of conduct occurred in all cases involving a potential penalty lesser than expulsion. ln cases
where expulsion has been determined to be a possible sanction, "clear and convincing evidence" must provide the basis for
such expulsion. Please note that in cases involving any type of sexual misconduct, the standard of evidence required by
Title IX is preponderance of evidence, or a determination that it is "more likely than not" a violation has occurred. Hearsay
evidence and personal testimony may be considered.

Requests for Accommodations

In all cases of alleged non-academic misconduct, requests for accommodations should be made to the Associate Dean of
Students or his/her designee.

Title IX

TI1e College believes it is essential that all voices feel heard in our processes and procedures, and that we work with
campus community members with understanding and support as we navigate challenges we encounter - including matters
related to Title IX.

In this instance, the complainant counsel suggests the college handled the student complaint differently or with less urgency
because she was a female. The College treats all cases in the same manner regardless of the gender identity of the
complainant.

Per the college's process, a campus safety officer was dispatched to assist with filing a report at the time of the incident.
Exteriors and grounds as well as apartment interior was checked at the time of the incident. Officer indicated to student we
would complete extra rounds in the area at that time. The student's family contacted the college requesting an in person
meeting the following day. Molly Burrows Schumacher was unable to participate in an in-person meeting due to her covid
risk status; however, Art Sunlcaf cleared his schedule to meet with the student and her family. Katie Keleher-Garfoot,
Assistant Director of Residence Life, also offered to meet with Swift that same day. Molly Bun-ows Schumacher followed
up on behalf of Sunleaf later that same day outlining the status of the requests made of Sun leaf regarding the changing of
locks, additional rounds, review of fob logs, and the option for the college to fund additional safety devices for her comfort
in the apartment. By the end of the day September 7, Swift had also been in communication with Donna Heald regarding
an academic concern. From the College's lens appropriate urgency and efforts to support and assist the student occurred.

Swift met with Katie Keleher Garfoot the following day, and on September 8, 2020, Campus Safety reached out to someone
                             0




who had entered the building around the time of the incident and lived nearby on Swift's floor to see ifhe may have noticed
anything suspicious or unusual. Locks were also changed on September 8. On this date, there was some confusion regarding
rewcoring the bedroom key. The college had recored the lock on the apartment main door and apartment bedroom door
Swift was assigned to; however Swift had moved into a bedroom that she was not ass:igned to, so did not have the correct
bedroom key. Per Katie Keleher Garfoot, she offered to take the new and incorrect key back from Rachael and allow her
to keep the incon-ect key so that she had a way to lock the bedroom she was located in. Swift gave Keleher-Garfoot both
bedroom keys, and Swift's mother asked her if she would like to keep the current key until the lock is changed. Swift
indicated she didn't need to - the room was unlocked anyways (this was unexpected given the level of safety concern
expressed by the student/family). Additional door alarms and ,.vindow bars were ordered for installation at S,vift's apartment
at her request.

The college remained in contact with Swift about her academic matters (9/10/20), the decline of the deadbolt lock from the
physical plant (9/11/20 - based on the fact that the Byrne Oal<s apartment have a built in deadbolt component per
McDermott). On September 14, 2020, Swift filed a report (Advocate Case 00154-2020) indicating that none of the
additional safety measures requested have occurred, and nothing has been done to protect her safety. Additionally, Swift

                                                                                                 LORAS 0721

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indicated that she had asked about the investigation into who broke into her apartment but had received limited updates.
Swift alleged that she felt Loras was discriminating against her because she was female and subject to a sexual assault. At
the time of Swift' s report, the college had :

    •    In person meetings occurred with Art Sunleaf, Katie Kelcher-Garfoot, Donna Heald
    e    Had maintenance staff check all access doors to Byrne Oaks to ensure all access points were functioning property
    $    Apartment locks and bedroom locks were changed at Swift's apartment
    •    An investigation was opened, Campus Safety reviewed access logs and began to search for leads related to the
         incident. At the time of Swift's initial report, she indicated it was too dark to see any additional physical description
         of the alleged perpetrator beyond male - which made searching for a suspect quite dit1icult.
    •    Campus Safety interviewed possible lead - a student entering the floor around the time the incident occurred
    e    Additional requested door and window alarms were ordered for the apartment by Katie Keleher-Garfoot
    •    Campus Safety increased presence around the building. RAs \Vere notified to be alert for potential concerns in the
         building.

The day following Swift's report (9/15/20), Nancy Fett, Title IX Coordinator, responded to a phone call from Rachael Swift
via email, indicating that Matt Saylor or Molly Burrows Schumacher would reach out to help investigate her assault report,
and that her role as Title IX Coordinator is to assure the process is followed, monitor the report, ask questions, and suggest
alternative approaches/questions/theories and assure te matter is handled professionally, according to our policy, and with
utter fairness. Fett concluded her email with if you feel like you are not being heard, please contact her. That same day,
Keleher-Garfoot contacted Swift to let her know the security devices had been delivered, and asked if Swift wanted to pick
the items up or to send someone to help install the items. She also shared the deadbolt request had been denied, and linked
in John McDermott at the Physical Plant to answer any further questions Swift might have about the matter. Keleher-
Garfoot also instn1cted Swift how to receive a copy of any reports she might want, and discussed requested blue light alarms
on campus.

Also on 9/15/20, Molly Burrows Schumacher also continued work with technology to move the existing Hoffmann Hall
surveillance camera to the Byrne Oaks entrance. She also reached out to Swift indicating the steps that had been taken thus
far in her case as well as offer resources and support for the sexual assault claim in her recent report.

On 9/16/20, Swift replied to Fett's email that she had moved to a hotel. Bu..•-rows Schumacher also reached out to Swift via
email at the request of Fett to offer information about Title IX investigators and resources on this date.

On 9117120, Swift replied to Burrows Schumacher's 9/15 and 9/16/2020 emails indicating that she was trying to set up an
in-person meeting with Nancy Fett. Burrows Schumacher replied, letting Swift know that she was glad Swift was
connecting with the Title IX Coordinator, and that she was there if Swift needed anything. Burrows Schumacher also shared
updates about the ca..rnera instalI and the door lock.

Swift also responded to Fett's and Keleher-Garfoot's 9/15/20 emails that day indicating that she had went home for a period,
and came back to finish soccer while staying at a hotel. She provided answers to Keleher-Garfoot 's questions about the
safety devices (ultimately delivered and installed by 9/18/20), and attempted to set up a meeting with Fett to talk further.
Fett responded she could meet that Monday (9/21/20) if that worked for Swift.

On 9/20/20, Fett noted that Swift had not responded to her 9/17/20 email. Swift responded approximately 7 days later on
9/24/20, apologizing for a slow response indicating that she had moved home, but would like to talk via phone. On 9/29/20,
Fett responded to Swift indicating several times available to meet. Per Fett, she did not hear from Swift with a reply.

Swift completed her semester away from campus from this point forward. The investigation into the case remained open,
additional rounds and monitoring of Byrne Oaks occurred, and when new information became available that might impact
Swift's case, the college reached to ma.1<.e her aware of the information. The College completely understands and shares
Swift's desire to bring the perpetrator of the incident in her apartment to accountability; the College believes bringing this
justice with the limited description of "male" and no other factors is incredibly ditlicult.




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                                      APP 232
Criminal Prosecution
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As it relates to criminal prosecution of a Loras student, the College cooperates with law enforcement requests to hold
students accountable off campus by assisting with investigations, helping locate students who may have been involved with
a criminal offense, and providing any supporting information needed to assist in police efforts. Typically, if providing
information from a student record, we will request that police subpoena the information from the college so that there are
no cha11enges with the Family Education Right to Privacy Act (FERPA).

In this instance, the college was fully supportive of working with law enforcement toward criminal prosecution. Those who
located the alleged perpetrator in their apartment on camera were encourage to contact police and press charges. Campus
Safety Officer Mark Sutter was present with the women when they spoke to police about the matter to provide support.

FoJiowing the matter on December 5 (where a possible suspect was identified), a]J students who reported entry at their
Byrne Oaks apartment were contacted via email and made aware a possible suspect had been located, and the College was
connecting with law enforcement to provide them the opportunity to speak to law enforcement shou1d they wish to do so.
These emails are provided below.

        From: Molly A. Burrows Schumacher (staff)
        Sent: Tuesday, December 8, 2020 11 :OJ AM
        To: Abigail L. "Landwehr <Abigail.Landwehr@loras.edu>
        Subject: following up on your report
        Hello Abigail,

        I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera entering an apartment
        at Byrne Oaks. Law enforcement was notified, and in that process, the suspect (a Loras student), admitted to
        entering at least 2 other apartments over the course of this semester. The College will be working with law
        enforcement and providing information about the break-in at your campus apartment to be considered as they
        continue to investigate this case. Additionally, your information will be included in our on-campus investigation
        process so that the individual can be held accountable both on campus and off

        We've reached out to !he police officer who is working with lhe case to find the best way for you to connect ifyou
        would like to talk farther with law enforcement about the incident at your apartment. Once we receive a reply, we
        will relay this information to you. For the on-campus investigation, you can report any additional information to
        either Matthew Saylor or myself to be included in the College's process. We will continue to provide updates for
        you as additional information becomes available and the process moves forward.

        Thank you for your patience as we ;nveshgated these ;ncident.,;, and please do not hesitate to reach out ((you have
        any questions.



        From: Molly A. Burrows Schumacher (stajj)
        Sent: Tuesday, December 8, 2020 11: 06 AM
        To: Abbey V.Kwiatkoski<Abbey.Kwiatkoski@loras.edu>; Kassandra R. Rich <Kassandra.Rich@loras.edu>;
        Sara R. Vander Mause <Sara.VanderMause@loras.edu>; Jade M Casper <Jade.Casper@loras.edu>; Alexus
        M Jensen <A/exus.Jensen@loras.edu>
        Subject: following up on your report
        Hello,

        I'm reaching out today to let you know that thi.Y past Sunday, a suspect was caught on camera entering an apartment
        at Byrne Oaks. law enforcement was notified, and in that process, the suspect (a Loras student), admitted to
        entering at least 2 other apartments over the course ofthis semester. 'J 'his individual has been removedfrom campus
        and is not permitted to return. The College will be working with law enforcement and providing information about
        the break-in at your campus apartment to be considered as they continue to investigate this case. Additionally,


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       your information will be included in our on-campus investigation process so that the individual can be held
       accountable both on campus and off

       We've reached out to the police officer who is working with the case to find the best way for you to connect ifyou
       would like to talk further with law enforcement about the incident at your apartment. Once we receive a reply, we
       will relay this information to you. For the on-campus investigation, you can report any additional information to
       either Mallhew Saylor or myself lo be included in the College's process. We will continue to pro1•ide updates for
       you as additional information becomes available and the process moves forward.

        Thank you for your patience as we investigated these incidents, and please do not hesitate to reach out ifyou have
        any questions.



       From: Molly A. Burrows Schumacher (sta./J)
       Sent: Tuesday, December8, 202011:13AM
       To: Rachael N.Swift<Rachael.Swtfl@loras.edu>
       Subject: following up on your previous report

        Hello Rachael,

        I'm reaching out today to let you know that this past Sunday, a suspect was caught on camera entering an apartment
        at Byrne Oaks. Law enforcement was notified, and in that process, the suspect (a Loras student}, admitted to
        entering at least 2 apartments over the course of this semester. This individual has been removed from campus and
        is not permitted to return. The College will be working with law enforcement and providing information about the
        break-in at your campus apartment to be considered as they continue to investigate this case. Additional(v. your
        information will be included in our on-campus investigation process so that the individual can be held accountable
        both on campus and off'

       We 've reached out to the police officer who is working with the case to find the best way for you to connect ifyou
       would like to talk farther with law enforcement about the incident at your apartment. Once we receive a reply, we
       will relay this information to you. For the on-campus investigation, you can report any additional information to
       either Matthew Saylor or myself to be included in the College's process. We will continue to provide updates for
       you as additional information becomes available and the process moves forward.

        Thank you for your patience as we investigated these incidents, and please do not hesitate to reach out ifyou have
        any questions. I've contacted you directly as the filed reports name you as the reporting student. Ifyou would like
        me to also notify the women you were /ivin1; with in apartment JOI at the time ~(the incident, please do let me know
        and I will do so.

Law enforcement responded with information about the December 5 incident on December 11, 2020, and confirmed on
December 17, 2020, that the College should provide her the contact information of anyone that wanted to talk further about
the case. Tilis information was relayed to those who had been previously contacted:

        From: Molly A. Burrows Schumacher (.'>ta.ff)
        Sent: Thursday, December 17, 2020 3:23 PM
        To: Rachael N.Swift<Rachael.Swift@loras.edu>
        Subject: RH: following up on your previous report

        Hello Rachel,

       I've connected with Officer Brianna Marzette at the Dubuque Police Department. She has indicated that ifyou
       would like to speak with her about lhe investigation and/or your case, ifyou could provide the best way to contact
       you (email, phone and number, etc.), she will contact you. {(you'd like her to reach out to you, could you please
       provide the best way to do so at this time'/




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       From: Molly A. Burrows Schumacher (sta.ff)
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       Sent: Thursday, December 17, 2020 3:25 PM
       To: Abigail L.Landwehr<Abigail.Landwehr@loras.edu>
       Subject: RE: following up on your report
       Hello Abigail,
       l 've connected with Officer Brianna Marzette at the Dubuque Police Department. She has indicated that !(you
       would like to speak with her about the investigation and/or your case, ifyou could provide the best way to contact
       you (email, phone and number, etc.), she will contact you. Ifyou'd like her to reach out to you, could you please
       provide the best way to do so at this time!


       From: Afolly A. Burrows Schumacher (sta.ff)
       Sent: Thursday, December 17, 2020 3:26 PM
       To: Abbey V.Kwiatkoski<Abbey.Kwiatkoski@loras.edu>; Kassandra R. Rich <Kassandra.Rich@loras.edu>;
       Sara R Vander Mause <Sara.VanderMause@loras.edu>; Jade M.Casper<Jade.Casper@loras.edu>; Alexus
       M. Jensen <Alexus.Jensen@loras.edu>
       Subject: RE: following up on your report
       Hello Everyone,
       I've connected with Officer Brianna Marzette at the Dubuque Police Department. She has indicated that ifyou
       would like to speak with her about the investigation and/or your case, ifyou could provide the best way to contact
       you (email, phone and number, etc.), she will contact you. Ifyou'd like her to reach out to you, could you please
       provide the best way to do so at this time?
As of Januruy 22, 2021, the only response received was from Abby Landwehr, who was willing to talk with Marzette
about her experience.




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Molly A. Burrows Schumacher (stilff)
                                                                                      =
From:                              Arthur W. Sun leaf
Sent:                              Wednesday, January 6, 2021 8:41 AM
To:                                Molly A. Burrows Schumacher (staff)
Subject                            FW: Rachael Swift--Student Teaching



FYI

Dr. A.W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 5200 l
#LorasTogether

From: Donna l'J. Heald <Donna.Heald@loras.edu>
Sent: Wednesday, January 6, 2021 7:48 AM
To: Arthur W. Sun leaf <Arthur.Sunleaf@loras.edu>
Subject: FW: Rachael Swift--Student Teaching


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-
D onna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
92.0..lJ.il hC']Jg,@ Iora s. edu
563-588-7935


From: "Richard I<. Whitty" <RWhitty@OCTHOMASLAW.COM>
Date: Tuesday, January 5, 2021 at 9:24 PM
To: "Donna N. Heald"< )onna.HealdLiilloras.edu>
Subject: RE: Rachael Swift--Student Teaching




Sent from my Verizo~. S2n1su:1g Galaxy smartphone




- - - Original message - - -
From: "Donna N. Heald" <Donna.Heald@loras.edu>
                                                            1
                                                                         LORAS 0726

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 150 of 175
                                      APP 236
Date: 1/5/21 7:01 PM (GMT-06:00)
To: "Richard K. Whitty" <RWhitty@OCTHOMASLAW.COM>
                                                                           xx
Subject: Re: Rachael S·wift--Student Teaching

1111




Donna

Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna.heald@loras.edu
563-588-7935


from: "Richard K. Whitty" <RWhitty@OCTHOMASLAW.COM >
Date: Tuesday, January 5, 2021 at 5:07 PM
To: "Donna N. Heald" <Oonna.Heald@loras.edu>
Subject: Re: Rachael Swift--Student Teaching




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                                                                LORAS 0727

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 151 of 175
                                     APP 237
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From: Donna N. Heald <O ,nna.Heald@loras.edu>
Sent: Tuesday, January 5, 20214:35 PM
To: Richard I<. Whitty <RWhitty@OCTHOMASLAW.COM >




-
    Subject: Rachael Swift--Student Teaching




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                                              APP 238
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Donna



Donna N. Heald, Ph.D.
Vice President for Academic Affairs and Academic Dean
Loras College
1450 Alta Vista St
Dubuque, IA 52001
donna.heald@loras.edu
563.588.7935


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                                                                                                LORAS 0729

            Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 153 of 175
                                          APP 239
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                                                                                            LORAS 0730

     Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 154 of 175
                                   APP 240
                                                                                                  yy
Molly A. Surirows Schumacher (staff)

~rom:                          Arthur W. Sunlcaf
S:e!lilt:                      Tuesday, January 19, 2021 6:09 PM
1@:                            Richard K. Whitty; Molly A. Burrows Schumacher (staff)
Sl!Jlbje({;~:                  RE: requested information




-
Art

Dr. A.W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 52001
#LorasTogether

From: Richard IC Whitty <RWhitty@OCTHOMASLJ.\W.COM>
Sent: Tuesday, January 19, 2021 5:23 PM
l"o: Molly A. Burrows Schumacher (staff) <Molly.BurrowsSchumacher@loras.edu>; Arthur W. Sunleaf
<Arthur.Sunleaf@loras.edu>
Sli!lbject: Re: requested information




Rich


from: Molly A. Burrows Schumacher (staff) <IVlolly.BurrowsSchumacher@loras.edu>
Sent: Tuesday, January 19, 20214:56 PM
To: Arthur W. Sunieaf <Arthur.Sunleaf@loras.edu>
Cc: Richard K. Whitty <RWhitty@OCTHOMASLAW.COM>
Subject: requested information



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                                                                                        LORAS 0731

            Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 155 of 175
                                          APP 241
Molly A. Burrows Schumacher (staff)

From:                        Arthur W. Sunleaf
Sent                         Tuesday, January 19, 2021 8:33 PM
To:                          Richard K. Whitty
Cc:                          Molly A. Burrows Schumacher (staff)
Subject                      Answers



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Dr. A. W. Sun1eaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, rA 52001
#LorasTogether




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                                                                   LORAS 0732

    Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 156 of 175
                                  APP 242
Molly A. Burrows Schumacher {staff)
                                                                                                                 YY
from:                              Arthur W. Sunleaf
Sent:                              Wednesday, January 20, 2021 11 :02 AM
lfo:                               Richard K. Whitty
C«::                               Molly A. Burrows Schumacher (staff)
S!:.!bje~'i::                      FW: Couple more questions




-
Art

Dr. AW. Sun leaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 52001
fl l nr:i "Together


From: Rebecca A. Fabricius <Rebecca .Fabricius@loras.edu>
Sent: Wednesday, January 20, 2021 9:31 AM
To: David M. Salyer <David.Salyer@loras.edu>; ArthurW.Sunleaf<Arthur.Sunleaf @loras.edu>
Subject: RE: Couple more questions

You have summarized it well, David. Regarding our program's authority to permanently withhold a recommendation, I
share this from the BOEE Attorney:

I ran this situation by our lead consultant, Joanne Tubbs, and she said she can recall at least one past instance
where a college did not recommend a student due to misconduct during their time as a student. I believe that
would be entirely at the college's discretion. If the student is convicted of a crime, he will need to disclose that
on his application for a teaching license and we will evaluate it at that time. Iowa Code lists convictions that are
automatically disqualifying. Those are all forcible folonies and any sexual offense involving a minor. With all
other convictions, the Board evaluates the background check using factors listed in our rules, and there must be
some sort oflink to the profession if there is going to be a denial. One conviction for a crime that does not
involve minors would likely not prevent licensure, as long as the applicant fully discloses and follows through
with any court-ordered rehabilitation.

Rebecca Fabricius


!From: David M. Salyer
Sent: Wednesday, January 20, 2021 9:19 AM
To: Arthur W. Sunieaf < thur.Sunleaf@loras.edu>
Cc: Rebecca A. Fabricius <Rebecca.Fabricius@loras .edu>
Subje ct: RE : Couple more questions

Hi Art,

I am copying Rebecca on this email since she is the licensure official. If I miss anything I know she will help to clarify
things . The Praxis II test (Educational Testing Service - ETS) is required by the state as a program completion


                                                                                                   LORAS 0733

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                                     APP 243
                                                                                                                      YY
requirement. The college has a testing center where students can take the tests or they can go to any ETS testing center
in the country. ETS scores the tests. We can't prevent a student from taking the Praxis: They create an account on the
ETS website, register for the appropriate testes, and pay the testing fees. The tests must be passed as one of the
requirements before a student can be recommended by Rebecca for licensure. Students must also pass student
teaching, have demonstrated that all other program requirements have been met, and be graduated. In l<yle's case, we
have been in contact with the BoEE for their guidance regarding his status as a candidate for licensure given certain final
outcomes. Particular outcomes from the BoEE perspective would at the very !east delay issuing a license. Can the college
or the program opt not to recommend him? We would have to investigate that question and make sure we are on solid
ground. I hope this is helpful.

David

David M. Salyer, Ph.D.
Director of Teacher Education




From: Arthur W. Sunleaf
Sent: Wednesday, January 20, 2021 8:27 AM
To: David M. Salyer < Lw1d .Salyer@loras.edu>
Subject: Coup!e more questions

Hello David,

Thanks again for your quick reply last evening. I have a couple more questions for you. Please see the
following.

Does the college play any role in offering, administering, grading the Praxis II test? If it was
proved in a non-academic disciplinary hearing that he was the person who entered one or
more units without authorization and not by mistake, could/would the college take steps to
prevent him from completing this last step?

·rhanks,

Art
Dr. A. W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 52001
#LorasTogether




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                                                                                               LORAS 0734

      Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 158 of 175
                                    APP 244
                                                                                                          YY
t=rnm:                          Richard K. Whitty < RWhitty@OCTHOMASLAW.COM >
SeUlt:                          Wednesday, January 20, 2021 8:06 AM
To:                             Arthur W. Sunleaf
Cc:                             Molly A. Burrows Schumacher (staff)
Subject                         Re: Answers




-     - - -              - -   - - - - - - -      -   - -    -   - - -   -    - - -      -      -




t=rom: Arthur W. Sunleaf <Arthur.Sunleaf@ioras.edu>
Sent: Tuesday, January 19, 2021 8:33 PM
To: Richard K. Whitty <RWhitty@OCTHOMASLAW.COM>
Cc: Molly A. Burrows Schumacher {staff) <Molly.BurrowsSchumacher@loras.edu>
Subject: Answers


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1111
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Dr. A. W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque, IA 52001
#LorasT ogether

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                                                                                             LORAS 0735

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                                    APP 245
When did the college award Hall his degree and, was it the last date the college could do such? Ch" would be a question best
answered by A,·     •:> was involved in this part of the process. I have the fo 1!
                                                                                                                                yy
                                                                                   ,g email Art shared with me about Kyle's li<:ensure
recommendation ...

From: David M. Salyer<         ' 1/Er@loras.edt,>
Sent: Friday, December 11, 2020 11:56 AM
To: Arthur W. Sun leaf <,',rthur.Sunleaf@loras.1' >; Rebecca A. Fabricius <Bebecca.Fabr,c1us@loras.edu>
Subject: Student Issue

Hi Art,

I wanted to let you know that Rebecca and I met with Kyle Hall toda)I (12-11). Our purpose was to be transparent and inform him of
our awareness of the campus conduct issue. We also shared with Kyle that we are in contact with the Board of Educational
Examiners regarding the issue. He understands that we will not be able to recommend him for licensure until the issue has been
resolved. As this process moves forward would you be able to inform us if criminal charges are filed? Thanks.

David

David M. Salyer, Ph.D.
Director of Teacher Education

Thank you,

Molly


Molly Burrows Schumacher
Assistant Dean of Students
I.ORAS COi.i FGI".
1450 Alta Vista St
Dubuque, IA 52001
molly.burrowsschumacher@loras.edu
BE MOPr- '"'r LORAS



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                                                                                                         LORAS 0736

        Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 160 of 175
                                      APP 246
                                                                                                                                        2-Z..

amazon.com
                                                Final Details for Order #112-7899203-1038602

Paid By: Loras College
Placed By: Loras College
Order Placed: September 8, 2020
PO number : 133945132
Amazon.com order number: 112-7899203-1038602
OrderTotal: $268.94

                                                       Shipped on September 10, 2020


Items Ordered                                                                                                                          Price
1 of: Wsdcam Door and Window Alarm for Home Wireless Alarm Security System Magnetic Alarm Sensor Time Delay Alarm Loud                $40.88
110 dB, 4-in-1 Mode Window Alarms 10
Sold by: Wsdcam (Sf:Ugr...Qrnfil,;,)
Business Price
Condition: New


6 of: Roe & Moe Telescoping Window Security Guard Bars Prevent Forced Entry - extends from 17-27 inches (4-Pack)                      $38.01
Sold by; Roe & Moe tseli..:._ pro!Jte)
Business Price
Condition: New



Shipping Address:                                                                                                  ltem(s) Subtotal: $268.94
Katie Keleher-Garfoot                                                                                       Shipping & Handling:       $0.00
1450 Alta Vista St
Dubuque, IA 52001
United States                                                                                                      Total before tax: $268.94
                                                                                                                         Sales Tax:    $0.00
Shipping Speed:
One-Day Shipping                                                                                      Total for This Shipment: $268.94



                                                             Payment information
Payment Method:                                                                                                  ltem(s) Subtotal: $268.94
Visa I Last digits: 0349                                                                                     Shipping & Handling:    $0.00


                                                                                                                    Total before tax: $268.94
                                                                                                                    Estimated Tax:     $0.00


                                                                                                                       Grand Total: $268.94

                                           To view the status of your order, return to Order Summary .


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                                                                                                                    LORAS 0737

  Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 161 of 175
                                APP 247
Order Details                                                                                                                                                                      Page 1 of3

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     Order Details
     PO# 133945132                    Ordered on September 8, 2020              Order# 112-7899203-1038602

          This order was approved.

          Shipping Address                                            Payment Method                                                    Order summary
          Katie Keleher-Garfoot                                          1 . . . . 0349                                                 ltem(s) Subtotal:                          $268.94
          1450Alta Vista St                                                                                                             Shipping & Handling:                         $0.00
          Dubuque, IA 52001                                                                                                             Total before tax:                          $268.94
          United States                                                                                                                 Estimated tax to be                          $0.00
                                                                                                                                        collected:
                                                                                                                                        Grand Total:                               $268.94


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          Requested by                                                        Loras College
          Order method                                                        Business



          Delivered Sep 14, 2020

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     Frequently bought with Wsdcam Door and Window Alarm for Home                                                                                                                  Page 1 of 2
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 Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 162 of 175
                               APP 248
Order Details                                                                                                                                                  Page 2 of 3


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    Deals trending on Amazon Business




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                               APP 249
Order Details                                                                                                                Page 3 of 3

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 Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 164 of 175
                               APP 250
                                                                                                             AAA
Molly.A. Burrows Schum~cher (staff)

From:                             Arthur W. Sunleaf
Sent                              Wednesday, February 10, 2021 1:31 PM
To:                               Molly A. Burrows Schumacher (staff)
Subject                           RE: Request for Information

Sensitivity:                      Confidential



Hello Molly,

I searched my email files for any communications with Matt Pucci regarding this matter. I do not have any
communications to share.

Art

Dr. A. W. Sunleaf
Vice President for Student Development/Dean of Students
Loras College
Dubuque. IA 52001
# LorasTogether

From: Molly A. Burrows Schumacher (staff) <Molly.BurrovvsSchumacher@!oras.edu>
Sent: Wednesday, February 10, 202112:46 PM
To: Arthur W. Sun leaf <Arthur.Sunleaf@loras.edu>
Subject: Request for Information
Sensitivity: Confidential

Hello Art,

I've been asked by Troy Wright to gather the following information:

All email correspondence between Art Sunleaf and Matt Pucci regarding l<vle Hall and Rachael Swift in the education
program.

If you could please reply to my email arid forward any email correspondence available at your earliest convenience, it
would be appreciated.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students
I ORA~ cnt I t \,}
1450 Alta Vista St
Dubuque, IA 52001
rnolly.burrowsschumacher@lora!;.edu
RE MORE BE LORAS


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                                                                                              LORAS 0741

       Case 2:22-cv-01019-LTS-KEM Document 18-5 Filed 09/15/23 Page 165 of 175
                                     APP 251
                                                                                                          BBB
Molly A. Burrows Schumad~cr {staff)

f nom:                             Matthew D. Pucci
Se1r11:                            Wednesday, February 10, 2021 1:53 PM
Tc:                                Molly A. Burrows Schumacher (staff)
§ufi:3ject:                        RE: Request for Information

§cnsitivity:                       Confidential



Thanks Molly - After searching I have not found any email correspondence with Art involving Rachael and Kyle and the
education program . If need anything else please let me know!


                 MATT PUCCI
                 Head Women's S©tcer Coach
                 0 I 563.588.4937 M I 847.347.0664
                 W I clu h,1 wks.com T I @lorasWSocci:.:·
                 2019American Rivers Conference Champions ! 2018 NCAA Tournament - Second Round
                 14 NCAA Tournament Appearances i 13 Conference Championships I 9 All-Americans I 35 All-
                 Region Selections



From: Molly A Burrows Schumacher (staff) <l\/lolly.BurrowsSchumacher@loras.edu>
Sent: Wednesday, February 10, 202112:43 PM
To: Matthew D. Pucci <Matthew.Pucci@loras.edu>
Subjract: Request for Information
Sensitivity: Confidential

Hello Matt,

I've been asked by Troy Wright to gather the following information:

All email correspondence between Art Sunleaf and Matt Pucci regarding Kyle Hall and Rachael Swift in the education
program .

If you could please rep!y to my email and forward any email correspondence available at your earliest convenience, it
would be appreciated.

Thank you,

Molly

Molly Burrows Schumacher
Assistant Dean of Students

1450 Alta Vista St
Dubuque, IA 52001
molly burrowsschumacher@loras.edu
BE MORE BE LORAS

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                                                                                             LORAS 0742

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                                        APP 252
Troy M. Wright

From:                              Troy M. Wright
Sent:                              Thursday, March 4, 2021 4:19 PM
To:                                Rachael N. Swift
Subject:                           RE: Investigation Regarding the Discrimination Claim Filed on September 14, 2020

Importance:                        High



Dear Rachael :

Thank you for getting back to me. I can assure you that the College has addressed and is continuing to address your
issues, concerns and complaint. Please note that after you called our Security Office in September 2020, the College has
taken your complaint very seriously. Listed below are some, not all, of the action taken to address your concerns.

        • Increased awareness of concerns and increased campus patrols;
        • Timely replies to all e-mails from you and your family/representatives wherein concerns were raised over the
incident and over campus safety;
        • In-person meetings with you and your family/representatives to discuss your concerns;
        • Increased RA assessment;
        • Changing the locks;
        • Reviewing fob access logs;
        • Advising of suspect identification possibly linked to the incident;
        • Greater awareness of personal safety;
        • Window bars and other physical barriers;
        • Working to determine if deadbolts could be added;
        • Working to determine if additional security such as cameras was appropriate;
        • Seeking additional dialogue and opinions from you on the appropriateness and acceptability of these and
        other steps implemented by the College .

One of my roles at Loras College is to investigate claims regarding employees. Once you named multiple employees of
the College, I was brought in to investigate your discrimination claim .

Thank you for responding to the initial questions I sent you . I will be in touch should I need additional information.

Sincerely,

Troy

Troy M. Wright SHRM-SCP, MBA '15
Director of Human Resources
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From: Rachael N. Swift
Sent: Thursday, February 25, 2021 7:30 PM
To: Troy M. Wright <Troy.Wright@loras.edu>
Subject: RE : Investigation Regarding the Discrimination Claim Filed on September 14, 2020



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                                      APP 253
Hello Troy,

Thank you'torreachihg outto me.. I appreciate someone atthe college finally addressing· some:bfmy ·
issues, concerns and complaint.                                            .
My complaint was originally filed in September 2020 and it is novv almost March 2021. What has the
school done overthe last approximate six months? As my mom and I told President Collins, if the
College had taken my complaintseriously when it was filed then the break in of at least three female
apartments could have possibly been avoided. Please let me know what the College has done since
September 2020 and why the College is now reaching out to me.                    ·

I warit to make sure that the College understands my complaint. I originally filed a Title IX complaint in
September 2020 because I believe that the College was treating me differently based ori my gender.
Specifically, I felt that the College treated me as "hysterical woman" that was overreacting. I believe
that if I was a man, the College would have taken me more seriously and would have responded
differently. I also believe that my apartment was broken info because I am a woman and that the
perpetrator (Kyle Hall) was motivated by sexual or gender based desires.

As we proceed with this process, I will be happy to answer any questions you may have. I noticed
that you are the College's Human Resources Director. As the HR Director, what is your role in this
process?           ·

With respect to·your inquiries:


   19    The school security officer never said nor did what was listed in your email. The security officer
         only said that I could contact security for an escort if it was dark and I felt worried about going
         to my car or going a friend's apartment. I was on the phone with my mother during the time he
         was;in my apartrnent and she heard the exact same thing.
   19    My position is that the .College's response was discriminatory based upon the fact that the
         College did not believe my ~laim because I am woman. The College never took my complaint
         ormy requests seriously. The College attempted to claim the sexual assault by this person did
         not occur and otherwise downplayed my concerns and fears. The College also tried to
         downplay the intrusion andassault as just someone in the wrong apartment. The College
         treated me as a "hysterical female'; that was too dumb or too emotional to know what was
         going on. The break in was not an attempt to steal; the break in was sexually motivated. This
         has been a devastihg and damaging assault for me and the College did not take itseriously.
         The College's attempt to ignore the break in and assault arid there attempt to make me believe
         this assault did not happen is unacceptable, shameful and disgusting.

Thank you,
Rachael Swift


From: Troy M. Wright <Troy;Wright@loras.edu>
Sent: Tuesday, February 9, 20214:34 PM
To: Rachael N. Swift <Rachael.Swift@loras.edu>
Subject: Investigation Regarding the Discrimination Claim Filed on September 14, 2020
Importance: High

Dear Rachael,



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                                                                                        LORAS 0744

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                                      APP 254
First and foremost, I am deeply sorry that this incident happened to you on our campus. I cannot imagine how scared
that must have made you. It is my sincere hope that you are finding comfort again .

I will be conducting the investigation related to the discrimination claim that you filed with the College on September 14,
2020. I would greatly appreciate it if you could answer the questions on the attached and return to me at your earliest
convenience so that I can use this additional information during my investigation.

Please do not hesitate to reach out to me should you have any questions or concerns regarding this process.

Sincerely,

Troy

Troy M . Wright SHRM-SCP, MBA '15
Director of Human Resources
LORAS CO LLEGE
1450 Alta Vista St
Dubuque, IA 52001
563.588 .7816 - P
563.588.7101 - F
troy.wright@loras.edu
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                                     APP 255
Troy M. Wright

From:                              Troy M. Wright
Sent:                              Tuesday, March 16, 2021 10:51 PM
To:                                Rachael N. Swift; Nancy Z. Fett
Subject:                           RE: Meeting



Hello Rachael,

Given the very short notice, Nancy and I were unable to meet with you due to prior commitments.

Regards,

Troy

Troy M. Wright SHRM-SCP, MBA '15
Director of Human Resources
LORAS COLLEGE



- -Original Message-----
From: Rachael N. Swift
Sent: Monday, March 15, 202112:33 PM
To: Troy M. Wright <Troy.Wright@loras.edu>; Nancy Z. Fett <Nancy .Fett@loras.edu>
Subject: Meeting

Hello Troy and Nancy,

I will be coming on campus later today for the hearing against Kyle Hall. I think it would be best if we could set up a
meeting between us later today. The hearing is at 3:30. So, anytime around then.

Rachael Swift

Sent from my iPhone
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                                      APP 256
v·· LORAS COLLEGE
   7450 ALTA VISTA, DUBUQUE, IA 52007

                                                                                                     fr-".   l
     Ms. Rachael Swift
     1338 N. Chicago Ave
     Arlington Heights, IL 60004
                                             STRICTLY CONFIDENTIAL
     Dear Rachael,

     I have gathered and reviewed all documentation pertinent to your Incident Report #00145-2020 regarding
     an intruder in your apartment on September 6, 2020, with focus upon the actions taken by the Loras
     College employees you named on September 14, 2020 in your Incident Report #00154-2020. These
     individuals were Jim Collins, President; Dr. Art Sunleaf, Dean of Students; Katie Keleher-Garfoot, Assistant
     Director of Residential Life; and Bob Rosenow, Security Officer. Based on a thorough review, the College
     has determined your complaint, which focuses on responsiveness, to be unfounded. Furthermore, I find
     no discriminatory actions by these individuals or any other employee at the College because you are a
     female student alleged to have been subjected to a sexual assault.

     Your September 14, 2020 Incident Report stated that you requested the College provide additional safety
     measures after the initial incident, yet you allege that the College took no action to protect your safety.
     This is simply incorrect, as supported by multiple statements. Per my email correspondence to you on
     February 9, 2021, below is a list of the actions the College has already taken or continues to implement:

         •    Increased awareness of concerns and increased campus patrols;
         •    Timely replies to all e-mails from you and your family/representatives wherein concerns were
              raised over the incident and over campus safety;
         •    In-person meetings with you and your family/representatives to discuss your concerns;
         •    Increased RA assessment;
         •    Changing the locks;
         •    Reviewing fob access logs;
         •    Advising of suspect identification possibly linked to the incident;
         •    Greater awareness of personal safety;
         •    Window bars and other physical barriers;
         •    Working to determine if deadbolts could be added;
         •     Working to determine if additional security such as cameras was appropriate;
         •     Seeking additional dialogue and opinions from you on the appropriateness and acceptability of
               these and other steps implemented by the College.

     Your September 14, 2020 Incident Report, indicating that you asked for information about the
     investigation into who entered your apartment but only received limited updates is inaccurate. Below is
     a list of the updates the College provided to you:

          •   On September 7, 2020, Dean Sunleaf met with you and your mother, Elaine Kostopoulos, to
              discuss your concerns regarding the entry into your apartment the night before;
          •   On September 7, 2020, Molly Burrows-Schumacher advised you that Campus Security was
              reviewing fob access to your building and there would be additional rounds in your area by
              Campus Security and RA's;




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                                   APP 257
                      LORAS COLLEGE'                .     .   .       .

                      1450 ALTA VISTA, D.UBUQU£, IA52001

                            •   On September 7, _2020, Katie Keleher-Garfoot advised you of additional safety measures the
                                College could take on your behalf, including bars on window and alarm devices for your
                                apartment;
                            •   On September 11, 2020, Tricia Borelli, Director of the Stlldent Counseling Center,_ emc1iled you
                                offering you counseling supportthro1Jgh the Counseling Center and a specific program on line
                                called Doxy;
                            •   On September 11, 2020, President Cd II ins spoke with you and your mother, offering the College's
                                support services including but not lirnited to: Spiritual Life, Counseling, and AcademicServices.
                            •   On September 15, 2020; Burrows0 Schurnacher advised you that increased surveillance had not
                                provided any additional information and the College would contact the Dubuque Police to assist
                                in ~my adpitional ayem,ies it may explore;
                            •   on September 15, 2020, Nancy Zachar-Fett, Title IX Coordinator; contacted you stating that .an
                                investigation into yoµr ne\oVlyfiled September l4, 2020 Title .IX complaint would be.conducted;
                            •   On September 16, 2020, Burrbws-Sthumacher corresponded with you again, offering to set up a
                                meeting between you and a Title IX investigator to discuss your claim;                          ··
                            •   On October B, 2020, President Collins spoke with you and your mother, advisingyouthatCollege
                                 was continuing to investigate andaddressthe situation;
                            •    On December 8, 2020, Burrows'-Schumacher notified you that a suspect was identified in your
                                 case and the Dubuque Police were notified;
                            •    On December 17, 2020 Burrows-'Schumacher notified you that she had Spoken to Officer Brianna
                                .Marzette with the Dubuque Police andJhat Officer Marzette wanted to speak with you;
                            •    On Jan t,1a ry 5, 2021, Burrows-Schumacher contacted you. regarding your housing assignme ht and
                                 meal plan assignmentthatwas still c:in file fur Spring 2021 on campus, advising that she would be
                                 willing to· remove these items,. that these items could be re-added at any time and also indicating
                                 that because you had spent most of the fall semester away from tampus; housing charges had
                                 been removed from your account; and
                            •   On January 25; 2021, BurrowsaSchumather contacted you regarding the hearing for the
                                 September 6, 2020 incidentinvestigation, to which you replied on February 10, 2021 that you
                                would like to participate in the hearing process.

                        While the College understands the entry into your apartment on September 6, 2020 was a deeply
                        concerning event, College personnel's investigation into this incident Was comprehensive. The result of
                        this investigation has. dete.rtninE:!d that the entry• cloes not· meet the definition of sexua I. harassment as
                        contemplated by Title IX and as described bythe College;s Sexual Misconduct Policy and Grievance
                        Procedures. As such, please accept this letter as the official dismissal ofyourTitie IX allegations.

                        Respectfully Yours,


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                      7_,/ / f L-'----)r
                       Troy Wright
                        Director of Human Resources
                        Loras College
                        563-588°7816
                       ·Troy.wright@loras.edu




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                                                     APP 258
Troy M. Wright

From:                              Troy M. Wright
Sent:                              Friday, March 26, 2021 11 :23 AM
To:                                Rachael N. Swift; Nancy Z. Fett
Subject:                           RE: Title IX



Hello Rachael,

The investigation has been completed and a certified letter is being sent to you today.

Regards,
Troy

Troy M . Wright SH RM-SCP, MBA '15
Director of Human Resources
LOR.t\S CO LE G~



From: Rachael N. Swift
Sent: Thursday, March 25, 2021 5:17 PM
To: Troy M. Wright <Troy.Wright@loras.edu>; Nancy Z. Fett <Nancy.Fett@loras.edu>
Subject: Title IX

Hello Troy and Nancy,

Seeing as it has been a few months since I filed my title IX claim I would like a full update on the investigation that you
have completed so far. I would also like to know when I can expect a hearing to be held .

Thank you,
Rachael Swift




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                                      APP 259
Troy M. Wright

From:                             Troy M. Wright
Sent:                             Tuesday, February 9, 2021 4:34 PM
To:                               Rachael N. Swift
Subject:                          Investigation Regarding the Discrimination Claim Filed on September 14, 2020
Attachments:                      Rachael.docx

Importance:                        High



Dear Rachael,

First and foremost, I am deeply sorry that this incident happened to you on our campus . I cannot imagine how scared
that must have made you. It is my sincere hope that you are finding comfort again .

I will be conducting the investigation related to the discrimj nation-claim that you-filed with the College on September 14,
2020. I would greatly appreciate it if you could answer t tte ~uestions on the attached and return to me at your earliest
convenience so that I can use this additional information during$my ·nvestigation.~

Please do not hesitate to reach out to me should you have any questions or concerns regarding this process.

Sincerely,

Troy

Troy M . Wright SH RM-SCP, MBA '15
Director of Human Resources
I_ORAS COLLEGE
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BE MORE. BE LORAS.




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 Confidential

 Questions for Rachael Swift

    •   After the incident on September 6, the Security Officer, Bob Rosenow, stated that he
        requested you to contact the Security Info Desk should you ever be staying alone again in
        your apartment so that Security could perform more rounds in your building and
        surrounding area. Do you agree with this statement? If so, did you ever contact the
        Security Info Desk and request for more rounds in your building and surrounding area?

    •   Regarding the incident report you filed on September 14, you list parties involved as the
        Dean of Students, Art Sunleaf, the President, Jim Collins, the Assistant Dean of
        Residential Life, Molly Burrows-Schumacher, and an unknown male who I will assume
        you are referring to Officer Rosenow unless you tell me differently. In the incident
        description section, you state that you believe Loras is discriminating against you because
        you are a female student that has been subjected to a sexual assault. Please provide
        detailed information as to the action(s) that each of these individuals took toward you that
        made you feel as though you were being discriminated against due to you being a female
        student subjected to a sexual assault.

    •   Please provide all other information that you feel would be relevant to this investigation.




                                                                                  LORAS 0558

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